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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                                  §
                                                        §         CASE NO. 21-32155 (MI)
BUCKINGHAM SENIOR LIVING                                §
COMMUNITY, INC.1                                        §         CHAPTER 11
                                                        §
        Debtor.                                         §
                                                        §

            FINAL ORDER (1) AUTHORIZING DEBTOR IN POSSESSION
      TO OBTAIN POST-PETITION FINANCING; (2) AUTHORIZING DEBTOR IN
       POSSESSION TO USE CASH COLLATERAL; (3) PROVIDING ADEQUATE
       PROTECTION; AND (4) GRANTING LIENS, SECURITY INTERESTS AND
                          SUPERPRIORITY CLAIMS

        This Final Order (1) Authorizing Debtor in Possession to Obtain Post-Petition Financing;

(2) Authorizing Debtor in Possession to Use Cash Collateral; (3) Providing Adequate Protection;

and (4) Granting Liens, Security Interests and Superpriority Claims (this “Final Order”) is

entered into by this Court after adequate notice and hearing upon the Emergency Motion for

Interim Order and Final Order (1) Authorizing Debtor in Possession to Obtain Post-Petition

Financing; (2) Authorizing the Debtor in Possession to Use Cash Collateral; (3) Providing

Adequate Protection; and (3) Granting Liens, Security Interests and Superpriority Claims (the

“Motion”) 2, and upon the terms agreed to by and among Buckingham Senior Living Community,

Inc. (the “Debtor”), UMB Bank, N.A., as the successor bond trustee (in such capacity, the “Bond

Trustee”) under the Bond Indentures (as defined below), and UMB Bank, N.A., as successor

master trustee (the “Master Trustee” and together with the Bond Trustee, the “Trustee”) with

respect to the Master Indenture (as defined below). Upon the terms of the Motion, the

1
  The last four digits of the Debtor’s federal tax identification number is: 7872. The location of the Debtor’s
principal place of business and the service address for the Debtor is: 8580 Woodway Drive Houston, Texas 77063.
2
  All defined terms not defined herein shall have the meaning ascribed in the Motion or in the DIP Credit
Agreement, as applicable.

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stipulations, acknowledgements and agreements of the Debtor, the DIP Lender and the Trustee

(collectively, the “Parties”), the statements of the Parties and their counsel at the hearings on the

Motion, and the record of the proceedings, the Court makes the following findings of fact and

rulings of law:

                                       FINDINGS OF FACT

The Debtor’s Chapter 11 Case; Procedural Background; Jurisdiction and Notice

        A.        On June 25, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and thereby

commenced its case thereunder (the “Chapter 11 Case”). Since the Petition Date, the Debtor has

been operating its business and managing its property as debtor and debtor in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        B.    The Court held hearings to consider granting the relief requested in the Motion

on an interim basis on June 28, 2021 and June 29, 2021. Following such hearings, the Court

entered an order granting the relief requested in the Motion on an interim basis, which order

was entered by the Court on June 29, 2021 (the “Interim Order”) [Docket No. 50].

        C.        On July 12, 2021, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the Office of the United States Trustee [Docket No. 97].

        D.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. Venue

of the Chapter 11 Case and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409.

        E.        The Debtor has properly served notice of the Motion and the hearings thereon

pursuant to sections 102, 105, 361, 362, 363 and 364 of the Bankruptcy Code and Federal Rules

of Bankruptcy Procedure 2002 and 4001, 6004, 9006, and 9014 and the Bankruptcy Local Rules



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which notice was sent to, among others (i) Daniel S. Bleck, Mintz, Levin, Cohn, Ferris, Glovsky

and Popeo, P.C., One Financial Center, Boston, Massachusetts 02111, counsel to the DIP Lender

and the Trustee, (ii) the Debtor’s 30 largest unsecured creditors, (iii) the Debtor’s 30 largest

unsecured vendors, (iv) the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”), (v) Robin Russell, Hunton Andrews Kurth LLP, 600 Travis Street, Suite 4200,

counsel for the Committee, (vi) the Internal Revenue Service, (vii) persons listed on the proposed

Master Service List, (viii) persons who have filed a request for notice pursuant to Bankruptcy

Rule 2002, (ix) any party required to be served under the Bankruptcy Rules, (x) the Office of the

Attorney General for the State of Texas, (xi) such other government agencies to the extent

required by the Bankruptcy Rules and the Local Rules, and (xii) all other parties known to assert

a lien on any of the Debtor’s assets. Such notice is sufficient for all purposes under the

Bankruptcy Code and the applicable Bankruptcy Rules in respect to the relief requested and no

further notice of the relief sought in the Motion is necessary.

The Debtor and the Community

        F.     The Debtor owns and operates a 495-unit continuing care retirement community

(“CCRC”) comprised of 465,000 square feet of developed property on approximately 23 acres of

land which opened in 2005 (the “Community”). The Buckingham is a premiere senior living

facility in the River Oaks neighborhood in Houston, Texas.

        G.     The Debtor offers residential units for its residents (each a “Resident”) in

independent living, assisted living, memory care, or skilled nursing units and provides those

Residents with necessary healthcare services, multiple entertainment outlets and other social

benefits. As of the Petition Date, the Debtor provides accommodations for more than 280




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Residents. To provide the quality of care and safety the Residents require, as of June 1, 2021, the

Debtor employs 370 individuals to carry out the Debtor’s daily operations.

The Secured Bond Obligations

        H.     Pursuant to the Interim Order, as reaffirmed by this Final Order and subject to the

limitations of Paragraph 34 herein, the Debtor acknowledged, stipulated, and agreed that: the

Debtor is obligated to the Trustee for the benefit of the beneficial holders of the tax-exempt

Bonds (as defined below), authorized and issued by the Tarrant County Cultural Education

Facilities Finance Corporation (the “Issuer”), including (i) the Tarrant County Cultural Education

Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham Senior Living

Community, Inc. Facility), Series 2007 (the “Series 2007 Bonds”), issued pursuant to that certain

Indenture of Trust dated as of July 1, 2007 (the “2007 Original Indenture”) between the Issuer

and the Bond Trustee, (ii) the Tarrant County Cultural Education Facilities Finance Corporation

Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Facility),

Series 2014 (the “Series 2014 Bonds”), issued pursuant to the 2007 Original Indenture, as

supplemented by Supplement No. 1 to the Indenture of Trust, dated as of July 1, 2007 (the 2007

Original Indenture, as supplemented, the “2007 Indenture”) between the Issuer and the Bond

Trustee and (iii) the Tarrant County Cultural Education Facilities Finance Corporation

Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Facility),

Series 2015A Fixed Rate, Series 2015B-1 Tax Exempt Mandatory Paydown Securities (TEMP-

80) and Series 2015B-2 Tax Exempt Mandatory Paydown Securities (TEMP-50) (the “Series

2015 Bonds” and together with the Series 2007 Bonds and Series 2014 Bonds, the “Bonds”),

issued pursuant to that certain Indenture of Trust, dated as of August 1, 2015 (the “2015




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Indenture” and together with the 2007 Indenture, the “Bond Indentures”) between the Issuer and

the Bond Trustee.

        I.    Pursuant to the Interim Order, as reaffirmed by this Final Order and subject to the

limitations of Paragraph 34 herein, the Debtor acknowledged, stipulated, and agreed that: the

Issuer loaned the proceeds of the Bonds to the Debtor pursuant to the Loan Agreement dated July

1, 2007 between the Debtor and the Issuer (as amended by the Amendment No. 1 to the Loan

Agreement dated September 1, 2014 and the Loan Agreement dated August 1, 2015,

collectively, the “Loan Agreements”). The Debtor used the proceeds of the Bonds primarily to (i)

finance the construction, renovation and equipping of the Community, (ii) fund debt service

reserve funds; (iii) pay a portion of the interest on the Bonds; and (iv) pay certain expenses

incurred in connection with the issuance of the Bonds.

The Bond Claim

        J.    Pursuant to the Interim Order, as reaffirmed by this Final Order and subject to the

limitations of Paragraph 34 herein, the Debtor acknowledged, stipulated, and agreed that: as of

the Petition Date, the amounts due and owing by the Debtor with respect to the Bonds and the

obligations under the Bond Documents (as defined below) are as follows (collectively, the “Bond

Claim”):

              (a)     Unpaid principal on the Bonds in the amount of $140,340,000;

              (b)     Accrued but unpaid interest on the Bonds in the amount of $16,276,745.83
                      as of June 25, 2021; and

              (c)     unliquidated, accrued and unpaid fees and expenses of the Trustee and its
                      professionals incurred through the Petition Date. Such amounts, when
                      liquidated, shall be added to the aggregate amount of the Bond Claim.




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Security for the Bond Obligations

        K.     Pursuant to the Interim Order, as reaffirmed by this Final Order and subject to the

limitations of Paragraph 34 herein, the Debtor acknowledged, stipulated, and agreed that: the

rights of the Issuer under the Loan Agreements were assigned to the Trustee. In addition, as

security for its obligations with respect to the Bonds, the Debtor entered into that certain Master

Trust Indenture, Deed of Trust and Security Agreement dated as July 1, 2007, as supplemented

by the Supplemental Indenture Number 1, dated as of July 1, 2007, the Supplemental Indenture

Number 2, dated as of September 1, 2014 and the Supplemental Indenture Number 3, dated as of

August 1, 2015 (as supplemented, the “Master Indenture”) between the Debtor and the Master

Trustee pursuant to which the Debtor granted the Master Trustee a security interest against

substantially all of the Debtor’s assets as described in the Master Indenture and that certain Deed

of Trust and Security Agreement dated October 8, 2014, as modified by the Modification

Agreement dated effective August 1, 2015 (as modified, the “Deed of Trust”), between the

Debtor and the Master Trustee (all such collateral so granted under the Bond Documents, the

“Pre-Petition Bond Collateral”). The Bond Indentures, the Loan Agreements, the Master

Indenture, the Deed of Trust and any other document or agreement delivered as security for, or in

respect of, the Bonds or the Debtor’s obligations under any of such documents are collectively

referred to herein as the “Bond Documents”. Pursuant to these grants, the Trustee holds valid and

perfected first priority liens and security interests in substantially all of the Debtor’s real and

personal property as security for the Bonds.

        L.     Under the terms of the Bond Documents, certain accounts were established and

are held by the Trustee, including, but not limited to the following funds, each as defined in the

Bond Documents: a Bond Fund, including a separate Principal Account and Interest Account for


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each of the four series of Bonds, a Reserve Fund with a Series 2007 Reserve Account, Series

2014 Reserve Account, Series 2015A Reserve Account and a Series 2015B Reserve Account

therein (collectively, the funds in such accounts, the “Trustee-Held Funds”). As of the Petition

Date, the Trustee-Held Funds totaled approximately $5,290,517. Subject to the limitations of the

last sentence in Paragraph 29, and Paragraph 34, the Debtor acknowledges and agrees that (i) the

Trustee-Held Funds are held in trust for the holders of the Bonds (the “Bondholders”); or (ii) in

the alternative, that the Trustee holds a validly perfected possessory security interest in the

Trustee-Held Funds and the Trustee is entitled to apply the Trustee-Held Funds in accordance

with the terms of the Bond Documents. To the extent that the automatic stay applies to such

Trustee-Held Funds pursuant to section 362(a) of the Bankruptcy Code, as adequate protection

for the use of the Trustee’s Cash Collateral (as defined below), the Debtor stipulates to relief

from such stay for the purpose of allowing the Trustee to administer and apply the Trustee-Held

Funds in accordance with the Bond Documents. Subject to the limitations of the last sentence in

Paragraph 29, and Paragraph 34, the Trustee-Held Funds shall be administered and applied as set

forth in the Bond Documents and for the express purposes set forth therein, and shall not be used

or made available to Debtor as Cash Collateral or otherwise pursuant to this Final Order or any

other order entered in this Chapter 11 Case, other than in connection with the DIP Facility (as

defined below). The Trustee-Held Funds are the source of the DIP Loans provided under the

DIP Credit Agreement. The Debtor stipulates that the use of the Trustee-Held Funds qualifies as

a loan and not use of Cash Collateral.




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The Debtor’s Need for Use of Cash Collateral

        M.     The Debtor has requested the use of the Cash Collateral of the Trustee in

connection with the Chapter 11 Case. The Trustee does not consent to the use of its Cash

Collateral, except upon the express terms of this Final Order.

        N.     Without the use of Cash Collateral, the Debtor’s continued operation as a going

concern would be disrupted, the value of the underlying assets would significantly decline, the

Debtor, its residents, its estate and its creditors would be immediately and irreparably harmed, and

the Debtor will not have the funds necessary to maintain the Community, provide financial

information, or pay employee compensation, payroll taxes, overhead and other expenses. The

Debtor requires use of cash collateral as provided herein.

The Debtor’s Need for Debtor-in-Possession Financing

        O.     A critical need exists for the Debtor to obtain funds in order to fund the

operational, capital and administrative needs of the Community, solely to the extent set forth

under the Budget and under the DIP Facility (as each is defined below). The Debtor is unable to

obtain postpetition financing on an unsecured basis under sections 364(c)(1) or 503(b)(1) of the

Bankruptcy Code. Further, the Debtor asserts that it is also unable to obtain secured credit from

sources other than the DIP Lender that would be allowable under sections 364(c)(2), 364(c)(3)

and 364(d)(1) of the Bankruptcy Code for the purposes set forth in this Final Order. Further, the

Trustee would not consent to any priming liens and would have argued that the Debtor could not

have provided adequate protection for any such proposed financing.

        P.     The DIP Lender has agreed to provide the requested DIP Loans (as defined

below) under the DIP Facility and use of Cash Collateral in accordance with the terms contained

in this Final Order, in the amounts, categories and times set forth in the Budget, which shall be



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used for the necessary operational costs associated with the Community and other costs and

expenses of administration of the Chapter 11 Case. In addition, the Trustee has agreed to the

Debtor’s use of Cash Collateral in accordance with the terms contained in this Final Order, in the

amounts, categories and times set forth in the Budget, which shall be used for the necessary

operational costs associated with the Community and other costs and expenses of administration

of the Chapter 11 Case.

        Q.       Without the DIP Loans, the Debtor will be unable to pay necessary payroll, costs,

and operating expenses, and obtain goods and services needed to preserve the Community in a

manner that will avoid irreparable harm to the Debtor’s estate. At this time, the Debtor’s ability

to finance the ongoing operation and availability of sufficient liquidity through the incurrence of

new indebtedness for borrowed money and other financial accommodations as provided herein

are vital to the preservation of the Community and maintenance of the going concern value of the

Debtor’s estate and to otherwise provide the necessary services to the residents of the

Community.

        R.       The Debtor has requested that the DIP Lender provide advances (each a “DIP

Loan”) up to an aggregate amount of $5,000,000 (the “DIP Facility”), which funds shall be used

by the Debtor solely to the extent provided in the Budget attached as Exhibit B. 3

        S.       The DIP Lender is willing to provide the DIP Loans, subject to the terms and

conditions set forth herein and in the Interim Order, including the provisions of this Final Order

providing that the Post-Petition Liens (as defined below), and the various claims, superpriority

claims and other protections granted pursuant to this Final Order will not be affected by any


3
 As part of the DIP Facility, the DIP Loans may be used to fund a capital improvement account against which the
Debtor may draw to pay capital expenses and storm damage claims, subject to the terms and conditions of the DIP
Credit Agreement and in accordance with the Budget.


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subsequent reversal or modification of this Final Order or any other order, as provided in section

364(e) of the Bankruptcy Code.

         T.       The DIP Lender’s lending of the DIP Loans is conditioned upon the grant of a

lien that: (a) will prime and remain senior to the Trustee’s Pre-Petition Liens; and (b) will

otherwise constitute a first priority lien in all other Post-Petition Collateral (as defined below),

subject only to (i) valid, binding, enforceable and perfected liens, having priority over the liens

of the Trustee as of the Petition Date that are set forth on the attached Exhibit C (together, the

“Permitted Liens”) 4 and (ii) the Carve-Out.

         U.       The terms of the DIP Loans have been negotiated in good faith and at arm’s

length among the Debtor and the DIP Lender. The terms of the DIP Loans are at least as

favorable to the Debtor as those available from alternative sources, under all of the

circumstances. Given the current market conditions and under the particular circumstances of the

Chapter 11 Case, no other sources of funding are available. Given the exigencies of the case, the

Debtor believes the DIP Loans are the best and only option. In connection with its consent to this

Final Order, the Trustee exercised its rights and powers and used the same degree of care and skill in

its exercise as a prudent person would exercise or use under the circumstances in the conduct of such

person’s own affairs, and the DIP Lender acted consistent with its duties and responsibilities under,

and entry of the Final Order does not violate, the terms of any agreement relating to the Bonds.

         V.       The terms of the DIP Loans are fair and commercially reasonable under the

circumstances, reflect the Debtor’s exercise of its prudent business judgment consistent with its


4
  The Debtor, the DIP Lender, the Trustee and other parties in interest reserve all rights to contest the amount, extent,
priority and validity of any putative claim, security interest or lien identified on the attached Exhibit C. Nothing herein
or otherwise shall be deemed a waiver of any such rights. To the extent that such claims and/or security interests or
liens are deemed not to be valid senior liens, the DIP Loans shall not be subordinated to the claims of the estate under
sections 544 or 545 of the Bankruptcy Code.


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fiduciary duties, are supported by reasonably equivalent value and fair consideration, and are

enforceable in accordance with applicable law. As such, the funds advanced shall be deemed to

have been extended by the DIP Lender in “good faith” as that term is used in section 364(e) of

the Bankruptcy Code and based upon the express reliance of the protections offered by section

364(e) of the Bankruptcy Code. The Post-Petition Liens and the Superpriority Claim (defined

below) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code, including

in the event that this Final Order or any provision hereof is vacated, reversed or modified, on

appeal or otherwise.

        W.     The Debtor shall continue to segregate, remit, and deposit all Cash Collateral in

the Debtor’s accounts, possession, custody or control and which the Debtor may receive in the

future, in accordance with applicable cash management orders entered by this Bankruptcy Court

and as permitted by the DIP Credit Agreement.

Need for Adequate Protection to Trustee

        X.     Pursuant to the Bankruptcy Code and in light of the foregoing, the Debtor is

required to provide adequate protection to the Trustee in respect of its use of the Pre-Petition

Collateral (including Cash Collateral) and granting of the priming Post-Petition Liens. The

Debtor wishes to provide adequate protection of the security interests in and liens on the Pre-

Petition Collateral pursuant to the terms set forth in this Final Order.

        Y.     The Debtor and the DIP Lender have represented to the Bankruptcy Court that

they have negotiated at arm’s length and have acted in good faith in the negotiation and

preparation of the DIP Credit Agreement and this Final Order, have been represented by counsel,

and intend to be and are bound by their respective terms. The terms and conditions of this Final

Order and the DIP Documents reflect the Debtor’s exercise of prudent business judgment under


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exigent circumstances and are consistent with its fiduciary duties and are supported by

reasonably equivalent value and fair consideration.

        Z.     Good cause has been shown for the entry of this Final Order. The terms of this

Final Order, inclusive of the adequate protection provided to the Trustee relating to the Pre-

Petition Liens, are fair and commercially reasonable, reflect the Debtor’s prudent business

judgment consistent with its fiduciary duties and constitute reasonable equivalent value and fair

consideration. Entry of this Final Order is in the best interest of the Debtor, its creditors,

including the holders of the Bonds, and its estate.

        AA.    To the extent any portion of the foregoing constitute rulings of law, they shall

constitute this Court’s rulings with respect to the matters so-stated.

        NOW THEREFORE, THE COURT ORDERS AS FOLLOWS:

Motion Granted

        1.     The Motion is hereby GRANTED in accordance with the terms and conditions set

forth in this Final Order. Any objections to the Motion with respect to the entry of this Final

Order that have not been withdrawn, waived, or settled, and all reservation of rights included

therein, are hereby denied and overruled.

Approval of DIP Facility and DIP Loan Documents (as amended hereby)

        2.     The terms of the DIP Facility, that certain Priming Superpriority Debtor-in-

Possession Credit Agreement dated June 25, 2021 between the Debtor and the DIP Lender (the

“DIP Credit Agreement”), attached as Exhibit A, and all documents executed in connection

therewith (collectively with the DIP Credit Agreement, the “DIP Loan Documents”) are fair and

reasonable, reflect the exercise of the Debtor’s prudent business judgment consistent with its

fiduciary duties, and constitute reasonably equivalent value and fair consideration; provided,



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however, that upon entry of this Final Order, the DIP Credit Agreement and DIP Loan

Documents shall be and hereby are amended as follows:

               (i) the definition of “Restructuring” in the DIP Credit Agreement is hereby

        deleted and replaced with the following: ““Restructuring” means a restructuring of

        Debtor’s financial obligations with respect to the Bonds and its other outstanding

        obligations on the terms and conditions acceptable to the DIP Lender, or a sale process

        subject to a form of bid procedures and sale milestones agreed to by the DIP Lender.”

               (ii) the first sentence of Section 2.5(a) of the DIP Credit Agreement is hereby

        deleted and replaced with the following: “Interest shall accrue on each DIP Loan from the

        date such DIP Loan is drawn through the date on which such DIP Loan is repaid in full at

        a simple rate per annum equal to five and six hundred and twenty-five thousandths

        percent (5.625%).”

               (iii) the cumulative DIP Loan Commitment shall be increased from $3,400,000 to

        $5,000,000.

               (iv) the definition of “Maturity Date” in the DIP Credit Agreement is hereby

        deleted and replaced with the following: ““Maturity Date” means the earliest to occur of

        the date that is (a) November 30, 2021, (b) the closing date of any Restructuring, (c) the

        effective date of a plan of reorganization or liquidation for the Debtor in the Chapter 11

        Case, and (d) the date on which the DIP Lender accelerates the DIP Obligations (or the

        DIP Obligations automatically and immediately accelerate) or the DIP Obligations

        otherwise become immediately due and payable, in each case pursuant to the terms of the

        DIP Credit Agreement.”




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                (v) the Mortgage by the Debtor in favor of the DIP Lender and all other DIP Loan

        Documents are hereby amended to the extent necessary to effectuate the amendments

        described in clauses (i) – (iv) above.

        3.      The Debtor shall be liable for the repayment in full of the DIP Loans and all DIP

Obligations.

        4.      The DIP Facility and DIP Loan Documents have been negotiated in good faith

and at arm’s length among the Debtor and the DIP Lender, and the DIP Loans shall be deemed to

have been extended by the DIP Lender in good faith (as that term is used in section 364(e) of the

Bankruptcy Code) and in express reliance upon, and with the full benefit of the protections

afforded by, section 364(e) of the Bankruptcy Code, whether or not this Final Order or any

provision hereof is vacated, reversed, or modified, on appeal or otherwise.

        5.      Absent the relief granted by this Final Order, the Debtor’s estate, residents and

creditors would suffer immediate and irreparable harm. Accordingly, the entry of this Final Order

and related authorization of Borrowings of the DIP Loans under the DIP Facility and DIP Loan

Documents is in the best interests of the Debtor’s estate, its residents, and creditors.

        6.      The DIP Facility and DIP Loan Documents are hereby approved on a final basis,

and the Debtor is hereby authorized to borrow the DIP Loans pursuant to the DIP Loan

Documents, to be used in accordance with the Budget attached as Exhibit B and incorporated

herein by reference, itemizing on a weekly basis all uses, and anticipated uses, revenues

projected to be received and all expenditures proposed to be made during such period, which

Budget may be amended at the request of the Debtor and with the written consent of the DIP

Lender (as it may be amended, supplemented, replaced or otherwise modified from time to time

with the consent of the DIP Lender, the “Budget”); the proceeds of the DIP Loans shall be used


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for such purposes as are expressly permitted under the DIP Loan Documents, this Final Order

and the Budget, including, without limitation, to pay the interest, fees, and expenses in

accordance with this Final Order and to provide working capital for the Debtor. The Debtor may

submit a modified Budget to the DIP Lender, in its sole discretion. In the event that the DIP

Lender does not approve any such modified Budget, the current Budget shall remain in effect.

        7.    In furtherance of the foregoing and without further approval of this Court, the

Debtor is authorized to perform all acts, to make, execute, and deliver all instruments and

documents (including, without limitation, the execution or recordation of security agreements,

mortgages, and financing statements), and to pay at the Maturity Date of the DIP Facility all

fees, in each case that may be reasonably required or necessary for the Debtor’s performance of

the DIP Loans, including, without limitation:

              (a)     the execution, delivery, and performance of the DIP Loan Documents and
                      any exhibits, schedules and other documents related thereto;

              (b)     the execution, delivery, and performance of one or more non-material
                      amendments to the DIP Loan Documents, in each case in such form as the
                      Debtor and the DIP Lender may agree (it being understood that no further
                      approval of the Court shall be required for amendments to the DIP Loan
                      Documents that do not shorten the maturity of the extensions of credit
                      thereunder, increase or decrease the DIP Facility, increase the rate of
                      interest payable thereunder, prejudice the rights of the Debtor or its estate
                      or any other party in interest in any material respect, or provide the DIP
                      Lender with additional protections, rights, economics, or other benefits);

              (c)     the non-refundable payment to the DIP Lender of the reasonable costs and
                      expenses as may be due from time to time in connection with the DIP
                      Loans in accordance with the terms of the DIP Loan Documents; and

              (d)     the performance of all other acts required under the DIP Loan Documents
                      in connection with the DIP Loans.

Notice of any amendment, modification, or supplement must be filed with the Court within one

(1) business day of the date of such amendment, modification, or supplement and served on the



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Committee and the U.S. Trustee (which notice shall include the executed amendment,

modification, or supplement). Such amendment, modification, or supplement shall become final

five (5) days after notice of such amendment, modification, or supplement is filed with the Court

and served on the Committee and U.S. Trustee unless a motion is filed by a party in interest

seeking a hearing regarding such proposed amendment, modification, or supplement.

The DIP Loans

        8.      DIP Loans. Pursuant to sections 361 and 364 of the Bankruptcy Code and

the terms and conditions hereof, until the occurrence of an Event of Default (as defined below),

the Debtor is hereby authorized to borrow the DIP Loans pursuant to the terms, conditions and

provisions of this Final Order in an amount up to an aggregate amount of $5,000,000 pursuant to

the terms set forth herein and in the DIP Credit Agreement; provided, however, that the Debtor

shall use the proceeds of the DIP Loans solely in compliance with the Budget and as expressly

set forth herein.

        9.      Principal, Interest, Fees, Etc.

                (a)     Interest shall accrue on each DIP Loan from the date such DIP Loan is
                        drawn through the date on which such DIP Loan is repaid in full at a
                        simple rate per annum equal to five and six hundred and twenty-five
                        thousandths percent (5.625%) (the “Applicable Rate”).

                (b)     The principal, accrued interest and any other obligations owed with
                        respect to the DIP Loans (the “DIP Obligations”) shall be due and payable
                        upon the Maturity Date. The DIP Loans may be voluntarily paid at any
                        time with no penalty or premium.

                (c)     Upon the Maturity Date and subject to confirmation of the Plan of
                        Reorganization, the DIP Obligations shall be satisfied in connection with
                        the issuance of the Series 2021 B Bonds.

        10.     Conditions to the DIP Loans. The funding of the DIP Loans is conditioned on,

among other things, the satisfaction of the following:



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               (a)    entry of this Final Order;

               (b)    evidence of insurance reasonably satisfactory to the DIP Lender (and
                      receipt of additional insured and loss payee insurance certificates); and

               (c)    execution of the DIP Loan Documents.

        11.    Disbursements of DIP Loans. Disbursements of the DIP Loans shall be governed

by the terms and conditions of the DIP Credit Agreement. In addition, disbursements of the DIP

Loans shall be conditioned on the total available funds in the Debtor’s operating account not

exceeding $500,000 after accounting for the requested funding and payment of the proposed

operating expenses of the Community set forth in the Budget for the following week.

        12.    Use of DIP Loan Proceeds. The DIP Loans shall be used solely as set forth in the

Budget for: (a) the necessary operation and maintenance costs associated with the Community in

the amounts and categories and time set forth in the Budget; (b) with respect to the CapEx DIP

Loans, the capital improvements or storm damage claims associated with the Community in the

amounts and categories set forth in the Budget; and (c) the other costs and expenses of

administration of the Chapter 11 Case as set forth in the Budget.

        13.    Effectiveness of DIP Loans. From and after the entry of the Interim Order (the

“Effective Date”), the terms and conditions of the Interim Order, as modified by this Final Order,

constitute valid and binding obligations of the Debtor, enforceable against the Debtor in

accordance with the terms of the Interim Order, as modified by this Final Order, for all purposes

during the Chapter 11 Case, any subsequently converted cases of any of the Debtor under chapter

7 of the Bankruptcy Code or after the dismissal of the Chapter 11 Case. No obligation, payment,

transfer or grant of security under the Interim Order or this Final Order shall be stayed,

restrained, voidable, avoidable or recoverable under the Bankruptcy Code or under any

applicable law (including without limitation, under sections 502(d), 548 or 549 of the


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Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer Act, Uniform

Fraudulent Conveyance Act or similar statute or common law), or subject to any defense,

reduction, setoff, recoupment or counterclaim.

        14.    Payments to the DIP Lender and/or the Trustee. Any and all payments or proceeds

remitted to the DIP Lender and/or the Trustee pursuant to the provisions of this Final Order or

otherwise shall be received by the DIP Lender and/or the Trustee, free and clear of any claim,

charge, assessment or other liability, including, without limitation, any such claim or charge arising

out of or based on sections 506(c) and/or 552(b) of the Bankruptcy Code, whether directly or

indirectly, all of which are hereby waived by the Debtor. In the event that it is determined by final

order of the Court that the Trustee is not entitled under Bankruptcy Code section 506(b) to any

payments or proceeds remitted to the Trustee on account of post-petition interest, fees and

expenses relating to the Bond Claim, then any such payments or proceeds remitted to the Trustee

shall reduce the Bond Claim held by the Trustee.

Security for the DIP Loan

        15.    Post-petition Liens. Pursuant to the Interim Order, as reaffirmed by this Final

Order, and pursuant to section 364(c)(2), (c)(3) and (d) of the Bankruptcy Code and as security

for the repayment of the DIP Loans and the obligations under the DIP Loan Documents, the DIP

Lender was and is granted valid, binding, enforceable and perfected first priority mortgages,

pledges, liens and security interests (the “Post-Petition Liens”) in all currently owned or hereafter

acquired property and assets of the Debtor of any kind or nature, whether real or personal,

tangible or intangible, wherever located, now owned or hereafter acquired or arising and all

proceeds, products, rents and profits thereof, including, without limitation, accounts, inventory,

equipment, capital stock in subsidiaries, investment property, instruments, chattel paper, real


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estate, leasehold interests, contracts, patents, copyrights, trademarks, deposit accounts,

intercompany claims, claims against affiliates, causes of action, tax refund claims, commercial

tort claims, insurance proceeds and insurance premium refunds, and the proceeds, products, rents

and profits of all of the foregoing (all of the foregoing, the “Post-Petition Collateral”); provided,

however, that the Post-Petition Collateral does not include (a) any and all cash or other property

received by Debtor in the form of gifts, charitable donations, bequests or grants that are by their

terms, restricted in the manner in which they may be utilized by Debtor to the extent, and only to

the extent, that such restrictions would prohibit the granting of any such gifts, donations,

bequests or grants as collateral (collectively, the “Charitable Assets”); or (b) actions for

preferences, fraudulent conveyances or other avoidance power claims and any recoveries under

sections 542, 544, 545, 547, 548 (exclusive of transferees under section 549), 550 and 553 and

the Bankruptcy Code (collectively, the “Avoidance Actions”) or the proceeds thereof.

        16.    The Post-Petition Liens are in addition to the superpriority administrative expense

claim set forth in Paragraph 17 hereof, and pursuant to sections 364(c) and 364(d), shall be valid,

binding, continuing, enforceable, fully-perfected, senior and priming on all Post-Petition

Collateral that (a) will be and remain senior to the Pre-Petition Liens, Rollover Liens and

Supplemental Liens granted to the Trustee as adequate protection for its Pre-Petition Liens; and

(b) will otherwise constitute a first priority lien on all other assets of the Debtor, subject only to

(i) Permitted Liens, if any, and (ii) the Carve-Out.

        17.    Superpriority Administrative Expense Claim. Pursuant to the Interim Order, as

reaffirmed by this Final Order, the DIP Loans were and are granted the status of a superpriority

administrative expense claim (the “Superpriority Claim”) pursuant to section 364(c)(1) of the

Bankruptcy Code, including, without limitation, having priority over all other unpaid


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administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

Code, and over any and all administrative expenses or other claims arising under sections 105,

326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 546, 726, 1113 or 1114 of the Bankruptcy

Code (subject only to the Carve-Out), and shall at all times be senior to the rights of the Debtor,

any successor trustee or any creditor in the Chapter 11 Case or any subsequent proceedings

under the Bankruptcy Code, whether or not such expenses or claims may become secured by a

judgment lien or other nonconsensual lien, levy or attachment. The Superpriority Claim granted

to the DIP Lender by this Paragraph 17 shall be payable from and have recourse to all pre-and

postpetition property of the Debtor and all proceeds thereof.

Debtor’s Use of Cash Collateral

        18.    Pursuant to the Interim Order, as reaffirmed by this Final Order, the Debtor was

and is authorized to use cash collateral (as defined in section 363(a) of the Bankruptcy Code)

constituting proceeds of accounts and revenues from operations of the Community (collectively,

the “Cash Collateral”). Cash Collateral shall include, without limitation, the advances under the

DIP Facility, but shall not include any other funds received by the Debtor during this proceeding.

        19.    The Debtor’s use of Cash Collateral shall be solely as set forth in the Budget and

as otherwise provided in this Final Order for: (a) the necessary ordinary course operation and

maintenance costs associated with the Community in the amounts and categories and time set

forth in the Budget; and (b) other costs and expenses of administration of the Chapter 11 Case as

set forth in the Budget. Except on the term and conditions of this Final Order, the Debtor is

prohibited from using Cash Collateral at any time absent consent of the DIP Lender or further

order of the Bankruptcy Court.




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Adequate Protection to Trustee for the Pre-Petition Liens and Pre-Petition Collateral
Securing the Bond Claim

        20.    As provided in the Interim Order and reaffirmed by this Final Order, as adequate

protection of the Trustee’s interests in the Pre-Petition Collateral, including Cash Collateral,

pursuant to sections 361, 363 and 552(b) of the Bankruptcy Code, and the Trustee’s consent to

the priming of its liens and claims pursuant to the Post-Petition Liens and the Superpriority

Claim provided to the DIP Lender, the Trustee was and is provided the following adequate

protection in the Interim Order, as reaffirmed by this Final Order:

               (a)    Rollover Liens. As adequate protection for any diminution in the value of
                      the Pre-Petition Collateral, including based upon the priming by the DIP
                      Lender (“Diminution”), the Trustee shall continue to have valid, binding,
                      enforceable and perfected additional and replacement mortgages, pledges,
                      liens and security interests in all Post-Petition Collateral and the proceeds,
                      rents, products and profits therefrom, whether acquired or arising before or
                      after the Petition Date, to the same extent, priority and validity that existed
                      as of the Petition Date (such liens, the “Rollover Liens”), solely to the
                      extent of any such Diminution; provided, however, the Rollover Liens shall
                      be subject to the (i) Post-Petition Liens, (ii) Permitted Liens, and (iii) the
                      Carve-Out;

               (b)    Supplemental Liens. As additional adequate protection for any
                      Diminution, the Trustee shall have a valid, perfected and enforceable
                      continuing supplemental lien on, and security interest in, all of the assets
                      of the Debtor of any kind or nature whatsoever within the meaning of
                      section 541 of the Bankruptcy Code, whether acquired or arising before or
                      after the Petition Date, and the proceeds, rents, products and profits
                      therefrom, exclusive of the Charitable Assets, the Avoidance Actions and
                      any proceeds therefrom (collectively, the “Supplemental Liens”), solely to
                      the extent of any such Diminution; provided, however, the Supplemental
                      Liens shall be subject to the (i) Post-Petition Liens, (ii) Permitted Liens,
                      and (iii) the Carve-Out;

                (c)   Pre-Petition Superpriority Claim. As additional adequate protection for any
                      Diminution, the Trustee shall receive a superpriority expense claim, solely to
                      the extent of any such Diminution, allowed under section 507(b) of the
                      Bankruptcy Code (the “Pre-Petition Superpriority Claim”) against all assets
                      of the Debtor’s estate. The Pre-Petition Superpriority Claim shall have
                      priority over any and all other unpaid administrative expenses now existing
                      or hereafter arising, of any kind whatsoever, of the kind specified in sections


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                      503(b) and 507(b) of the Bankruptcy Code, and over any and all
                      administrative expenses or other claims arising under sections 105, 326, 328,
                      330, 331, 503(b), 506(c), 507(a), 507(b), 546, 726, 1113 or 1114 of the
                      Bankruptcy Code, and shall at all times be senior to the rights of the Debtor,
                      any successor trustee or any creditor in the Chapter 11 Case or any
                      subsequent proceedings under the Bankruptcy Code, whether or not such
                      expenses or claims may become secured by a judgment lien or other
                      nonconsensual lien, levy or attachment; provided, however, the Pre-Petition
                      Superpriority Claim shall be subject to the (i) Post-Petition Liens, (ii)
                      Superpriority Claim, (iii) Permitted Liens, and (iv) the Carve-Out; and

               (d)    Financial Reports. The Debtor shall provide the Trustee with all reports,
                      documents and other materials, including financial reports, as may be
                      required in this Final Order and such other and further access to the
                      Debtor’s books and records, advisors and professionals as may be
                      reasonably requested by the Trustee from time to time.

PROVISIONS COMMON TO THE DIP LOANS AND TRUSTEE AS HOLDER OF THE
BOND CLAIM

Covenants

        21.    Covenants. The Debtor shall observe all covenants in this Final Order at all times

prior to and after the Termination Date (as defined below). The Debtor agrees as follows, and the

Parties acknowledge that failure to comply with such covenants shall constitute an Event of

Default under this Final Order:

Budget and Reporting Covenants:

               (a)    The Debtor shall be in Compliance with the Budget. Compliance with the
                      Budget (“Compliance”) means a weekly report (the “Weekly Budget
                      Report”) certified by a responsible person for the Debtor, in the same form
                      as the Budget indicating all receipts received and disbursements made by
                      the Debtor during the applicable measuring period compared to the Budget
                      for such period (each, a “Measuring Period”), with (a) aggregate
                      disbursements during such period not exceeding 110% of the total
                      budgeted disbursement for such period; (b) any single disbursement line
                      item not exceeding 115% of the such budgeted line item for such period;
                      (c) total receipts not less than 90% of such budgeted receipts for such
                      period, and (d) expenditures for estate professional fees shall not exceed
                      100% of the amount allocated for such expenditures in the Budget for such
                      period (both in the aggregate and with respect to each professional’s
                      respective line on the Budget). Each “Variance” shall be measured on a


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                      rolling four week basis and may include weeks prior to entry of this Final
                      Order. For purposes of this paragraph and solely with respect to revenues,
                      “Variance” shall mean up to 10% of the budgeted receipts for any particular
                      staggered month, with such staggered month being measured from the 6th
                      business day of a particular month to the 5th business day of the following
                      month. Any single disbursement line item not paid in a particular week may
                      be paid during subsequent weeks and for the purpose of calculating the
                      Variance, such single disbursement line item will be deemed to be budgeted
                      for later periods.

              (b)     The Debtor shall provide the following reports to the DIP Lender:

                      i.      no later than 12:00 p.m. (prevailing Central time) on Thursday of
                      each week or if such Thursday is not a business day, then the immediate
                      succeeding business day, the Weekly Report, providing for a comparison of
                      the items in the Budget for the preceding week to the Debtor’s actual
                      performance that includes (1) a narrative summary of any Variances from
                      the Budget for the preceding week and on a cumulative basis, and (2) a
                      detailed bank account and loan balance reconciliation and report
                      summarizing, for the previous week, actual daily cash activity, including
                      expenditures (i.e., checks issued and wire transfers sent) by line item as set
                      forth in the Budget;

                      ii.     at any time and from time to time that the Debtor receives any
                      material written notice from any Governmental Body, the Debtor shall
                      promptly provide a copy of such notice to the DIP Lender, and the Debtor
                      shall provide to the DIP Lender copies of all material reports, certificates
                      and notices that the Debtor may provide to any Governmental Body;

                      iii.    a monthly reporting package, no later than 30 days after the end of
                      each calendar month, including cash flow, income statement and balance
                      sheet for such month, accounts payable and receivable reports with aging
                      information; and

                      iv.     as promptly as reasonably practicable from time to time following
                      the DIP Lender’s reasonable request therefor, such other information
                      (including historical information) regarding the operations, business
                      affairs and financial condition of the Debtor, the progress of the Chapter
                      11 Case or compliance with the terms of any DIP Loan Document.

All reports provided under this Final Order shall be provided simultaneously to the Committee.




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DIP Loan Document Covenants

                (a)     The Debtor agrees, and agrees to instruct its advisors, employees,
                        managers and professionals, to comply with all of the terms and conditions
                        of the DIP Loan Documents.

Bankruptcy Milestones

        22.     The Debtor, the Trustee and the DIP Lender agree that the Bankruptcy Milestones

set forth in the Interim Order shall be replaced in their entirety by the following Bankruptcy

Milestones and that failure to materially comply with the following Bankruptcy Milestones shall

constitute an Event of Default, unless waived or modified by the DIP Lender and/or the Trustee

in their sole discretion:

                (a)     On Tuesday of each week (or such other day as may be agreed upon by
                        the Parties), the Debtor shall make available representatives reasonably
                        acceptable to the DIP Lender and the Trustee for a telephone conference
                        call with the DIP Lender and the Trustee, holders of the Bonds, and their
                        respective agents, advisors and/or representatives to discuss the cash flows
                        and operations of the Community, and such other matters as are relevant
                        or are reasonably requested by the DIP Lender and the Trustee; and

                (b)     By September 3, 2021, (i) the Debtor, the Trustee, the DIP Lender and the
                        Committee shall reach agreement with respect to the proposed Chapter 11
                        Plan of Reorganization [Dkt. No. 21] (the “Plan”), or (ii) the Debtor shall
                        pivot to a sale process subject to a form of bid procedures and sale
                        milestones agreed to by the Trustee and the DIP Lender in consultation
                        with the Committee.

        23.     The Debtor covenants and agrees that it will use its best efforts to comply with the

Bankruptcy Milestones.

        24.     No Liens or Encumbrances. Prior to payment in full of the DIP Loans, the Debtor

shall not sell, pledge, hypothecate, or otherwise encumber any Post-Petition Collateral (any such

sale, pledge, hypothecation, or other transfer shall be void ab initio). Further, there shall be no

other claim or expense having priority or being pari passu to the priority granted to the DIP




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Lender and the Trustee in this Final Order while any portion of the DIP Loans remain

outstanding, except with respect to the Carve-Out.

        25.    No Modification. Nothing contained herein shall alter or modify, or be deemed to

alter or modify, the Bond Documents (or any other agreement to which the Trustee is party).

        26.    No Waiver. No consent by the DIP Lender or the Trustee to any administrative

claims, including fees and expenses of professionals, sought to be assessed against or attributed

to the Trustee, as applicable, in the Pre-Petition Collateral, or the Post-Petition Collateral

pursuant to the provisions of sections 506(c) and/or 552(b) of the Bankruptcy Code or otherwise

by, through or on behalf of the Debtor, shall be implied from any action, inaction or

acquiescence. Except as expressly set forth herein, the Effective Date is without prejudice to, and

does not constitute a waiver of, expressly or implicitly, or otherwise impair, (a) any of the rights

of the DIP Lender and Trustee under the Bankruptcy Code or under non-bankruptcy law,

including, without limitation, the right of the DIP Lender and the Trustee to request additional

adequate protection of their interests in the Pre-Petition Collateral or Post-Petition Collateral or

relief from or modification of the automatic stay under section 362 of the Bankruptcy Code (or

the Debtor’s right to object thereto); or (b) any other rights, claims or privileges (whether legal,

equitable or otherwise) of the DIP Lender and the Trustee (or the Debtor’s right to object

thereto).

        27.    No Challenge. As provided in the Interim Order and reaffirmed by this Final

Order, notwithstanding anything else herein, subject to the proviso at the end of this Paragraph,

no amounts under the Carve-Out, the proceeds of the DIP Loans and the proceeds of Pre-Petition

Collateral (including Cash Collateral) and Post-Petition Collateral shall be used for the purpose

of: (a) objecting to or contesting in any manner, or in raising any defenses to, the validity, extent,


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perfection, priority, or enforceability of (i) the Bond Claim or the Pre-Petition Liens (including

the Trustee-Held Funds), (ii) the DIP Loans or the Post-Petition Collateral with respect thereto,

or (iii) any other rights or interests of the DIP Lender or the Trustee, (b) asserting any claims or

causes of action, including, without limitation, any actions under chapter 5 of the Bankruptcy

Code against the DIP Lender and/or the Trustee or the holders of the Bonds or invoking the

equitable doctrine of “marshalling” or any other similar doctrine with respect to any of the Pre-

Petition Collateral, the Post-Petition Collateral or otherwise; (c) preventing, hindering, or

delaying the enforcement or realization by the Trustee, as applicable, upon any of the Pre-

Petition Collateral or Post-Petition Collateral; (d) incurring indebtedness except as permitted by

the Interim Order and this Final Order; (e) funding acquisitions, capital expenditures, capital

leases or other transactions not in the ordinary course of the Debtor’s business other than as set

forth in the Budget; (f) modifying the rights of the holders of the Bonds, except as otherwise

contemplated by the Parties; (g) modifying any adequate protection granted the DIP Lender

and/or the Trustee; or (h) commencing or prosecuting any motion, proceeding or cause of action

against the DIP Lender and/or the Trustee, or their respective agents, attorneys, advisors or

representatives. Notwithstanding the foregoing, not more than $35,000 of Cash Collateral may

be made available to reimburse the Committee, upon appropriate application therefor, for the

Committee’s fees and expenses in investigating the validity, priority, perfection, and

enforceability of the Bond Trustee’s liens in the Pre-Petition Collateral.

Events of Default

        28.    Each of the following shall be considered an Event of Default (“Event of

Default”) under the DIP Facility and this Final Order:

               (a)     the failure to make payments on the DIP Loans as and when due;


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             (b)   the failure of the Debtor to pay all of its administrative expenses in full in
                   accordance with and subject to the terms as provided for in the Budget;

             (c)   this Final Order becomes stayed, reversed, vacated, amended or otherwise
                   modified in any respect without the prior written consent of the DIP
                   Lender and the Trustee;

             (d)   failure to meet any of the Bankruptcy Milestones or other covenants set
                   forth in this Final Order;

             (e)   the dismissal of the Chapter 11 Case, conversion of the Chapter 11 Case to
                   a chapter 7 case, or suspension of the Chapter 11 Case under section 305
                   of the Bankruptcy Code;

             (f)   the appointment of a chapter 11 trustee or an examiner with enlarged
                   powers (beyond those set forth in section 1104(c) and 1106(a)(3) and (4)
                   of the Bankruptcy Code);

             (g)   the granting of relief from the automatic stay to permit foreclosure with
                   respect to a material asset of the Debtor, by any entity other than the DIP
                   Lender or Trustee on any Post-Petition Collateral;

             (h)   the entry of an order granting any superpriority claim which is senior or
                   pari passu with the DIP Lender and/or the Trustee pursuant to this Final
                   Order;

             (i)   the payment of or granting adequate protection with respect to prepetition
                   indebtedness of the Debtor other than as set forth in the Budget or as
                   provided for in this Final Order;

             (j)   the cessation of Post-Petition Liens, Rollover Liens, Adequate Protection
                   Payments, Supplemental Liens, Superpriority Claims, or Pre-Petition
                   Superpriority Claim granted pursuant to this Final Order to be valid,
                   perfected and enforceable in all respects;

             (k)   the filing of any Challenge (as defined below) to the Pre-Petition Liens or
                   Pre-Petition Collateral by the Debtor, or the Bankruptcy Court grants
                   standing to the Committee or another third party to pursue such Challenge;

             (l)   the payment of estate professional fees by the Debtor other than to the
                   extent set forth in the Budget;

             (m)   the occurrence of an Event of Default under the DIP Credit Agreement; or

             (n)   failure to pay the amounts due under this Final Order by the Maturity
                   Date.



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Termination and Maturity

        29.    Notwithstanding anything herein, and except as provided in Paragraph 32, the

Debtor shall no longer, pursuant to the Interim Order, this Final Order or otherwise, be

authorized to borrow funds and/or use Cash Collateral for any purpose hereunder upon the

earliest of (a) the occurrence of an Event of Default or (b) the Maturity Date (such earlier date,

the “Termination Date”), provided, however, that the DIP Lender and/or Trustee shall provide

five (5) Business Days (the “Default Notice Period”) written notice via email to counsel to the

Debtor, the U.S. Trustee, and counsel to the Committee of any Event of Default (the “Default

Notice”) and the Debtor may continue to use Cash Collateral pursuant to the Budget for five (5)

Business Days after receipt of such Default Notice while the Debtor or the Committee seeks an

expedited hearing to contest whether an Event of Default has occurred (including the failure to

meet a Bankruptcy Milestone), and the DIP Lender and the Trustee consent to the holding of

such an expedited hearing within five (5) Business Days of such a filing (collectively, the

“Debtor Default Period Rights”). Notwithstanding anything to the contrary in this Final Order

and until the expiration of the Investigation Period (as defined below), the Committee reserves

its rights to challenge the categorization and use of the Trustee-Held Funds, including whether

they are property of the Debtor’s estate, whether they constitute Cash Collateral and whether the

DIP Lender was entitled to interest and fees on the DIP Loans and the Trustee and DIP Lender

reserve all rights to contest any such claims by the Committee.

        30.    Notwithstanding the occurrence of an Event of Default, the DIP Lender and/or

Trustee may elect in writing not to terminate the Debtor’s authority to borrow funds and/or use

Cash Collateral hereunder, as applicable, to waive defaults hereunder, to forbear from the

exercise of rights and remedies hereunder and, subject to Court approval and the approval of the


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DIP Lender, to modify the Maturity Date and any Event of Default. Any such continued

extension of financial accommodations shall be without prejudice to the DIP Lender’s ability to

terminate funding.

         31.   Notwithstanding the occurrence of an Event of Default or anything herein to the

contrary, but subject to the provisions of Paragraph 29 herein (i) all of the rights, remedies,

benefits and protections provided to the DIP Lender and the Trustee shall survive the

Termination Date; and (ii) upon the Termination Date, the principal of and accrued interest and

all other amounts owed to the DIP Lender under the DIP Loans shall be immediately due and

payable.

Exercise of Rights

         32.   (a) Subject to the Debtor Default Period Rights, without further order from the

Bankruptcy Court, the automatic stay provisions of section 362 of the Bankruptcy Code are

vacated and modified to the extent necessary to permit, upon the occurrence of any Event of

Default, the DIP Lender to cease making any advances under the DIP Facility, including the DIP

Loans.

         (b)   The DIP Lender and Trustee shall be entitled to apply the payments or proceeds

of the Post-Petition Collateral or the Pre-Petition Collateral as they deem appropriate, subject to

the Permitted Liens, and the Carve-Out, and in no event shall the DIP Lender or the Trustee be

subject to the equitable doctrine of “marshalling” or any other similar doctrine with respect to

any of the Post-Petition Collateral or otherwise.

         (c)   Prior to exercising foreclosure, setoff, or any other remedies with respect to the

Post-Petition Collateral, the DIP Lender shall obtain an Order authorizing such actions following




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notice and a hearing. Notice shall be shortened such that a hearing can be held on an expedited

basis on five (5) days’ notice, subject to Court availability.

Release

        33.    Subject to Paragraph 34, as provided in the Interim Order and reaffirmed by this

Final Order, the Debtor hereby reaffirms its releases of the DIP Lender and the Trustee, all

holders of the Bonds, and their respective affiliates, agents, attorneys, officers, directors and

employees with respect to all claims and/or causes of action by, and liabilities owing to, the

Debtor arising out of or based upon or related to, in whole or in part, the Bonds, and any aspect

of the prepetition relationship between the Trustee and the Debtor and any other acts or

omissions by the Trustee in connection with either the Bond Documents or its prepetition

relationship with the Debtor. Further, the Debtor and its estate reaffirm their waiver of any and

all rights to object to or contest the amount of the Bond Claim or the Trustee’s security interests

in the Pre-Petition Collateral and agree that all such claims and security interests have been duly

perfected and are in all respects valid and enforceable first priority security interests and liens,

subject and subordinate only to (a) Post-Petition Liens to the extent set forth herein, (b)

Permitted Liens; and (c) the Carve-Out.

        34.    Investigation Period. Notwithstanding the provisions in this Final Order, any party

in interest, other than the Debtor, including, without limitation, the Committee and any other

person or entity acting or seeking to act on behalf of the Debtor’s estate in all circumstances and

for all purposes may file an adversary proceeding or contested matter (a “Challenge”) (a)

challenging the amount, validity, extent, enforceability, perfection or priority of the Bond Claim

or the Pre-Petition Liens in respect thereof, or (b) otherwise asserting any claims or causes of

action against the Trustee and/or holders of the Bonds on behalf of the Debtor’s estate so long as


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any Challenge is made on or before September 7, 2021 (such period of time, the “Investigation

Period”). Any Challenge brought after the conclusion of the Investigation Period shall be barred.

If no Challenge is commenced by a party during the Investigation Period against the Trustee,

and/or the holders of the Bonds, then as to such party, (a) any repayment of the Bond Claim shall

be deemed final and indefeasible, not subject to subordination or recharacterization and

otherwise unavoidable, (b) the Bond Claim shall constitute an allowed claim, not subject to

subordination or recharacterization and otherwise unavoidable, for all purposes in the Chapter 11

Case and any subsequent chapter 7 case or cases, (c) the Pre-Petition Liens on the Pre-Petition

Collateral shall be deemed legal, valid, binding, perfected, not subject to defense, counterclaim,

offset of any kind, subordination and otherwise unavoidable, (d) the Trustee, the Bond Claim and

the Pre-Petition Liens of the Trustee on the Pre-Petition Collateral shall not be subject to any

other or further claims, causes of action or challenges by any party in interest including, without

limitation, any successor thereto; and (e) the Trustee, all holders of the Bonds and their respective

affiliates, agents, attorneys, officers, directors and employees, shall be deemed released of all

claims and/or causes of action by the Debtor, the Committee, the Debtor’s estate, all parties in

interest, and any subsequently appointed trustee arising out of or based on any facts or

circumstances occurring prior to the date hereof; provided further that if one or more claims are

timely under this Paragraph 34 and properly filed, then except for such claims, all other potential

claims and causes of action are hereby deemed forever waived and barred. Notwithstanding the

foregoing, no claims or cause of actions of any kind or nature may be asserted against the DIP

Lender or the liens and claims granted to the DIP Lender under and/or related to the DIP Facility,

other than in connection with a Challenge by the Committee with respect to the stipulations set

forth in Paragraph L regarding the Trustee-Held Funds as detailed in Paragraph 29. Nothing in this


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Final Order shall be deemed to confer standing on the Committee or any other non-Debtor party-

in-interest to commence a Challenge, and the Committee or other non-Debtor party in interest

shall be required to move for standing and satisfy the applicable standard for obtaining standing

to pursue estate causes of action.

        35.    Section 364(e); Section 506(c); Section 552(b). The DIP Lender shall be entitled

to all of the benefits of section 364(e) of the Bankruptcy Code for all DIP Loans. Except to the

extent of the Carve-Out, no expenses of administration of the Chapter 11 Case or any future

proceeding that may result therefrom, including liquidation in bankruptcy or other proceedings

under the Bankruptcy Code, shall be charged against or recovered from the Post-Petition

Collateral, the Pre-Petition Collateral or collateral subject to Rollover Liens and Supplemental

Liens, pursuant to section 506(c) or 552(b) of the Bankruptcy Code or any similar principle of

law, without the prior written consent of the DIP Lender and the Trustee and no such consent

shall be implied from any other action, inaction, or acquiescence by the DIP Lender and/or the

Trustee.

Carve-Out

        36.    In partial consideration of the Debtor’s acknowledgement of the debt due and

owing and the Debtor’s waiver of any claims under sections 506(c) and 552(b) of the Bankruptcy

Code, the DIP Lender and Trustee consent to the payment of certain expenses and professional

fees incurred during the pendency of these Chapter 11 Case that shall be superior in all instances

to the liens and claims of the DIP Lender and Trustee and all other parties (the “Carve Out”). For

purposes hereof, the “Carve Out” means the sum of (a) the fees and expenses of professionals

retained by the Debtor pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor

Professionals”), exclusive of ordinary course, non-restructuring professionals of Debtor, if any,


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and the Debtor’s Claims and Noticing Agent, in an aggregate amount not to exceed the sum of:

the dollar amount of such fees and expenses to the extent (i) incurred or accrued and remaining

unpaid, (ii) provided for under the Budget (as accrued and regardless of whether approved and

unpaid or pending approval by the Bankruptcy Court), and (iii) previously or subsequently

allowed by Court order, plus (b) the statutory fees of the U.S. Trustee pursuant to 28 U.S.C. §

1930 and the fees of the Clerk of this Court, together with interest, if any, at the statutory rate,

plus (c) the reasonable fees and expenses incurred by a trustee under section 727(b) of the

Bankruptcy Code, in an amount not to exceed $50,000, plus (d) the allowed fees and expenses of

the patient care ombudsman appointed pursuant to section 333 of the Bankruptcy Code to the

extent (i) incurred or accrued prior to the occurrence of an Event of Default and remaining

unpaid, and (ii) provided for under the Budget, plus (e) the fees and expenses of professionals

retained by the Committee, in an aggregate amount not to exceed the sum of the dollar amount of

such fees and expenses to the extent (i) incurred or accrued and remaining unpaid, (ii) provided

for under the Budget (as accrued and regardless of whether approved and unpaid or pending

approval by the Bankruptcy Court), and (iii) previously or subsequently allowed by Court order

((a) through (e), collectively, the “Carve-Out Expenses”); provided, however, that the aggregate

amount of such Carve Out Expenses incurred after an Event of Default shall not exceed

$200,000. In the event of a disposition of any of the Pre-Petition Bond Collateral or any other

collateral for the obligations owed by the Debtor to the Trustee, the Carve-Out will apply with

equal force and effect to the proceeds of such disposition. Prior to the payment of such fees and

expenses from the amount available under the Carve Out, such professionals shall first apply any

retainers held by such professional to their allowed fees and expenses. Nothing herein shall

constitute a waiver of any right of the DIP Lender or Trustee to object to fees and expenses of


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any professionals or to challenge any assertion that any amount of the fees and expenses remain

unpaid (or the Debtor’s right to respond thereto). Except to the extent of and in consideration of

the Carve Out, (a) no expenses of administration of the Chapter 11 Case or any future proceeding

that may result therefrom, including liquidation in bankruptcy or other proceedings under the

Bankruptcy Code, shall be charged against or recovered from the DIP Lender, the Trustee, the

Pre-Petition Collateral, or the Post-Petition Collateral pursuant to section 506(c) of the

Bankruptcy Code or a similar principal of law; and (b) the “equities of the case” exception under

section 552(b) of the Bankruptcy Code is waived as to the DIP Lender, the Trustee, the Pre-

Petition Collateral, and the Post-Petition Collateral.

        37.     Any payment or reimbursement made in respect of any Carve-Out Expenses

incurred by any Debtor Professional prior to an Event of Default shall not reduce the Carve-Out.

        38.     Any payment or reimbursement made in respect of any Carve-Out Expenses

incurred by any Debtor Professional on or after an Event of Default shall permanently reduce the

Carve-Out on a dollar for dollar basis.

Credit Bid

        39.     The DIP Lender and the Trustee have an absolute right to credit bid their

respective obligations in any sale or other disposition of their respective collateral under the

Bankruptcy Code, provided that the Trustee’s right to credit bid shall be limited to the secured

portion of the Bond Claim following any successful Challenge.

Miscellaneous

        40.     The Debtor shall execute and deliver to the DIP Lender and the Trustee as

applicable, any and all such agreements, financing statements, instruments and other documents

as such parties may reasonably request to evidence, confirm, validate or perfect the liens granted



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pursuant hereto. The Debtor is authorized to do and perform all acts, to make, execute and

deliver all instruments and documents, including the DIP Loan Documents; provided, however,

that this Final Order shall be sufficient and conclusive evidence of the validity, perfection, and

priority of the Post-Petition Liens, Pre-Petition Liens, Rollover Liens and Supplemental Liens to

the DIP Lender and Trustee, as applicable, without the necessity of filing or recording any

financing statement, mortgage, notice, or other instrument or document which may otherwise be

required under the law or regulation of any jurisdiction or the taking of any other action to

validate or perfect the Post-Petition Liens, Pre-Petition Liens, Rollover Liens and Supplemental

Liens or to entitle those liens to the priorities granted herein.

        41.     Based on the findings herein set forth, and in accordance with section 364(e) of

the Bankruptcy Code, in the event any or all of the provisions of this Final Order are hereafter

modified, amended or vacated by a subsequent order of this or any other Court, no such

modification, amendment or vacation shall affect the validity and enforceability of any lien or

priority authorized or created hereby. Notwithstanding any such modification, amendment or

vacation, any claim granted to the DIP Lender and the Trustee hereunder arising prior to the

effective date of such modification, amendment or vacation shall be governed in all respects by

the original provisions of this Final Order and the DIP Lender and the Trustee shall be entitled to

all of the rights, remedies, privileges and benefits, including the liens and priorities granted

herein, with respect to any such claim.

        42.     Deemed Request for Stay Relief. This Final Order shall be deemed to constitute a

request by the Trustee for relief from the automatic stay with respect to the Pre-Petition

Collateral and for adequate protection as of the Petition Date and shall suffice for all purposes of

section 507(b) of the Bankruptcy Code.


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        43.    No Control. None of the DIP Lender, the Trustee or the holders of the Bonds shall be

deemed to be in control of the operations of the Debtor or to be acting as a “responsible person,”

“managing agent” or “owner or operator” (as such terms or any similar terms are used in the United

States Comprehensive Environmental Response, Compensation and Liability Act, as amended, or

any similar Federal or state statute) with respect to the operation or management of the Debtor,

notwithstanding any consent to this Final Order and extending financial accommodations of any

type, kind or nature under this Final Order.

        44.    To the extent obligations remain due and owing under the DIP Loans, such

obligations of the Debtor in respect of the DIP Loans shall not be discharged by the entry of an

order confirming a plan of reorganization or a plan of liquidation in the Chapter 11 Case, but

rather shall be required to be paid in full on the effective date of such plan, and, pursuant to

section 1141(d)(4) of the Bankruptcy Code, the Debtor has waived such discharge with respect

to the payment of the DIP Loans unless such obligations have been indefeasibly paid in full and

all commitments have been terminated or the DIP Lender shall have otherwise agreed in writing.

        45.    No Third Party Beneficiaries. The provisions of this Final Order shall be binding

upon and inure to the benefit of the DIP Lender, the Trustee, the Debtor and their respective

successors and assigns (including any trustee or other fiduciary hereafter appointed as a legal

representative of the Debtor or with respect to the property of the estate of the Debtor). No rights

are created hereunder for the benefit of any third party, any creditor, or any direct, indirect or

incidental beneficiary.

        46.    Modification of Stay. The automatic stay imposed by virtue of section 362 of the

Bankruptcy Code is hereby vacated and modified insofar as necessary to permit (a) the Debtor to

grant the Post-Petition Liens, the Rollover Liens and the Supplemental Liens to the DIP Lender


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and the Trustee, as applicable, (b) the Trustee to accept and receive disbursements and/or payments

and to apply moneys pursuant to the Bond Documents (including, without limitation, the Trustee-

Held Funds), (c) the Parties to take any action specifically authorized or contemplated by this Final

Order and implement the DIP Facility, and (d) all acts, actions, and transfers contemplated herein,

including without limitation, transfers or application of cash collateral and other funds to the DIP

Lender as provided herein;

        47.    Effectiveness. The findings of fact and conclusions of law contained in this Final

Order shall take effect immediately upon entry of this Final Order. The liens and claims granted

to the DIP Lender and the Trustee under the Interim Order and this Final Order, and the priority

thereof, and any payments made pursuant to the Interim Order and this Final Order, shall be

binding on the Debtor, any successor trustee or examiner, and all creditors of the Debtor, as

provided in section 364(e) of the Bankruptcy Code.

        48.    Any notice required hereunder shall be served on:

               (a)     counsel to the Debtor:

                       Demetra Liggins
                       McGuireWoods LLP
                       600 Travis Street, Suite 7500
                       Houston, TX 77002
                       Dliggins@mcguirewoods.com

                (b)    counsel to the Trustee:

                       Daniel S. Bleck
                       Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
                       One Financial Center
                       Boston, MA 02111
                       DSBleck@mintz.com

               (c)     the Office of the U.S. Trustee:

                       J. Casey Roy
                       903 San Jacinto Blvd., Room 230


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                      Austin, Texas 78701
                      Casey.Roy@usdoj.gov

                      Jayson B. Ruff
                      515 Rusk Street, Suite 3516
                      Houston, TX 77002
                      Jayson.B.Ruff@usdoj.gov

               (d)    counsel to the Committee:

                      Robin Russell
                      Hunton Andrews Kurth LLP
                      600 Travis Street, Suite 4200
                      Houston, TX 77002
                      RRussell@andrewskurth.com

        49.    To the extent there exists any conflict between the Motion, any other motion,

pleading, document, agreement or term sheet, any DIP Loan Document and the terms of this

Final Order, this Final Order shall govern and control.



SIGNED this _____ day of _____________ 2021.



                                             UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit A




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                                PRIMING SUPERPRIORITY

                      DEBTOR-IN-POSSESSION CREDIT AGREEMENT


                                    BY AND BETWEEN

                   BUCKINGHAM SENIOR LIVING COMMUNITY, INC.,

                                      AS DEBTOR,

                                          AND

                                    UMB BANK, N.A.,

                            IN ITS CAPACITY AS BOND TRUSTEE,

                                     AS DIP LENDER



                                DATED AS OF JUNE 25, 2021




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SCHEDULE 2.1       DIP Loan Commitment

EXHIBIT A          Budget

EXHIBIT B          Form of Borrowing Certificate




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      THIS PRIMING SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT
AGREEMENT is made as of June 25, 2021 by and between Buckingham Senior Living
Community, Inc. (the “Debtor”) and UMB Bank, N.A., in its capacity as Bond Trustee (the “DIP
Lender”).

                                            RECITALS

         WHEREAS, on June 25, 2021 (the “Petition Date”), the Debtor filed a voluntary petition
for relief (the “Chapter 11 Case”) under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”);

     WHEREAS, the Debtor is the owner and operator of a continuing care retirement
community known as The Buckingham (the “Facility”);

        WHEREAS, the Tarrant County Cultural Education Facilities Finance Corporation (the
“Bond Issuer”) issued its (i) Tarrant County Cultural Education Facilities Finance Corporation
Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Project),
Series 2007 (the “Series 2007 Bonds”), pursuant to that certain Indenture of Trust dated as of
July 1, 2007 (the “2007 Original Indenture”) between the Bond Issuer and UMB Bank, N.A., in
its capacity as successor trustee thereunder (in such capacity, the “Bond Trustee”), (ii) Tarrant
County Cultural Education Facilities Finance Corporation Retirement Facility Revenue Bonds
(Buckingham Senior Living Community, Inc. Project), Series 2014 (the “Series 2014 Bonds”),
pursuant to the 2007 Indenture, as supplemented by Supplement No. 1 to the Indenture of Trust,
dated as of September 1, 2014 (the 2007 Original Indenture, as supplemented, the “2014
Indenture”) between the Bond Issuer and the Bond Trustee and (iii) the Tarrant County Cultural
Education Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham
Senior Living Community, Inc. Project), Series 2015A Fixed Rate, Series 2015B-1 Tax Exempt
Mandatory Paydown Securities (TEMP- 80) and Series 2015B-2 Tax Exempt Mandatory
Paydown Securities (TEMP- 50) (the “Series 2015 Bonds” and together with the Series 2007
Bonds and Series 2014 Bonds, the “Bonds”), pursuant to that certain Indenture of Trust, dated as
of August 1, 2015 between the Bond Issuer and the Bond Trustee (the “2015 Indenture” and
together with the 2007 Original Indenture and the 2014 Indenture, the “Bond Indentures”);

       WHEREAS, the Bond Issuer loaned the proceeds of the Bonds to the Debtor pursuant to
the Loan Agreement dated July 1, 2007 between the Debtor and the Bond Issuer (as amended by
the Amendment No. 1 to the Loan Agreement dated September 1, 2014) and the Loan
Agreement dated August 1, 2015, collectively, the “Loan Agreements”);

       WHEREAS, the Debtor used the proceeds of the Bonds primarily to: (i) finance the
construction, renovation and equipping of the Facility, (ii) fund debt service reserve funds; (iii)
pay a portion of the interest on the Bonds; and (iv) pay certain expenses incurred in connection
with the issuance of the Bonds;

       WHEREAS, the rights of the Bond Issuer under the Loan Agreements were assigned to
the Bond Trustee. In addition, as security for its obligations with respect to the Bonds, the Debtor
entered into that certain Master Trust Indenture, Deed of Trust and Security Agreement dated as
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July 1, 2007, as supplemented by the Supplemental Indenture Number 1, dated as of July 1,
2007, the Supplemental Indenture Number 2, dated as of September 1, 2014 and the
Supplemental Indenture Number 3, dated as of August 1, 2015 (as supplemented, the “Master
Indenture”) between the Debtor and UMB Bank, N.A., as successor master trustee (the “Master
Trustee” and together with the Bond Trustee, the “Trustee”) pursuant to which the Debtor
granted the Master Trustee a security interest against substantially all of the Debtor’s assets as
described in the Master Indenture and that certain Deed of Trust and Security Agreement dated
October 8, 2014, as modified by the Modification Agreement dated effective August 1, 2015 (as
modified, the “Deed of Trust”), between the Debtor and the Master Trustee (all such collateral so
granted under the Prepetition Credit Agreements (as defined below), the “Prepetition
Collateral”);

        WHEREAS, the Bond Indentures, the Loan Agreements, the Master Indenture, the Deed
of Trust and any other document or agreement delivered as security for, or in respect to, the
Bonds or the Debtor’s obligations under any of such documents are collectively referred to
herein as the “Prepetition Credit Agreements.”

       WHEREAS, the Debtor has requested, and the DIP Lender has agreed, to provide a
working capital facility to support the Debtor’s working capital needs during the Chapter 11
Case, pursuant to the terms and conditions hereof; and

       WHEREAS, the DIP Lender is only willing to provide the DIP Loans hereunder if the
Debtor grants to the DIP Lender a priming, first priority lien and superpriority administrative
claim on the DIP Collateral, subject only to the Carve-Out and other Permitted Liens and the
Financing Orders.

        NOW THEREFORE, in consideration of the premises and the mutual covenants and the
agreements herein set forth, and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto, intending to be legally bound,
hereby agree as follows:

                                         ARTICLE I
                                       DEFINED TERMS

       Section 1.1    Definitions.

                (a)     As used in this Agreement, including, without limitation, the preamble,
recitals, exhibits and schedules hereto, the following terms have the meanings stated:

       “Account” has the meaning set forth in the UCC.

       “Action” against a Person means an action, suit, litigation, arbitration, investigation,
       complaint, contest, hearing, inquiry, inquest, audit, examination or other proceeding
       threatened or pending against or affecting such Person or its property, whether civil,
       criminal, administrative, investigative or appellate, in law or equity, before any arbitrator
       or Governmental Body.




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  “Affiliate” means, with respect to a Person, any other Person which directly or indirectly,
  through one or more intermediaries, controls or is controlled by or is under common
  control with such Person, and without limiting the generality of the foregoing, includes
  (i) any Person which beneficially owns or holds ten (10%) percent or more of any class of
  the Capital Stock of such Person or other equity interests in such Person, (ii) any Person
  of which such Person beneficially owns or holds ten (10%) percent or more of any class
  of the Capital Stock or in which such Person beneficially owns or holds ten (10%)
  percent or more of the equity interests, (iii) any director or executive officer of such
  Person. For the purposes of this definition, the term “control” (including with correlative
  meanings, the terms “controlled by” and “under common control with”), as used with
  respect to any Person, means the possession, directly or indirectly, of the power to direct
  or cause the direction of the management and policies of such Person, whether through
  the ownership of Capital Stock, by agreement or otherwise.

  “Agreement” means this Priming Superpriority Debtor-in-Possession Credit Agreement,
  as it may be amended, restated, supplemented or otherwise modified from time to time.

  “Asset Sale” means a sale, lease or sublease (as lessor or sublessor), sale and leaseback,
  assignment, conveyance, transfer or other disposition to, or any exchange of property
  with, any Person, in one or more transactions or a series of related transactions, of all or
  any part of the businesses of the Debtor, and/or of all or any part of the assets or
  properties of any kind of the Debtor, whether real, personal, or mixed and whether
  tangible or intangible, whether now owned or hereafter acquired, other than (a) inventory
  (or other assets) sold or leased in the ordinary course of business, (b) sales or dispositions
  of obsolete, worn-out or excess furniture, fixtures, equipment or other property in the
  ordinary course of business and (c) the actual or constructive loss of any property or the
  use thereof.

  “Assignee” means has the meaning set forth in Section 9.4(b).

  “Assignment” has the meaning set forth in Section 9.4(b).

  “Authorized Officer” means, as applied to any Person, any individual holding the
  position of chairman of the board, executive director (or the equivalent thereof), chief
  executive officer, chief financial officer, any vice president or treasurer or the Person or
  entity acting in that capacity.

  “Bankruptcy Code” has the meaning set forth in the recitals to this Agreement.

  “Bankruptcy Court” has the meaning set forth in the recitals to this Agreement.

  “Bankruptcy Milestones” has the meaning set forth in the Financing Orders.

  “Bond Indentures” has the meaning set forth in the recitals to this Agreement.

  “Bond Issuer” has the meaning set forth in the recitals to this Agreement.

  “Bond Trustee” has the meaning set forth in the recitals to this Agreement.


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  “Bonds” has the meaning set forth in the recitals to this Agreement.

  “Borrowing” means an advance of a DIP Loan made hereunder on the Interim Order
  Entry Date or thereafter.

  “Borrowing Certificate” has the meaning set forth in Section 2.2(b).

  “Borrowing Date” means the date of a Borrowing.

  “Budget” means the budget attached as Exhibit A itemizing on a weekly basis all uses,
  and anticipated uses, of the DIP Loans, revenues projected to be received and all
  expenditures proposed to be made during such period, which Budget may be amended
  with the written consent of the DIP Lender.

  “Business Day” means a day other than Saturday or Sunday or other day on which
  commercial banks in Houston, Texas or New York City, New York are authorized or
  required by law or other governmental action to close.

  “CapEx DIP Loan Commitment” means a subset of the DIP Loan Commitment in the
  amount set forth in Schedule 2.1 or such lesser amount as determined in accordance with
  the Financing Orders and the Budget.

  “CapEx DIP Loans” mean DIP Loans, in an amount not to exceed the CapEx DIP Loan
  Commitment, to be used to pay capital expenses and storm damage claims as provided
  herein.

  “Capital Improvement Account” means a deposit account held by the Debtor into which
  the proceeds of the CapEx DIP Loans shall be deposited.

  “Capital Lease” means, as applied to any Person, any lease of any property (whether real,
  personal or mixed) by that Person as lessee that, in conformity with GAAP, is or should
  be accounted for as a capital lease on the balance sheet of that Person.

  “Capital Stock” means any and all shares, interests, participations or other equivalents
  (however designated) of capital stock of a corporation, any and all equivalent ownership
  interests in a Person (other than a corporation), including, without limitation, partnership
  interests and membership interests, and any and all warrants, rights or options to purchase
  or other arrangements or rights to acquire any of the foregoing.

  “Carve-Out” has the meaning set forth in the Interim Order (before the entry of the Final
  Order) and, after the entry of the Final Order, the Final Order.

  “Cash” means a credit balance in any Deposit Account, money or currency.

  “Change of Control” means any one or more of the following events: (i) the transfer (in
  one transaction or a series of transactions) of all or substantially all of the assets of the
  Debtor to any Person or group; (ii) the liquidation or dissolution of the Debtor or the
  adoption of a plan by the Board of Directors of the Debtor relating to the dissolution or


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  liquidation of the Debtor; (iii) the conversion of the Debtor from a Texas non-profit
  corporation to a “for profit” corporation or other entity; (iv) any Person or two or more
  Persons acting in concert shall have acquired by contract or otherwise, the power to
  exercise, directly or indirectly, a controlling influence over the management or policies of
  the Debtor or control the election of members of the board of directors or equivalent
  governing body of the Debtor; or (v) any change in the composition or membership of the
  Debtor’s board of directors, or day to day management of the Debtor, from that in effect
  on the date hereof, except for any changes approved in advance by the DIP Lender.

  “Chapter 11 Case” has the meaning set forth in the recitals to this Agreement.

  “Closing Date” means the date hereof.

  “Committee” means any committee of unsecured creditors appointed in the Chapter 11
  Case.

  “Controlled Account” has the meaning set forth in Section 5.1(f).

  “Controlled Account Agreement” has the meaning set forth in Section 5.1(f).

  “Consents” means any approval, consent, authorization or order of, notice to or
  registration or filing with, or any other action by, any Governmental Body or other
  Person.

  “Credit Bid” means the submission by the DIP Lender of a bid at a public or private sale
  to purchase all or any portion of the DIP Collateral in which any of the DIP Obligations
  are used and applied as a credit against the purchase price.

  “Debtor” has the meaning set forth in the Preamble to this Agreement; provided that
  “Debtor” shall include any of the Debtor’s successors and assigns (including, without
  limitation, any trustee or other fiduciary hereafter appointed as its legal representative or
  with respect to the property of the estate of the Debtor, whether under chapter 11 of the
  Bankruptcy Code or any subsequent chapter 7 case and the Debtor’s successor upon
  conclusion of the Chapter 11 Case).

  “Debtor Relief Laws” shall mean the Bankruptcy Code and all other liquidation,
  conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
  rearrangement, receivership, insolvency, reorganization, examinership, or similar debtor
  relief laws of the United States or other applicable jurisdictions from time to time in
  effect and affecting the rights of creditors generally.

  “Default” means a condition or event that, after notice or lapse of time or both, would
  constitute an Event of Default.

  “Deposit Account” means any deposit account (as such term is defined in the UCC),
  including, without limitation, a demand, time, savings, passbook or like account with a
  bank, savings and loan association, credit union or like organization, other than an
  account evidenced by a negotiable certificate of deposit.


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  “DIP Collateral” means any and all “Property” as defined in the Mortgage and/or the
  Financing Orders, together with any other collateral granted by the Debtor to the DIP
  Lender pursuant to any other DIP Collateral Document, as applicable.

  “DIP Collateral Documents” means the Mortgage, the Controlled Account Agreements
  and all other instruments, documents and agreements delivered by the Debtor pursuant to
  this Agreement or any of the other DIP Loan Documents pursuant to which the Debtor
  grants a DIP Lien, or any other Lien, mortgage, or encumbrance, to the DIP Lender, as
  any of the foregoing may be amended, restated, supplemented, modified, or replaced
  from time to time. For the avoidance of doubt, the DIP Collateral Documents do not
  include the Financing Orders.

  “DIP Commitment Period” means (a) with respect to Initial DIP Loans, the period
  commencing on Interim Order Entry Date and ending on the Maturity Date and (b) with
  respect to remaining DIP Loans (exclusive of the Initial DIP Loans), the period
  commencing on the Final Order Entry Date and ending on the Maturity Date.

  “DIP Lender” has the meaning set forth in the Preamble to this Agreement.

  “DIP Lien” means any Lien granted under or pursuant to any DIP Collateral Document or
  the Financing Orders.

  “DIP Loan” has the meaning set forth in Section 2.1(a).

  “DIP Loan Commitment” means the amount set forth in Schedule 2.1 or such lesser
  amount as determined in accordance with the Financing Orders and the Budget.

  “DIP Loan Document” means any of this Agreement, the DIP Collateral Documents and
  all other documents, instruments or agreements executed and delivered by the Debtor for
  the benefit of the DIP Lender in connection herewith.

  “DIP Obligations” means all indebtedness, obligations, covenants, duties of payment or
  performance of every kind and all other liabilities of the Debtor from time to time owed
  to DIP Lender, whether direct or indirect, joint or several, absolute or contingent,
  matured or unmatured, liquidated or unliquidated, secured or unsecured, arising by
  contract, operation of law or otherwise, owing, arising, due or incurred under this
  Agreement, the Financing Orders or any DIP Loan Document or in respect of any of the
  DIP Loans, or any other instruments at any time evidencing any of the foregoing or
  otherwise, including, without limitation, all obligations to repay principal of and interest
  on the DIP Loans, and to pay interest, costs, charges, expenses, professional fees, and all
  sums chargeable to the Debtor under the DIP Loan Documents and the Financing Orders
  and Debtor’s obligation to provide the DIP Lender with adequate protection of its
  interests in the DIP Collateral and other property to be used, sold, leased or otherwise
  disposed of by the Debtor under the terms of the Financing Orders.

  “Dollars” and the sign “$” mean the lawful money of the United States of America.




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  “Employee Benefit Plan” means any “employee benefit plan” as defined in Section 3(3)
  of ERISA that is sponsored, maintained or contributed to by, or required to be contributed
  to by, the Debtor.

  “Environmental Laws” means all federal, state, local and foreign laws (including without
  limitation common law), treaties, statutes, regulations and rules whether now or
  hereinafter in effect relating in any way to the environment, the preservation or
  reclamation of natural resources, the management, release or threatened release of any
  Hazardous Material or health and safety matters, including, without limitation, the
  Resource Conservation and Recovery Act, the Comprehensive Environmental Response
  Compensation and Liability Act of 1980, the Superfund Amendments and
  Reauthorization Act of 1986, the Federal Clean Water Act, the Federal Clean Air Act, the
  Toxic Substances Control Act, in each case as amended, and all rules, regulations,
  judgments, decrees, orders and licenses arising under all such laws.

  “Environmental Liability” means any actual, alleged or contingent liability or obligations
  of the Debtor directly or indirectly resulting from or based on (i) violations or alleged
  violations of any Environmental Law, (ii) the generation, use, handling, transportation,
  management, storage, treatment or disposal of any Hazardous Material, (iii) exposure to
  any Hazardous Material, (iv) the release or threatened release of any Hazardous Material
  into the environment or (v) any contract, agreement or other consensual arrangement
  pursuant to which liability is assumed or imposed with any of the foregoing.

  “Environmental Permits” means all permits, licenses, authorizations, registrations and
  other governmental consents required by applicable Environmental Laws for the use,
  storage, treatment, transportation, release, emission and disposal of raw materials, by-
  products, wastes and other substances used or produced by or otherwise relating to the
  operations of the Debtor.

  “Equipment” means, as to the Debtor, all of the Debtor’s now owned and hereafter
  acquired equipment, wherever located, including machinery, data processing and
  computer equipment (whether owned or licensed and including embedded software),
  vehicles, tools, furniture, fixtures, all attachments, accessions and property now or
  hereafter affixed thereto or used in connection therewith, and substitutions and
  replacements thereof, wherever located.

  “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
  from time to time, and any successor thereto.

  “ERISA Affiliate” means, as applied to any Person, (i) any corporation that is a member
  of a controlled group of corporations within the meaning of Section 414(b) of the Internal
  Revenue Code of which that Person is a member, (ii) any trade or business (whether or
  not incorporated) that is a member of a group of trades or businesses under common
  control within the meaning of Section 414(c) of the Internal Revenue Code of which that
  Person is a member, and (iii) any member of an affiliated service group within the
  meaning of Section 414(m) or (o) of the Internal Revenue Code of which that Person, any
  corporation described in clause (i) above or any trade or business described in clause (ii)


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  above is a member. Any former ERISA Affiliate of the Debtor, shall continue to be
  considered an ERISA Affiliate of the Debtor within the meaning of this definition with
  respect to the period such entity was an ERISA Affiliate of the Debtor and with respect to
  liabilities arising after such period for which the Debtor could be liable under the Internal
  Revenue Code or ERISA.

  “Event of Default” means each of the conditions or events set forth in Section 8.1.

  “Excluded Property” means the Avoidance Actions (as defined in the Financing Orders).

  “Excluded Taxes” means any of the following Taxes imposed on or with respect to the DIP
  Lender or required to be withheld or deducted from a payment to the DIP Lender, (a) Taxes
  imposed on or measured by net income (however denominated), franchise Taxes, and
  branch profits Taxes, in each case, (i) imposed as a result of the DIP Lender being
  organized under the laws of, or having its principal office or, its applicable lending office
  located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii)
  that are imposed as a result of a present or former connection between the DIP Lender and
  the jurisdiction imposing such Tax (other than connections arising from the DIP Lender
  having executed, delivered, become a party to, performed its obligations under, received
  payments under, received or perfected a security interest under, engaged in any other
  transaction pursuant to or enforced this Agreement, or sold or assigned an interest in any
  DIP Loan or any DIP Loan Document), (b) U.S. federal withholding Taxes imposed on
  amounts payable to or for the account of the DIP Lender with respect to an applicable
  interest in a DIP Loan pursuant to a law in effect on the date on which the DIP Lender
  acquires such interest in the DIP Loan, (c) Taxes attributable to the DIP Lender’s failure
  to comply with Section 7.1(c) and (d) any U.S. federal withholding Taxes imposed under
  FATCA.

  “Facility” has the meaning set forth in the recitals to this Agreement.

  “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of the
  date of this Agreement (or any amended or successor version that is substantively
  comparable and not materially more onerous to comply with), any current or future
  regulations or official interpretations thereof and any agreement entered into pursuant to
  Section 1471(b)(1) of the Internal Revenue Code.

   “Final Order” means a final order (which must be acceptable in form and substance to
  the DIP Lender in its sole discretion) entered or to be entered by the Bankruptcy Court
  authorizing the secured financing under the DIP Loan Documents.

  “Final Order Entry Date” means the date on which the Bankruptcy Court enters the Final
  Order.

  “Financing Orders” means, collectively, the Interim Order, the Final Order and such
  other orders relating thereto or authorizing the granting of credit by DIP Lender to the
  Debtor on an emergency, interim or permanent basis, pursuant to section 364 of the
  Bankruptcy Code as may be issued or entered by the Bankruptcy Court in the Chapter 11
  Case.


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  “GAAP” means generally accepted accounting principles in the United States as in effect
  from time to time, consistently applied throughout the periods to which reference is
  made.

  “Governmental Body” means any agency, bureau, commission, court, department,
  official, political subdivision, tribunal or other instrumentality of any administrative,
  judicial, legislative, executive, regulatory, police or taxing authority of any government,
  whether supranational, national, federal, state, regional, provincial, local, domestic or
  foreign, and includes, without limitation, the European Union and its agencies and
  instrumentalities.

  “Hazardous Materials” means any hazardous or toxic substance, waste, contaminant,
  pollutant, gas or material, including, without limitation, radioactive materials, oil,
  petroleum and petroleum products and constituents thereof, which are regulated under
  any Environmental Law, including, without limitation, any substance, waste or material
  which is (i) designated a “pollutant”, “hazardous substance”, “extremely hazardous
  substance” or “toxic chemical” under any Environmental Law, or (ii) regulated in any
  way under the Regulations of any state or other jurisdiction where the Debtor conducts its
  business or owns any real property or has any leasehold or in which any Relevant
  Property is located.

  “Indebtedness” means, with respect to any Person, without duplication, the following: (i)
  all indebtedness of such Person for borrowed money, (ii) all obligations of such Person
  for the deferred purchase price of property or services (other than accounts payable and
  accrued liabilities that would be classified as current liabilities under GAAP if and only
  for so long as such item of such accounts payable and accrued liabilities is no more than
  90 days past due), (iii) all obligations of such Person evidenced by notes, bonds,
  debentures or similar borrowing or securities instruments, (iv) all obligations of such
  Person created or arising under any conditional sale or other title retention agreement
  with respect to property acquired by such Person, (v) all obligations of such Person as
  lessee under Capital Leases, (vi) all obligations of such Person in respect of banker’s
  acceptances and letters of credit, (vii) all obligations of such Person secured by Liens on
  the assets and property of such Person, (viii) all obligations of such Person to purchase,
  redeem, retire, defease or otherwise make any payment in respect of any Capital Stock or
  other ownership or profit interest in such Person or any other Person or any warrants,
  rights or options to acquire such Capital Stock, (ix) net liabilities in respect of such
  Person’s hedge agreements as determined in accordance with GAAP, (x) all obligations
  of such Person in respect of any guaranty by such Person of any obligation of another
  Person of the type described in clauses (i) through (ix) of this definition and (xi) all
  obligations of another Person of the type described in clauses (i) through (x) secured by a
  Lien on the property or assets of such Person (whether or not such Person is otherwise
  liable for such obligations of such other Person).

  “Indemnified Taxes” means Taxes, other than Excluded Taxes, imposed on or with
  respect to any payment made by or on account of any obligation of the Debtor under any
  DIP Loan Document.



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   “Initial DIP Loans” means the amount set forth on Schedule 2.1 or such lesser amount as
  set forth in the Interim Order and the Budget.

  “Intellectual Property” means, collectively, all copyrights, all patents and all trademarks,
  together with: (i) all inventions, processes, production methods, proprietary information,
  know-how and trade secrets; (ii) all licenses or user or other agreements granted to the
  Debtor with respect to any of the foregoing, in each case whether now or hereafter owned
  or used including the licenses or other agreements with respect to any DIP Collateral; (iii)
  all customer lists, identification of suppliers, data, plans, blueprints, specifications,
  designs, drawings, recorded knowledge, surveys, engineering reports, test reports,
  manuals, materials standards, processing standards, performance standards, catalogs,
  computer and automatic machinery software and programs; (iv) all sales data and other
  information relating to sales or service of products now or hereafter manufactured; (v) all
  accounting information and all media in which or on which any information or
  knowledge or data or records may be recorded or stored and all computer programs used
  for the compilation or printout of such information, knowledge, records or data; and (vi)
  all causes of action, claims and warranties, in each case, now or hereafter owned or
  acquired by the Debtor in respect of any of the items listed above.

  “Interim Order” means an interim order (which must be acceptable in form and substance
  to the DIP Lender in its sole discretion) entered or to be entered by the Bankruptcy Court
  authorizing the secured financing (including the Initial DIP Loans) under the DIP Loan
  Documents.

  “Interim Order Entry Date” means the date on which the Bankruptcy Court issues the
  Interim Order.

  “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended to the
  date hereof and from time to time hereafter, and any successor statute.

  “Investment” means (i) any direct or indirect purchase or other acquisition by the Debtor
  of, or of a beneficial interest in, any of any Capital Stock of any other Person, (ii) any
  direct or indirect redemption, retirement, purchase or other acquisition for value, by the
  Debtor from any Person, of any Capital Stock of such Person, and (iii) any direct or
  indirect loan, advance or capital contribution by the Debtor to any other Person, including
  all indebtedness and accounts receivable from that other Person that are not current assets
  or did not arise from sales of inventory to that other Person in the ordinary course of
  business and/or constitute ordinary trade credit extended in the ordinary course of
  business. The amount of any Investment shall be the original cost of such Investment
  plus the cost of all additional Investments, without any adjustments for increases or
  decreases in value, or write-ups, write-downs or write-offs with respect to such
  Investment.

  “Knowledge” means, with respect to the Debtor, the actual knowledge of the Debtor’s
  Authorized Officers.




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  “Leasehold Property” means any leasehold interest of the Debtor as lessee under any
  lease of real or personal property, other than any such leasehold interest designated from
  time to time by the DIP Lender in its sole discretion as not being required to be included
  in the DIP Collateral or with respect to which the applicable lease includes an enforceable
  prohibition on the grant of a security interest therein.

  “Loan Agreements” has the meaning set forth in the recitals to this Agreement.

  “Lien” means any mortgage, deed of trust, security interest, charge, pledge,
  hypothecation, assignment, attachment, deposit arrangement, encumbrance, lien
  (statutory, judgment or otherwise, but excluding any right of set off arising by operation
  of law or pursuant to agreements entered into in the ordinary course of business), or other
  security agreement or preferential arrangement of any kind or nature whatsoever
  (including any conditional sale or other title retention agreement, any Capital Lease, any
  Synthetic Lease, any financing lease involving substantially the same economic effect as
  any of the foregoing and the filing of any financing statement under the UCC or
  comparable law of any jurisdiction in respect of the foregoing).

  “Margin Stock” means “margin stock” as defined in Regulation U of the Board of
  Governors of the Federal Reserve System as in effect from time to time.

  “Material Adverse Effect” means any material adverse effect on or change in (i) the
  business or assets of the Debtor, (ii) the ability of the Debtor to perform its obligations
  hereunder or under of any of the DIP Loan Documents, (iii) the legality, validity or
  enforceability of any DIP Loan Document, or (iv) the DIP Collateral or the perfection or
  priority of any DIP Liens granted to the DIP Lender under any of the DIP Collateral
  Documents.

  “Maturity Date” means the earliest to occur of the date that is (a) November 8, 2021, (b)
  the closing date of any Restructuring, (c) the confirmation of a plan of reorganization or
  liquidation for the Debtor in the Chapter 11 Case, and (d) the date on which the DIP
  Lender accelerates the DIP Obligations (or the DIP Obligations automatically and
  immediately accelerate) or the DIP Obligations otherwise become immediately due and
  payable, in each case pursuant to the terms hereof.

  “Mortgage” means the Mortgage, dated on even date herewith, by the Debtor in favor of
  the DIP Lender.

  “Multiemployer Plan” means any Employee Benefit Plan that is a “multi-employer plan”
  as defined in Section 3(37) of ERISA.

  “Net Asset Sale Proceeds” means, for the Debtor, with respect to any Asset Sale, an
  amount equal to: (i) Cash payments (including any Cash received by way of deferred
  payment pursuant to, or by monetization of, a note receivable or otherwise, but only as
  and when so received) received by the Debtor from such Asset Sale, minus (ii) the sum of
  (a) reasonable, customary and documented brokerage, consultant and other reasonable
  customary and documented fees and expenses actually incurred in connection with such



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  Asset Sale and (b) Taxes paid or reasonably estimated to be payable as a result of such
  Asset Sale.

  “Net Indebtedness Proceeds” means the proceeds of any Indebtedness incurred by the
  Debtor after the Petition Date (other than pursuant to this Agreement) minus if, at the
  time of payment thereof and after giving thereto, (i) the Debtor is in pro forma
  compliance with the provisions of Section 6.2, (ii) any such payment is permitted to be
  made at such time in accordance with the Budget and (iii) no Default or Event of Default
  shall have occurred and be continuing or would result therefrom, reasonable, customary
  and documented out-of-pocket attorneys’ fees, accountants’ fees, and other reasonable
  customary and documented fees and expenses actually incurred in connection with the
  issuance of such Indebtedness.

  “Net Insurance/Condemnation Proceeds” means, for the Debtor, an amount equal to: (i)
  any Cash payments or proceeds received by or owed to the Debtor (A) under any casualty
  insurance policy in respect of a covered loss thereunder or (B) as a result of the taking of
  any assets of the Debtor by any Person pursuant to the power of eminent domain,
  condemnation or otherwise, or pursuant to a sale of any such assets to a purchaser with
  such power under threat of such a taking minus (ii) the sum of (A) any actual and
  reasonable documented costs and expenses (including reasonable out-of-pocket
  attorney’s fees) incurred by the Debtor in connection with the adjustment or settlement of
  any claims of the Debtor in respect thereof, and (B) any bona fide, reasonable, customary
  and documented costs actually incurred in connection with any sale of such assets as
  referred to in clause (i)(B) of this definition, including Taxes paid or reasonably
  estimated to be payable as a result of any gain recognized in connection therewith.

  “Net Proceeds” means, as of any time, the aggregate of Net Asset Sale Proceeds, Net
  Insurance/Condemnation Proceeds and Net Indebtedness Proceeds.

  “Notices” has the meaning set forth in Section 9.2.

  “Operating Account” means the Debtor’s deposit account at Bank of America, N.A.,
  currently used as its operating account, which deposit account may be changed with the
  written consent of the DIP Lender.

  “PATRIOT Act” means the Uniting and Strengthening America by Providing
  Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Public Law
  107-56).

  “PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

  “Pension Plan” means any Employee Benefit Plan, other than a Multiemployer Plan, that
  is subject to Section 412 of the Internal Revenue Code or Section 302 of ERISA.

  “Permit” means any permit, license, approval, consent, permission, notice, franchise,
  confirmation, endorsement, waiver, certification, registration, qualification, clearance or
  other authorization issued, granted, given or otherwise made available by or under the



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  authority of any Governmental Body or pursuant to any federal, state, local or foreign
  Regulation.

  “Permitted Indebtedness” means the Indebtedness permitted pursuant to Section 6.1(a).

  “Permitted Investment” has the meaning set forth in Section 6.1(c).

  “Permitted Liens” has the meaning set forth in Section 6.1(b).

  “Person” means and includes natural persons, corporations, limited partnerships, general
  partnerships, limited liability companies, limited liability partnerships, joint stock
  companies, joint ventures, associations, companies, trusts, banks, trust companies, land
  trusts, business trusts or other organizations, whether or not legal entities, other legal
  entities and Governmental Bodies.

  “Petition Date” has the meaning set forth in the recitals to this Agreement.

  “Post-Petition” means following the Petition Date.

  “Prepetition Collateral” has the meaning set forth in the recitals to this Agreement.

  “Prepetition Credit Agreements” has the meaning set forth in the recitals to this
  Agreement.

  “Prepetition Bond Indebtedness” means the Indebtedness issued or loaned and
  outstanding under a Prepetition Credit Agreement.

  “Prepetition Obligations” means all obligations of the Debtor arising prior to the Petition
  Date.

  “Prepetition Payment” means a payment (by way of adequate protection or otherwise) of
  principal or interest or otherwise on account of Prepetition Obligations or other
  prepetition claims against the Debtor.

  “Prepetition Secured Parties” means each of the Bond Trustee and any other agent,
  trustee, bondholder, noteholder, lender or other secured party under any Prepetition
  Credit Agreement.

  “Regulation” means each applicable law, rule, regulation, or order, by any Governmental
  Body, central bank or comparable agency and any request or directive (if having the force
  of law) of any of those Persons and each judgment, injunction, order, writ, decree or
  award of any Governmental Body, arbitrator or other Person.

  “Released Parties” shall have the meaning given such term in Section 9.19.

  “Relevant Property” means, for the Debtor, all sites, facilities, locations, real property
  and leaseholds (i) presently or formerly owned, leased, used or operated by the Debtor
  (whether or not such properties are currently owned, leased, used or operated by the



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  Debtor) or (ii) at which any Hazardous Material has been transported, disposed, treated,
  stored or released by the Debtor.

  “Restructuring” means a restructuring of Debtor’s financial obligations with respect to
  the Bonds and its other outstanding obligations on the terms and conditions acceptable to
  the DIP Lender.

  “Securities Act” means the Securities Act of 1933, as amended from time to time, and
  any successor statute.

  “Subsidiary” means, with respect to any Person, any corporation, partnership, limited
  liability company, association, joint venture or other business entity of which more than
  50% of the total voting power of shares of stock or other ownership interests entitled
  (without regard to the occurrence of any contingency) to vote in the election of the
  Person or Persons (whether directors, managers, trustees or other Persons performing
  similar functions) having the power to direct or cause the direction of the management
  and policies thereof is at the time owned or controlled, directly or indirectly, by that
  Person or one or more of the other Subsidiaries of that Person or a combination thereof.

  “Synthetic Lease” means any lease of goods or other property, whether real or personal,
  which is treated as an operating lease under GAAP and as a loan or financing for U.S.
  income tax purposes.

  “Tax” means any present or future tax, levy, impost, duty, assessment, charge, fee,
  deduction or withholding of any nature and whatever called, by whomsoever, on
  whomsoever and wherever imposed, levied, collected, withheld or assessed.

  “UCC” means the Uniform Commercial Code (or any similar or equivalent legislation) as
  in effect in the State of New York; provided that if by reason of mandatory provisions of
  law, the perfection, the effect of perfection or non-perfection or the priority of the DIP
  Liens is governed by the Uniform Commercial Code as in effect in a United States
  jurisdiction other than New York, “UCC” shall mean the Uniform Commercial Code as
  in effect in such other jurisdiction for purposes of the provisions hereof relating to such
  perfection, effect of perfection or non-perfection or priority.

  “United States Trustee” means the United States Trustee for the Southern District of
  Texas.

  “Weekly Budget Report” means, a weekly report certified by an Authorized Officer for
  the Debtor, substantially in the same form as the Budget indicating (i) a comparative
  reconciliation, on a line-by-line basis, of actual cash receipts and disbursements against
  the cash receipts and disbursements forecast in the Budget, and the percentage variance
  thereof, for (A) the weekly period ended on (and including) the immediately preceding
  Sunday and (B) the cumulative period to date; and (ii) a written explanation of such
  variances.

         (b)    Capitalized terms used but not defined above or elsewhere herein shall
  have the meanings given to such terms in the Financing Orders, as applicable.


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                                          ARTICLE II
                                           LOANS

       Section 2.1    DIP Loans.

               (a)    Subject to the terms and conditions set forth herein and in the Financing
Orders, upon Debtor’s request for a DIP Loan in accordance with Section 2.2(b), the DIP Lender
agrees to make term loans pursuant to this Section 2.1(a) (collectively, the “DIP Loans”) during
the DIP Commitment Period in an amount equal to such requested DIP Loan. Each such DIP
Loan shall be for purposes consistent with the Budget and otherwise consistent with this
Agreement; provided that both before and after giving effect to any DIP Loan, the aggregate
amount of all DIP Loans, including the CapEx DIP Loans, made shall not exceed the DIP Loan
Commitment. Once repaid, DIP Loans borrowed hereunder may not be reborrowed.

               (b)     Any amount borrowed under this Section 2.1 shall, along with all other
DIP Obligations (including accrued and unpaid costs, and expenses), be entitled to the DIP Liens
on the DIP Collateral and the other rights and benefits provided pursuant to the Financing
Orders, this Agreement and the other DIP Loan Documents.

       Section 2.2    Borrowing Mechanics.

                (a)    The DIP Loans, other than the CapEx DIP Loans, shall be funded by the
DIP Lender into the Debtor’s Operating Account, and anything herein to the contrary
notwithstanding, shall be disbursed solely in accordance with the Budget and the Financing
Orders (both as to timing and amount of any such requests), subject to Sections 3.1 and 3.2. The
CapEx DIP Loans shall be funded by the DIP Lender into the Debtor’s Capital Improvement
Account, and shall be disbursed solely in accordance with the Budget and Financing Orders
(both as to timing and amount of any such requests), subject to Sections 3.1 and 3.2.

                 (b)     Not less than two Business Days prior to any Borrowing Date, the Debtor
shall deliver to the DIP Lender a fully executed Borrowing Certificate no later than 10:00 a.m.
(New York City time) on such date. Such Borrowing Certificate, a form of which is attached
hereto as Exhibit B (each a “Borrowing Certificate”), shall, except with respect to the CapEx
DIP Loans, specify the amount of the proposed DIP Loan and the Borrowing Date thereof, and
shall certify that the amount of the proposed DIP Loan, after accounting for other available funds
held by the Debtor less five hundred thousand dollars ($500,000), is reasonably expected to be
needed to pay amounts coming due in the 15 days immediately following such Borrowing Date,
as set forth in the Budget. With respect to the CapEx DIP Loans, the Debtor may request a
CapEx DIP Loan by indicating its request for such CapEx DIP Loan in a Borrowing Certificate,
specifying the amount of the proposed CapEx DIP Loan and the Borrowing Date thereof, and
certifying that the amount of the proposed CapEx DIP Loan is needed to pay amounts having
come due and otherwise incurred with respect to capital improvements or storm damage claims
at the Facility as set forth in the Budget. On the Borrowing Date specified in any Borrowing
Certificate, the DIP Lender shall disburse such funds to the Operating Account (or the Capital
Improvement Account with respect to the CapEx DIP Loans) and shall use reasonable efforts to
make the funds available to the Debtor no later than 2:00 p.m. (New York City time) on the
requested Borrowing Date.


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        Section 2.3 Use of Proceeds. The proceeds of the DIP Loans, other than the CapEx
DIP Loans, shall be used by the Debtor, subject to and in accordance with the Budget and the
Financing Orders, solely for (i) working capital and general corporate purposes of the Debtor and
(ii) bankruptcy-related costs and expenses. The proceeds of the CapEx DIP Loans shall be used
by the Debtor, subject to and in accordance with the Budget and the Financing Orders, solely for
payment of capital expenses and storm damage claims. None of the proceeds of the DIP Loans
shall be used in connection with the investigation (including discovery proceedings), initiation or
prosecution of any claims, causes of action, adversary proceedings or other litigation against the
DIP Lender (whether in its capacity as DIP Lender, Prepetition Secured Party, Bond Trustee or
in any other capacity), the beneficial owners of the Bonds, or any of their respective advisors,
agents and sub-agents, including in connection with the validity of the DIP Liens granted to the
DIP Lender, or the Liens granted to the Prepetition Secured Parties in the Prepetition Collateral
arising under the Prepetition Credit Agreements.

       Section 2.4 Evidence of Debt. The DIP Lender shall maintain in its internal records
an account or accounts evidencing the DIP Obligations owed to the DIP Lender, including the
amounts of the DIP Loans owed to it and each repayment and prepayment in respect thereof.
Any such recordation shall be conclusive and binding on the Debtor, absent manifest error;
provided, failure to make any such recordation, or any error in such recordation, shall not affect
the DIP Loan Commitment, the DIP Loans or any of the DIP Obligations.

       Section 2.5     Interest on Loans.

               (a)     Applicable Rate; Payment of Interest. Interest shall accrue on the full
amount of the DIP Loan Commitment from the Interim Order Entry Date through the Maturity
Date at a simple rate per annum equal to five and six hundred and twenty-five thousandths
percent (5.625%). Accrued interest shall be due and payable on the Maturity Date.

              (b)     Calculation of Interest Rates. Interest payable pursuant to this Section 2.5
shall be computed on the basis of a 360-day year for the actual number of days elapsed in the
period during which it accrues.

       Section 2.6 Repayment. Subject to Sections 2.8 and 2.9, the DIP Loans shall be due
and payable, and the Debtor shall be required to repay all of the DIP Obligations (including,
without limitation, all accrued and unpaid principal, interest, fees, costs, and expenses on the DIP
Loans) on the Maturity Date.

       Section 2.7     Mandatory Prepayments.

               (a)     Net Proceeds. No later than the first Business Day following the date of
receipt by the Debtor of any Net Proceeds, the Debtor shall prepay the DIP Loans (including the
applicable portion of the accrued costs and expenses) as set forth in Section 2.9 in an aggregate
amount equal to such Net Proceeds.

               (b)    Prepayment Certificate. Concurrently with any prepayment of the DIP
Loans pursuant to Section 2.7(a), the Debtor shall deliver to the DIP Lender a certificate of an
Authorized Officer demonstrating the calculation in reasonable detail of the amount of the
applicable Net Proceeds. In the event that the Debtor shall subsequently determine that the


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actual amount received exceeded the amount set forth in such certificate, the Debtor shall
promptly make an additional prepayment of the DIP Loans in accordance with Section 2.9 in an
amount equal to such excess, and the Debtor shall concurrently therewith deliver to the DIP
Lender a certificate of an Authorized Officer demonstrating the derivation of such excess.

        Section 2.8 Application of Payments and Proceeds. Any amount required to be paid
pursuant to Section 2.7(a) or any other provision of this Agreement, and all proceeds of the DIP
Collateral (whether before or after an Event of Default) shall be applied (a) first, to pay any
amounts (including reasonable and documented attorneys’ fees) payable to the DIP Lender under
Section 9.3 hereof, (b) second, to pay accrued and unpaid interest, costs, expenses and other
outstanding DIP Obligations, and (c) third, to repay any principal amounts outstanding in respect
of the DIP Loans.

       Section 2.9    General Provisions Regarding Payments.

                (a)     Payments. All payments by the Debtor of principal, interest and other DIP
Obligations shall be made by the Debtor to the DIP Lender in Dollars in same day funds, without
defense, setoff or counterclaim, free of any restriction or condition, and delivered to the DIP
Lender not later than 4:00 p.m. (New York City time) on the date due at the DIP Lender’s office
for receipt of notices hereunder (or as otherwise instructed by the DIP Lender to the Debtor)
without presentment, demand, protest or notice of any kind, all of which are expressly waived by
the Debtor.

               (b)     Late Payments. The DIP Lender shall be permitted to consider any
payment made by or on behalf of the Debtor that is not made in same day funds prior to 4:00
p.m. (New York City time) as a late payment, and any such late payment shall be deemed
received on the next Business Day. The DIP Lender shall give prompt telephonic notice to the
Debtor (confirmed in writing) if any payment is considered late hereunder. To the extent any late
payment is received, the DIP Lender shall be permitted to declare by notice to the Debtor
(confirmed in writing) a Default or Event of Default to the extent so provided under the terms of
Section 8.1. Interest shall continue to accrue on any late payment until the Business Day
following receipt thereof.

               (c)      Payments to Include Accrued Interest. All payments in respect of the
principal amount of any DIP Loan shall include payment of accrued interest on the principal
amount being repaid or prepaid calculated in accordance with Section 2.5, and all such payments
shall be applied to the payment of interest before application to principal.

               (d)     Business Days. Whenever any payment to be made hereunder shall be
stated to be due on a day that is not a Business Day, such payment shall be made on the next
succeeding Business Day and such extension of time shall be included in the computation of the
payment of interest hereunder.

       Section 2.10 Termination of DIP Loan Commitments. Unless previously terminated,
the DIP Loan Commitment shall automatically terminate at the end of the DIP Commitment
Period. Upon the making of any DIP Loan, the DIP Loan Commitment shall be permanently
reduced by an amount equal to the principal amount of such DIP Loan.



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                                  ARTICLE III
                 CONDITIONS PRECEDENT; CONDITIONS SUBSEQUENT

        Section 3.1 Conditions Precedent; Closing Date. The obligation of the DIP Lender to
make any DIP Loan on any date on which the Debtor requests a Borrowing is subject to the
satisfaction, or waiver in accordance with Section 9.1, of the following conditions on or before
the Closing Date:

                (a)     Certificate. The DIP Lender shall have received a certificate of an
Authorized Officer of the Debtor with respect to (i) the articles of incorporation of the Debtor,
(ii) the bylaws of the Debtor, (iii) the resolutions of the board of directors of the Debtor
approving each DIP Loan Document and such other agreements, instruments, certificates or
other documents required to be delivered by the Debtor under the DIP Loan Documents and the
performance of the obligations of the Debtor thereunder, and (iv) the names and true signatures
of any officers of the Debtor who the Borrower desires to sign DIP Loan Documents from time
to time (all of whom shall be Authorized Officers).

                (b)     Good Standing Certificate. The DIP Lender shall have received a good
standing certificate from the applicable Governmental Body of the jurisdiction of incorporation
of the Debtor and in each jurisdiction in which it is qualified as a foreign corporation or other
entity to do business, each dated within 30 days prior to the Closing Date.

                (c)     Financing Orders. The Financing Orders, and all motions relating thereto,
approving and authorizing the DIP Loans, all provisions thereof and the priorities and DIP Liens
granted under Bankruptcy Code section 364(c) and (d), as applicable, shall be in form and
substance satisfactory to the DIP Lender and its counsel, the Interim Order shall have been
entered by the Bankruptcy Court on or before the date hereof and the Final Order shall be
scheduled to be issued no later than September 2, 2021, and shall include, without limitation,
provisions (a) modifying the automatic stay to permit the creation and perfection of the DIP
Liens, (b) providing for the vacation of such stay to permit the enforcement of the DIP Lender’s
rights and remedies under the DIP Loan Documents upon further Court order, (c) upon entry of
the Final Order, prohibiting the assertion of claims arising under sections 506(c) or 552(b) of the
Bankruptcy Code against the DIP Lender or, except as expressly permitted therein, the
commencement of other actions adverse to the DIP Lender or its respective rights and remedies
under the DIP Loan Documents, the Financing Orders, or any other order, (d) prohibiting the
incurrence of Indebtedness by Debtor, other than Permitted Indebtedness, with priority equal to
or greater than the DIP Loans, (e) prohibiting any granting or imposition of Liens other than DIP
Liens and Permitted Liens, and (f) authorizing and approving the Debtor to execute and deliver
the DIP Loan Documents to which each shall be a party and the transactions contemplated
therein, including, without limitation, the granting of the super priority status, the first-priority
and priming security interests and DIP Liens upon the DIP Collateral and the payment of all fees
and expenses due to the DIP Lender. As of the Final Order Entry Date, the Final Order shall
further state, among other things, that, upon entry of the Final Order, (a) the DIP Lender, the
Prepetition Secured Parties, and all of their respective counsel, advisors and consultants, shall
each be entitled to the benefit of a “good faith” finding pursuant to section 364(e) of the
Bankruptcy Code, and (b) permit the DIP Lender the right to Credit Bid (pursuant to section



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363(k) of the Bankruptcy Code and/or applicable law) the DIP Loans, in whole or in part, in
connection with any sale or disposition of assets in the Chapter 11 Case.

               (d)     Compliance with Financing Orders. No Financing Order shall have been
reversed, modified, amended, stayed or vacated, in the case of any modification or amendment,
in a manner, or relating to a matter, without the consent of the DIP Lender. The Debtor shall be
in compliance in all material respects with the Financing Orders and all other orders of the
Bankruptcy Court binding on it.

               (e)    Debtor-in-Possession. No trustee or examiner shall have been appointed
with respect to the Debtor or its properties.

              (f)    First Day Motions. All “first day” motions and related orders entered by
the Bankruptcy Court in the Chapter 11 Case shall be in form and substance satisfactory to the
DIP Lender and its counsel.

               (g)     Use of Proceeds and Information. The proceeds of the DIP Loans shall be
used by the Debtor solely in accordance with the Budget and the DIP Lender shall receive such
information (financial or otherwise) as may be reasonably requested by the DIP Lender.

                (h)     Litigation, etc. There shall not exist any material action, suit,
investigation, litigation or proceeding pending (other than the Chapter 11 Case) or threatened in
any court or before any Governmental Body that, in the reasonable opinion of the DIP Lender,
materially and adversely affects any of the transactions contemplated hereby, or that has or could
be reasonably likely to have a Material Adverse Effect.

              (i)    Cash Management. Cash management arrangements satisfactory to the
DIP Lender in form and substance shall be in place. The DIP Lender or its advisors shall have
completed a review of the Debtor’s cash management systems and determined that all material
amounts of cash and cash equivalents of the Debtor are subject to a DIP Lien in favor of the DIP
Lender.

              (j)     Consents. Holders of a majority in principal amount of the Bonds
outstanding shall have consented to the DIP Lender’s entry into the DIP Loan Documents.

                (k)      No Default. No Default or Event of Default shall exist at the time of, or
after giving effect to, the transactions contemplated on the Closing Date, including the advancing
of any DIP Loans.

            (l)    Representations and Warranties. All representations and warranties in the
DIP Loan Documents shall be true and correct as of the Closing Date.

                (m)    UCC Financing Statements. The DIP Lender shall have received UCC
financing statements duly authorized by the Debtor with respect to all personal property DIP
Collateral of the Debtor, for filing in all jurisdictions as may be necessary or, in the opinion of
the DIP Lender, desirable, to perfect the security interests created in such DIP Collateral
pursuant to the DIP Collateral Documents.



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                 (n)    DIP Loan Documents. The DIP Lender shall have received duly executed
copies of each DIP Loan Document (other than any DIP Loan Document which the DIP Lender
has allowed to be executed at a later date), with originals to promptly follow. The Mortgage,
financing statements and other DIP Loan Documents related to perfection of the security interest
and Liens of the DIP Lender in the DIP Collateral shall, at the DIP Lender’s option, have been
filed in all appropriate jurisdictions (or arrangements for such filings acceptable to the DIP
Lender shall have been made).

                (o)     Other Actions to Perfect Security Interests. The DIP Lender shall have
received evidence that Debtor shall have taken or caused to be taken any other action, executed
and delivered or caused to be executed and delivered any other agreement, document and
instrument, and made or caused to be made any other filing and recording (other than as set forth
herein), reasonably required by the DIP Lender to perfect, and to ensure the perfection of, its
security interests in the DIP Collateral with the priority required by the DIP Loan Documents.

                (p)     Other Information. The DIP Lender shall have received any other
financial or non-financial information regarding the Debtor that the DIP Lender reasonably
requested at least five Business Days prior to the Closing Date.

               (q)     DIP Lender’s Professional Fees and Costs. The Financing Orders shall
require the Debtor pay, on the Maturity Date, all reasonable out-of-pocket fees and expenses of
the DIP Lender incurred in connection with this Agreement and the other DIP Loan Documents,
including the fees, costs and expenses of Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, PC., as
counsel to the DIP Lender, and any other attorneys’ fees, costs and expenses of local counsel to
the DIP Lender. The DIP Lender shall be satisfied, in its sole discretion, that all such fees and
expenses constitute DIP Obligations under the Financing Orders and are secured by the DIP
Liens on the DIP Collateral.

               (r)     No Material Adverse Change. The Debtor, as debtor-in-possession, shall
have continued to operate its business in the ordinary course through the Closing Date, and since
the Petition Date there shall have been no Material Adverse Effect.

        Section 3.2 Conditions to Each Borrowing. The obligations of the DIP Lender to
make any DIP Loan on any Borrowing Date, including the Closing Date, is subject to the
satisfaction, or waiver in accordance with Section 9.1, of the following conditions precedent:

                (a)     Borrowing Certificate. The DIP Lender shall have received a fully
executed and delivered Borrowing Certificate, in accordance with Section 2.2. Each Borrowing
Certificate shall be executed by an Authorized Officer of the Debtor and delivered to the DIP
Lender on a Business Day.

                (b)     Representations and Warranties. As of such Borrowing Date (both before
and after giving effect to the advance of the DIP Loans and application of its proceeds), the
representations and warranties of the Debtor contained in the DIP Loan Documents shall be true
and correct in all material respects on and as of that Borrowing Date, as if made on and as of that
Borrowing Date (except to the extent such representations and warranties specifically relate to an




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earlier date, such representations and warranties were true and correct on and as of such earlier
date).

               (c)    No Event of Default. As of such Borrowing Date, no Default or Event of
Default shall have occurred and be continuing or would result from the consummation of the
applicable Borrowing (or the application of its proceeds).

               (d)    Consents. The DIP Lender shall have received such Consents and other
information, approvals, opinions or documents reasonably requested by the DIP Lender in
connection with such Borrowing.

               (e)   Available Commitments. After making the DIP Loans requested on such
Borrowing Date, the aggregate outstanding principal amount of the DIP Loans shall not exceed
the amount of the DIP Loan Commitment.

              (f)    No Material Adverse Effect. Since the Interim Order Entry Date, no
Material Adverse Effect shall have occurred after giving effect to the making of the DIP Loans.

               (g)     Other Information. The DIP Lender shall have received any other
financial or non-financial information regarding the Debtor that the DIP Lender reasonably
requested.

         Section 3.3 Conditions Subsequent. The Debtor shall timely perform all obligations
and commitments in any post-closing agreement between the DIP Lender and the Debtor with
respect to any requirement of Sections 3.1 or 3.2 hereof that the DIP Lender has, in the exercise
of its sole and absolute discretion, agreed to be satisfied at a later date.

                                    ARTICLE IV
                          REPRESENTATIONS AND WARRANTIES

        Section 4.1 Representations and Warranties. In order to induce the DIP Lender to
enter into this Agreement and to make each DIP Loan to be made hereby, Debtor hereby
represents and warrants to the DIP Lender, on the Closing Date and on each Borrowing Date as
follows:

                (a)     Status; Authorization. Debtor is duly organized, validly existing, and in
good standing under the laws of its jurisdiction of incorporation and is duly qualified and in good
standing in every other jurisdiction where it is doing business except where the failure to so
qualify could not reasonably be expected to have a Material Adverse Effect, and, subject to the
entry by the Bankruptcy Court of the Financing Orders, the execution, delivery and performance
by the Debtor of the DIP Loan Documents (i) are within its respective authority, (ii) have been
duly authorized, and (iii) do not conflict with or contravene its constitutive documents. Subject
to the entry by the Bankruptcy Court of the Financing Orders, the execution, delivery,
performance of its obligations, and exercise of its rights under the DIP Loan Documents by the
Debtor, including, without limitation, the making of the DIP Loans under this Agreement, (y) do
not require any Consents that have not been obtained or notices to third parties that have not
been provided except to the extent such failure would not result in a Material Adverse Effect and
(z) are not and will not be in conflict with or be prohibited or prevented by (A) any Regulation,


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(B) any corporate governance document, corporate minute or resolution of the Debtor or (C) any
instrument, agreement or provision thereof, in each case binding on it or affecting any of its
property.

                (b)     Execution and Binding Effect. Subject to the entry by the Bankruptcy
Court of the Financing Orders, upon execution and delivery thereof, each DIP Loan Document
shall constitute the legal, valid and binding obligation of the Debtor, enforceable in accordance
with its terms.

               (c)     Properties.

                      (i)     Debtor has good and marketable title to all real property owned or
               purported to be owned by it, in each case free of all Liens other than the Permitted
               Liens.

                        (ii)   Debtor enjoys, and will enjoy, peaceful and undisturbed possession
               of, or a lease or license to use, all property (subject only to the Permitted Liens)
               that is necessary for the conduct of its business.

               (d)     Litigation. Except for the Chapter 11 Case, there are no material legal or
other proceedings or investigations pending or, to the Knowledge of the Debtor, threatened
against the Debtor before any court, tribunal or regulatory authority which could, if adversely
determined, alone or together, reasonably be expected to have a Material Adverse Effect.

                (e)    Governmental Approvals and Filings. Other than the Bankruptcy Court’s
entry of the Financing Orders and the filings and recordings contemplated by the DIP Collateral
Documents, no approval, order, consent, authorization, certificate, license, permit or validation
of, or exemption or other action by, or filing, recording or registration with, or notice to, any
Governmental Body is or will be necessary in connection with the execution and delivery of this
Agreement or any other DIP Loan Document, consummation by the Debtor of the transactions
herein or therein contemplated, or performance of or compliance with the terms and conditions
hereof or thereof. The Debtor is not an “investment company” or a company “controlled” by an
“investment company,” with the meaning of the Investment Company Act of 1940, as amended.

                 (f)    Absence of Conflicts. Subject to the Bankruptcy Court’s entry of the
Financing Orders, the execution and delivery by the Debtor of this Agreement and each other
DIP Loan Document to which it is a party and performance by it hereunder and thereunder will
not violate any law (including, without limitation, Regulations T, U and X of the Federal Reserve
Board) and will not conflict with or result in a breach of any order, writ, injunction, resolution,
decree or other similar document or instrument of any court or Governmental Body or its
certificate of incorporation or by-laws or similar constituent documents or create (with or
without the giving of notice or lapse of time, or both) a default under or breach of any material
agreement, bond, note or indenture, in each case to which it is a party (by successor in interest or
otherwise), or by which it is bound or any material portion of its properties or assets is affected,
in each case, the effect of which could reasonably be expected to be, have or reflect in a Material
Adverse Effect or, except under the DIP Collateral Documents, result in the imposition of any




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Lien (other than Permitted Liens) of any nature whatsoever upon any of the properties or assets
owned by or used in connection with the business of the Debtor.

                (g)     DIP Collateral. From and after the Interim Order Entry Date, the DIP
Lender shall have first-priority perfected security interests and DIP Liens in and to all of the DIP
Collateral, free and clear of any Liens other than the Permitted Liens, and entitled to priority
under applicable law, with no financing statements, hypothecations, chattel mortgages, real
estate mortgages or similar filings on record with respect to the Debtor or the DIP Collateral
anywhere other than such filings in connection with this Agreement, the DIP Collateral
Documents or the Permitted Liens. Each of the representations and warranties made by the
Debtor in each DIP Collateral Document to which it is a party is true and correct in all material
respects as of each date made or deemed made.

               (h)     Subsidiaries. The Debtor does not own any Subsidiaries.

                (i)    Material Misstatements and Omissions. Any projections and pro forma
financial information contained in or delivered pursuant to any DIP Loan Document (including
the Budget and each Weekly Budget Report) or any other document, certificate or written
statement furnished to the DIP Lender pursuant to any DIP Loan Document are based upon good
faith estimates and assumptions believed by the Debtor to be reasonable at the time made.

                (j)    Budgets. All facts in the Budget and each Weekly Budget Report (when
delivered) are accurate in all material respects and the Debtor has disclosed to the DIP Lender all
material assumptions in the Budget and each Weekly Budget Report. After giving effect to the
DIP Loans projected to be made under the Budget, the Debtor believes, in good faith and in the
exercise of its commercially reasonable judgment, that it has or will have sufficient capital and
funds to pay and satisfy the expenses, obligations and liabilities of the Debtor as set forth, as and
when provided to be paid or satisfied, in the Budget.

              (k)     Labor Practices. To the Knowledge of the Debtor, the Debtor is not
engaged in any unfair labor practice that could reasonably be expected to have a Material
Adverse Effect.

               (l)     Employee Benefits. Each of the Employee Benefit Plans intended to
qualify under Section 401 of the Internal Revenue Code so qualifies, and nothing has occurred
with respect to the operation of such plan which would cause the loss of such qualification or the
imposition of any material liability, penalty or tax under ERISA or the Internal Revenue Code.
All contributions and premiums required by law or by the terms of each Employee Benefit Plan
have been timely made. Neither Debtor nor its ERISA Affiliates bear any liability for any
Pension Plan or Multiemployer Plan and have not had any liability under any Pension Plan or
Multiemployer Plan for the last 6 years

               (m)     Environmental Matters.

                      (i)    There are no Environmental Liabilities at any Relevant Property,
               which individually or in the aggregate, could reasonably be expected to have a
               Material Adverse Effect.



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                       (ii)   The Debtor: (A) has operated its business in compliance with all
               applicable Environmental Laws; (B) has obtained all Environmental Permits
               required by applicable Environmental Laws for the ownership and operation of its
               properties, and all such Environmental Permits are in full force and effect or such
               Person has made all appropriate filings for issuance or renewal of such
               Environmental Permits; (C) to its Knowledge, is not aware of any acts, omissions,
               events or circumstances that may interfere with or prevent continued compliance
               with the Environmental Laws and Environmental Permits referred to in the
               preceding clauses (A) and (B); (D) has not received written notice of any asserted
               or threatened claim, action, suit, proceeding, hearing, investigation or request for
               information relating to any environmental matter; and (E) has not received notice
               from any Governmental Body that the Debtor is a potentially responsible party
               under any Environmental Law at any disposal site containing Hazardous
               Materials, nor has the Debtor received any notice that any lien under any
               Environmental Law against any property of the Debtor exists, except for matters
               in each case of (A) through (E) above, which individually or in the aggregate,
               could not reasonably be expected to have a Material Adverse Effect.

                (n)      Insurance. The policies, binders or self-insurance programs for fire,
liability, product liability, workmen’s compensation, vehicular and other insurance currently held
by or on behalf of the Debtor insure its material properties and business activities against such
losses and risks as are reasonably believed to be adequate to protect its properties in accordance
with customary industry practice. As of the date hereof, all such policies, binders and self-
insurance programs are in full force and effect. As of the date hereof, the Debtor has not
received notice from any insurer or agent of such insurer that substantial capital improvements or
other expenditures are required. As of the date hereof, the Debtor has not received notice of
cancellation of any material insurance policy or binder.

               (o)    Absence of Events of Default and Material Adverse Effect. Since the
Interim Order Entry Date, no Default or Event of Default has occurred. Since the Interim Order
Entry Date, no Material Adverse Effect has occurred.

               (p)    Compliance with Laws. Except as otherwise excused by the Bankruptcy
Code, the Debtor has complied, and is in compliance in all respects, with all laws, except for
such instances of non-compliance that, individually or in the aggregate, could not reasonably be
expected to have a Material Adverse Effect.

                (q)     Margin Regulations. No part of the proceeds of the DIP Loans issued
hereunder will be used for the purpose of buying or carrying any Margin Stock or to extend
credit to others for the purpose of buying or carrying any Margin Stock, in either case in a
manner which would violate or conflict with Regulations T, U or X of the Board Governors of
the Federal Reserve System. The Debtor is not engaged in the business of extending credit to
others for the purpose of buying or carrying Margin Stock. Neither the making of the DIP Loans
nor any use of proceeds of any such Loans will violate or conflict with the provisions of
Regulations T, U or X of the Board of Governors of the Federal Reserve System, as amended
from time to time.



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                (r)     Taxes. The Debtor has filed all federal and other material Post-Petition
Tax returns required to be filed by it and has not failed to pay any material Post-Petition Taxes,
or interest and penalties relating thereto, except for Post-Petition Taxes not yet due and except
for those the amount or validity of which is currently being contested in good faith by
appropriate proceedings diligently pursued and available to the Debtor and with respect to which
adequate reserves have been set aside on its books in accordance with GAAP.

                                      ARTICLE V
                                AFFIRMATIVE COVENANTS

       Section 5.1 Affirmative Covenants. The Debtor covenants and agrees that until
payment in full of all DIP Obligations (other than indemnification obligations for which no claim
has been made as of the applicable date of determination), the Debtor shall perform all the
covenants in this Article V applicable to it:

               (a)    Basic Reporting Requirements. The Debtor shall furnish to the DIP
Lender:

                      (i)     no later than 12:00 p.m. (prevailing Central time) on Thursday of
               each week or if such Thursday is not a business day, then the immediate
               succeeding business day, the Weekly Budget Report;

                      (ii)    at any time and from time to time that the Debtor receives any
               material written notice from any Governmental Body, the Debtor shall promptly
               provide a copy of such notice to the DIP Lender, and the Debtor shall provide to
               the DIP Lender copies of all material reports, certificates and notices that the
               Debtor may provide to any Governmental Body;

                      (iii) a monthly reporting package, no later than 30 days after the end of
               each calendar month, including cash flow, income statement and balance sheet for
               such month, accounts payable and receivable reports with aging information; and

                       (iv)    as promptly as reasonably practicable from time to time following
               the DIP Lender’s reasonable request therefor, such other information (including
               historical information) regarding the operations, business affairs and financial
               condition of the Debtor, the progress of the Chapter 11 Case or compliance with
               the terms of any DIP Loan Document.

                (b)    Verification. The Debtor shall keep true and accurate (in all material
respects) books of account in accordance with past practices and shall permit the DIP Lender, or
any of its designated representatives, upon reasonable notice and at the expense of the Debtor,
during normal business hours to examine the books of account of the Debtor (and to make copies
and/or extracts therefrom) and to discuss the affairs, finances and accounts of the Debtor with,
and to be advised as to the same by, the managers, executives and officers of the Debtor and to
be advised as to such or other business records upon the reasonable request of the DIP Lender.
Management, advisors, consultants and senior personnel of the Debtor shall be available upon
reasonable advance notice from the DIP Lender (or its agents or representatives) for meetings



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with the DIP Lender and its agents or representatives during normal business hours with
reasonable prior notice and at such reasonable locations.

               (c)     Existence; Maintenance of Properties; Compliance with Regulations. The
Debtor shall maintain its corporate/legal existence and business, maintain its assets in good
operating conditions and repair (subject to ordinary wear and tear and casualty damage and to all
provisions of this Agreement permitting sales of certain of the Debtor’s assets), keep its business
and assets insured in accordance herewith, maintain its chief executive office in the United
States, continue to engage in the same or substantially similar lines of business as of the Petition
Date, and comply in all respects with all Regulations, including without limitation, ERISA and
Environmental Laws, except where a failure to do so could not individually or in the aggregate
reasonably be expected to have a Material Adverse Effect.

                (d)     Notice of Material Events. The Debtor shall notify the DIP Lender
promptly in writing upon an Authorized Officer becoming aware of any of the following: (i) the
occurrence of any Default or Event of Default, (ii) any noncompliance with any Environmental
Law or proceeding in respect thereof which could reasonably be expected to have a Material
Adverse Effect, (iii) any change of chief executive office address of the Debtor, (iv) any pending
or, to the Knowledge of the Debtor, threatened litigation or similar proceeding affecting the
Debtor involving claims in excess of $100,000 in the aggregate or any material change in any
such litigation or proceeding previously reported, (v) claims in excess of $100,000 in the
aggregate against any assets or properties of the Debtor encumbered in favor of the DIP Lender,
and (vi) any other development that results in, or could reasonably be expected to result in, a
Material Adverse Effect.

               (e)     Further Assurances.

                      (i)     The Debtor shall cooperate with the DIP Lender, take such action,
               execute such documents, and provide such information as the DIP Lender may
               from time to time reasonably request in order to effect the transactions
               contemplated by and the purposes and intent of the DIP Loan Documents.

                       (ii)    The Debtor shall promptly, upon request by the DIP Lender,
               correct, and cause each of the other parties to the DIP Loan Documents to
               promptly correct, any defect or error that may be discovered in any DIP Loan
               Document or in the execution, acknowledgment or recordation of the DIP Loan
               Document. Promptly upon request by the DIP Lender, the Debtor shall execute,
               authorize, acknowledge, deliver, record, file and register, any and all such further
               acts, deeds, conveyances, documents, security agreements, pledge agreements,
               mortgages, deeds of trust, trust deeds, assignments, financing statements and
               continuations, notices of assignment, transfers, certificates, assurances and other
               instruments as the DIP Lender may require from time to time in order to carry out
               more effectively the purposes and intent of each DIP Loan Document. Without
               limiting the foregoing, the Debtor shall (A) authorize the filing by the DIP Lender
               of UCC-1 financing statements for all jurisdictions deemed necessary or desirable
               by the DIP Lender, and (B) take such action from time to time (including, without
               limitation, authorizing, filing, executing and/or delivering such assignments,


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         security agreements and other instruments) as shall be reasonably requested by
         the DIP Lender to create, in favor of the DIP Lender, to the extent required under
         the respective DIP Collateral Documents and to the maximum extent permitted
         under applicable law, a first-priority perfected Lien in all of the DIP Collateral,
         subject only to Permitted Liens.

         (f)    Controlled Account Agreements.

                 (i)     The Debtor shall use its commercially reasonable efforts to enter
         into an account control agreement in form and substance acceptable to the DIP
         Lender (each, a “Controlled Account Agreement”) as necessary to provide the
         DIP Lender, to the extent not prohibited by applicable law, with “control” over,
         except as set forth below, each Deposit Account of the Debtor (each, a
         “Controlled Account”) as provided for under Section 9-104 of Article 9 of the
         UCC (or other applicable law) for the purpose of perfecting the security interest
         which the DIP Lender has in such Deposit Account pursuant to the DIP Collateral
         Documents. The Debtor further agrees to promptly enter into Controlled Account
         Agreements for any new Deposit Accounts opened during the DIP Commitment
         Period, which new Deposit Accounts shall only be opened following notice to,
         and written consent from, the DIP Lender. No arrangement contemplated hereby
         or by any Controlled Account Agreement in respect of any such Deposit Account
         of the Debtor, shall be modified by the Debtor without the prior written consent of
         the DIP Lender. Deposit Accounts excluded from the requirements of this section
         are as follows:

    Bank Name             Last Four Digits of Account #               Description
                                                              Utility Adequate Assurance
Bank of America, N.A.                 xxx0610
                                                                        Account
Bank of America, N.A.                 xxx7564                    Scholarship Account
Bank of America, N.A.                 xxx6160                      Operating Account
Bank of America, N.A.                 xxx3732                 Capital Expenditure Account
                                                                Community/Collateral
Bank of America, N.A.                 xxx4705
                                                                Account (Credit Card)
  UMB Bank, N.A.                      xxx933.3
  UMB Bank, N.A.                      xxx933.1
  UMB Bank, N.A.                      xxx933.2
  UMB Bank, N.A.                      xxx935.3
  UMB Bank, N.A.                      xxx935.1
  UMB Bank, N.A.                      xxx935.2
                                                              Trustee Restricted Accounts
  UMB Bank, N.A.                      xxx939.3
  UMB Bank, N.A.                      xxx939.4
  UMB Bank, N.A.                      xxx939.6
  UMB Bank, N.A.                      xxx939.5
  UMB Bank, N.A.                     xxx939.12
  UMB Bank, N.A.                      xxx939.1
  UMB Bank, N.A.                      xxx939.2


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       UMB Bank, N.A.                        xxx939.8
       UMB Bank, N.A.                       xxx939.10
       UMB Bank, N.A.                       xxx939.13
       UMB Bank, N.A.                        xxx939.7
                                                                           Escrow Account
         Regions Bank                        xxx0407
                                                                       (Reservation Deposits)
                                                                      Escrow Account (Entrance
         Regions Bank                        Pending
                                                                                Fee)

                       (ii)     Upon the occurrence and during the continuance of an Event of
               Default, any disbursements of proceeds in any Controlled Account will only be
               made at the direction of the DIP Lender; prior to the occurrence of an Event of
               Default, the Debtor will have access to any funds on deposit in the Controlled
               Accounts for use solely in accordance with this Agreement and the other DIP
               Loan Documents. The DIP Lender assumes no responsibility for the Controlled
               Accounts, including, without limitation, any claim of accord and satisfaction or
               release with respect to deposits which any banks accept thereunder. Upon the
               occurrence and during the continuance of an Event of Default, all remittances
               which the Debtor receives in payment of any Accounts, and the proceeds of any
               other DIP Collateral, shall be (A) kept separate and apart from the Debtor’s own
               funds so that they are capable of identification as the DIP Lender’s property; (B)
               held by the Debtor as trustee of an express trust for the DIP Lender’s benefit; and
               (C) immediately deposited in such accounts designated by the DIP Lender. Upon
               the occurrence and during the continuance of an Event of Default, all proceeds
               received or collected by the DIP Lender with respect to the Controlled Accounts,
               and reserves and other property of the Debtor in possession of the DIP Lender at
               any time or times hereafter, may be held by the DIP Lender, as the case may be,
               without interest to the Debtor until all DIP Obligations are paid in full or applied
               by the DIP Lender on account of the DIP Obligations. The DIP Lender may
               release to the Debtor such portions of such reserves and proceeds as the DIP
               Lender may determine. The DIP lender shall not have any duty to protect, insure,
               collect or realize upon the Controlled Accounts or to preserve rights in them.

                 (g)    Insurance. The Debtor shall maintain, at its expense, and keep in effect
with responsible insurance companies, such liability insurance for bodily injury and third-party
property damage as is customary in the case of companies engaged in the same or similar
business or having similar properties, similarly situated. The Debtor shall keep and maintain, at
its expense, its material real and personal property insured against loss or damage by fire, theft,
explosion, spoilage and all other risks ordinarily insured against by other owners or users of such
properties in similar businesses in an amount equal to the full replacement or cash value thereof,
subject to deductible amounts which the Debtor, in its reasonable judgment, deems prudent.

               (h)     Information Regarding DIP Collateral. The Debtor will furnish to the DIP
Lender prompt written notice of any change in (i) any the Debtor’s corporate name or any trade
name used to identify it in the conduct of its business or the Debtor’s chief executive office, its
principal place of business or its jurisdiction of organization or (ii) the Debtor’s federal Taxpayer



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Identification Number. The Debtor will not affect or permit any change referred to in the
preceding sentence unless arrangements satisfactory to the DIP Lender have been made to ensure
that all filings will be (or have been) made under the UCC and all other actions have been taken
that are required so that such change will not at any time adversely affect the validity, perfection
or priority of any Lien established under any DIP Loan Document on the DIP Collateral.

                (i)     Existence; Conduct of Business. The Debtor will do or cause to be done
all things reasonably necessary to preserve, renew and keep in full force and effect its legal
existence and the rights, licenses, permits (including, without limitation, Environmental Permits)
privileges, franchises, patents, copyrights, trademarks and trade names material to the conduct of
its business, except to the extent that failure to so act, which either individually or in the
aggregate, could not reasonably be expected to have a Material Adverse Effect. The Debtor shall
maintain its credit and risk policies substantially as in effect on the Petition Date.

               (j)    Payment of Obligations. Proceeds of the DIP Loans shall be used solely
as provided in Section 2.3

                 (k)    Compliance with Laws. Except as otherwise excused by the Bankruptcy
Code, the Debtor will comply with all laws (including, without limitation, all Environmental
Laws), rules, licenses, permits, Regulations and orders of any Governmental Body applicable to
it or its property, except where failures to do so, in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect.

                 (l)     Subsidiaries. Without limitation of the prohibition against forming
Subsidiaries under Section 6.1(f) or waiving any Event of Default arising therefrom, if any
Subsidiary is nonetheless formed or acquired by the Debtor after the Closing Date, the Debtor
will, prior to the date upon which such Subsidiary is formed or acquired, notify the DIP Lender
thereof and promptly following such formation or acquisition, cause any equity interest in, assets
owned or leased by, or Indebtedness owned by or on behalf, of such Subsidiary to be added to
the DIP Collateral. The DIP Lender may require that any such Subsidiary be joined to this
Agreement or the DIP Collateral Documents as a borrower or debtor hereunder or thereunder
pursuant to joinder agreements in form and substance reasonably satisfactory to the DIP Lender.

               (m)     Restructuring. The Debtor shall, in good faith, continue to pursue the
Restructuring and take all commercially reasonable steps to obtain approvals for the
Restructuring as expeditiously as is reasonably practicable under applicable law. Any
agreements, arrangements, pleadings or other documents relating to a Restructuring which
Debtor shall enter into must be acceptable to the DIP Lender.

               (n)     Bankruptcy Milestones. The Debtor shall comply with the Bankruptcy
Milestones.

                                   ARTICLE VI
                     NEGATIVE COVENANTS/BUDGET COMPLIANCE

      Section 6.1 Negative Covenants. The Debtor covenants and agrees that until all of the
DIP Obligations (other than indemnification obligations for which no claim has been made as of



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the applicable date of determination) have been paid or satisfied in full, the Debtor shall perform
all covenants in this Section 6.1 applicable to it:

               (a)    Indebtedness. The Debtor shall not incur, create, assume, become or be
liable in any manner with respect to, or permit to exist, any Indebtedness, or guarantee, assume,
endorse, or otherwise become responsible for (directly or indirectly), any Indebtedness,
performance, obligations or dividends of any other Person, except:

                       (i)    the DIP Obligations;

                       (ii)   the Prepetition Bond Indebtedness; and

                      (iii) Indebtedness, including post-petition administrative expenses,
               incurred in the ordinary course of the Debtor’s operations and in compliance with
               the Budget; provided that such Indebtedness remains at all times unsecured except
               as provided in Section 6.1(b).

               (b)      Liens. The Debtor shall not create or incur any Liens on any of the
property or assets of the Debtor, except (the Liens described in the following clauses, the
“Permitted Liens”):

                       (i)    the Liens of the DIP Lender securing the DIP Obligations;

                      (ii)   Liens of the Prepetition Secured Parties securing the Prepetition
               Bond Indebtedness, including the Liens granted pursuant to the Financing Orders
               and other Liens existing on the date hereof;

                      (iii) Liens securing the payment of taxes, assessments or other
               governmental charges or levies either not yet overdue or the validity of which are
               being contested in good faith by appropriate proceedings diligently pursued and
               available to the Debtor and with respect to which adequate reserves have been set
               aside on its books;

                       (iv)    non-consensual statutory Liens (other than Liens securing the
               payment of taxes) arising in the ordinary course of the Debtor’s business to the
               extent: (A) such Liens secure Indebtedness which is not overdue or (B) such
               Liens secure Indebtedness relating to claims or liabilities which are fully insured
               and being defended at the sole cost and expense and at the sole risk of the insurer
               or being contested in good faith by appropriate proceedings diligently pursued by
               the Debtor, in each case prior to the commencement of foreclosure or other
               similar proceedings and with respect to which adequate reserves have been set
               aside on its books;

                       (v)     zoning and land use restrictions, easements, encumbrances,
               licenses, covenants and other restrictions affecting the use of real property which
               do not interfere in any material respect with the use of such real property or
               ordinary conduct of the business of the Debtor as presently conducted thereon or
               materially impair the value of the real property which may be subject thereto;


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                      (vi)    purchase money security interests in Equipment (including Capital
               Leases) to secure Indebtedness permitted under Section 6.1(a)(ii) hereof;

                       (vii) pledges and deposits of cash by the Debtor after the date hereof in
               the ordinary course of business in connection with workers’ compensation,
               unemployment insurance and other types of social security benefits consistent
               with the current practices of the Debtor as of the date hereof;

                       (viii) pledges and deposits of cash by the Debtor after the date hereof to
               secure the performance of tenders, bids, leases, trade contracts (other than for the
               repayment of Indebtedness), statutory obligations and other similar obligations in
               each case in the ordinary course of business consistent with the current practices
               of the Debtor as of the date hereof; provided, that, in connection with any
               performance bonds issued by a surety or other person, the issuer of such bond
               shall have waived in writing any rights in or to, or other interest in, any of the DIP
               Collateral in an agreement, in form and substance satisfactory to the DIP Lender;

                       (ix)    Liens arising from (A) operating leases and the precautionary UCC
               financing statement filings in respect thereof and (B) Equipment or other
               materials which are not owned by the Debtor located on the premises of the
               Debtor (but not in connection with, or as part of, the financing thereof) from time
               to time in the ordinary course of business and consistent with current practices of
               the Debtor and the precautionary UCC financing statement filings in respect
               thereof; and

                       (x)    judgments and other similar Liens arising in connection with court
               proceedings that do not constitute an Event of Default; provided, that, (A) the
               enforcement of such judgments and Liens remain at all times subject to the
               automatic stay provisions of the Bankruptcy Code, (B) except as otherwise
               consented to in writing by the DIP Lender, such Liens are being contested in good
               faith and by appropriate proceedings diligently pursued by the Debtor, as the case
               may be, and (C) adequate reserves or other appropriate provision, if any, as are
               required by GAAP have been made therefor.

                 (c)     Investments. The Debtor shall not make any Investments other than
Investments in: (i) marketable obligations of the United States maturing within one (1) year; (ii)
certificates of deposit, bankers’ acceptances and time and demand deposits of United States
banks having total assets in excess of $1,000,000,000 or other similar cash equivalents; and (iii)
existing Investments on the Closing Date shown on the Budget or financial statements (each of
(i) through (iii) above, a “Permitted Investment”).

                (d)     Mergers; Asset Sales. Other than any disposals of obsolete, worn out or
surplus property and the license or sublicense of intellectual property, the Debtor shall not,
without the written consent of the DIP Lender, (i) consummate a merger, amalgamation or
consolidation, (ii) enter into any Asset Sale or otherwise effect the disposition of any assets, (iii)
purchase, sell, lease or otherwise dispose of assets other than inventory in the ordinary course,
(iv) make any changes in the corporate structure or identity of the Debtor which could


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reasonably be expected to have a Material Adverse Effect or (v) enter into any binding
agreement to do any of the foregoing.

               (e)    Restricted Payments. The Debtor shall not directly or indirectly, declare,
order, pay, make or set apart any sum for any Indebtedness other than the DIP Loans or the
Prepetition Bond Indebtedness or any other payments permitted by the Bankruptcy Court subject
to the Budget.

              (f)     Subsidiaries. The Debtor shall not form, or cause to be formed, any
Subsidiary without the written consent of the DIP Lender.

               (g)     Chapter 11 Claims. Except as provided in the Financing Orders, the
Debtor will not incur, create, assume, suffer to exist or permit any other superpriority expense
claim under section 364 of the Bankruptcy Code or any or Lien which is senior to or pari passu
with, the Liens securing the DIP Obligations.

        Section 6.2 Budget Compliance. The Debtor shall comply with the Budget (subject to
the permitted variances provided in the next immediate sentence), and shall not make any
payments, or incur any obligations or liabilities, that are not projected and provided for in the
Budget. As of the last day of each Measuring Period (as defined in the Financing Orders), (a)
aggregate disbursements during such period shall not exceed 110% of the total budgeted
disbursement for such period; (b) any single disbursement line item shall not exceed 115% of the
such budgeted line item for such period; (c) total receipts shall not be less than 90% of such
budgeted receipts for any particular staggered month, with such staggered month being measured
from the 6th Business Day of a particular month to the 5th Business Day of the following month,
and (d) expenditures for estate professional fees shall not exceed 100% of the amount allocated
for such expenditures in the Budget for such period (both in the aggregate and with respect to
each professional’s respective line on the Budget). Subject to the prior consent of the DIP
Lender, the Variance shall exclude emergency repairs involving manifest danger to the life or
safety of the Residents or immediately necessary for the preservation or safety of the
Community. Each “Variance” shall be measured on a rolling four week basis, other than as set
forth in (c) of this Section, and may include weeks prior to the Petition Date.

                                    ARTICLE VII
                        INCREASED COSTS; TAXES; SET OFF; ETC.

       Section 7.1    Taxes; Withholding, Etc.

                (a)     Payments to be Free and Clear. Except as otherwise required under this
Section 7.1, all sums payable by the Debtor hereunder and under the other DIP Loan Documents
shall (except to the extent required by law) be paid free and clear of, and without any deduction
or withholding on account of, any Tax (other than an Excluded Tax) imposed, levied, collected,
withheld or assessed by or within the United States of America or any political subdivision in or
of the United States of America or any other jurisdiction from or to which a payment is made by
or on behalf of the Debtor or by any federation or organization of which the United States of
America or any such jurisdiction is a member at the time of payment.




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                (b)     Withholding of Taxes. If the Debtor is required by law to make any
deduction or withholding on account of any such Tax from any sum paid or payable by the
Debtor to the DIP Lender in the ordinary or general conduct of business: (i) the Debtor shall
notify the DIP Lender of any such requirement or any change in any such requirement as soon as
the Debtor becomes aware of it, (ii) the Debtor shall pay any such Tax before the date on which
penalties attach thereto, such payment to be made (if the liability to pay is imposed on Debtor)
for its own account or (if that liability is imposed on the DIP Lender) on behalf of and in the
name of the DIP Lender, (iii) if such Tax is an Indemnified Tax, the sum payable by the Debtor
in respect of which the relevant deduction, withholding or payment is required shall be increased
to the extent necessary to ensure that, after the making of that deduction, withholding or
payment, the DIP Lender, as the case may be, receives an amount equal to what it would have
received had no such deduction, withholding or payment been required or made, and (iv) within
30 days after paying any sum from which it is required by law to make any deduction or
withholding, and within 30 days after the due date of payment of any Tax which it is required by
clause (ii) above to pay, the Debtor shall deliver to the DIP Lender evidence satisfactory to the
other affected parties of such deduction, withholding or payment and of the remittance thereof to
the relevant taxing or other authority.

                (c)     Taxpayer Identification. Upon the reasonable request of the Debtor, the
DIP Lender shall deliver to the Debtor two (2) properly completed and duly executed copies of
United States Internal Revenue Service Form W-9 (certifying that the DIP Lender is entitled to
an exemption from U.S. backup withholding tax) or any successor form on or before the date the
DIP Lender becomes a party hereto. Upon the reasonable request of the Debtor, the DIP Lender
also agrees to deliver to the Debtor two (2) further copies of said Form W-9, properly completed
and duly executed, on or before the date that any such form expires or becomes obsolete or after
the occurrence of any event requiring a change in the most recent form previously delivered by it
to the Debtor, and such extensions or renewals thereof as may reasonably be requested by the
Debtor, unless in any such case an event (including, without limitation, any change in treaty, law
or regulation) has occurred prior to the date on which any such delivery would otherwise be
required that renders all such forms inapplicable or that would prevent the DIP Lender from duly
completing and delivering any such form with respect to it and the DIP Lender so advises the
Debtor.

        Section 7.2 Right of Set Off. In addition to any rights now or hereafter granted under
applicable law and not by way of limitation of any such rights, upon the occurrence and during
the continuance of any Event of Default, the DIP Lender is hereby authorized by the Debtor at
any time or from time to time, without notice to the Debtor or to any other Person, any such
notice being hereby expressly waived, to set off and to appropriate and to apply any and all
deposits (general or special, including Indebtedness evidenced by certificates of deposit, whether
matured or unmatured, but not including trust accounts) and any other Indebtedness at any time
held or owing by the DIP Lender to or for the credit or the account of the Debtor against and on
account of the DIP Obligations of the Debtor to the DIP Lender hereunder, irrespective of
whether or not (a) the DIP Lender shall have made any demand hereunder or (b) the principal of
or the interest on the DIP Loans or any other amounts due hereunder or the other DIP Loan
Documents shall have become due and payable and although such obligations and liabilities, or
any of them, may be contingent or unmatured; provided that the DIP Lender shall notify the
Debtor promptly upon the exercise of any set-off and the appropriation and application made by


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the DIP Lender, but the failure to give such notice shall not affect the validity of such set-off and
application.

                                        ARTICLE VIII
                                     EVENTS OF DEFAULT

       Section 8.1 Events of Default. Any one or more of the following events which shall
occur and be continuing shall constitute an “Event of Default”:

                (a)     Failure to Make Payments When Due. Failure by the Debtor to pay any of
the DIP Obligations, including failure by the Debtor to pay when due principal of, or interest on,
the DIP Loans, whether at stated maturity, by acceleration, by mandatory prepayment or
otherwise, or any other amount due hereunder and set forth in the Budget, and such failure
continues for five (5) days (except that there shall be no grace period in respect of principal or
other DIP Obligations due on the Maturity Date);

                (b)     Breach of Certain Covenants. Failure of the Debtor to perform or comply
with any material term or condition contained in Section 2.3, Article V or Article VI, including,
without limitation, failure to meet or comply with the terms of the Budget (including permitted
variances) or to timely achieve the Bankruptcy Milestones, and such default shall not have been
remedied by the Debtor or waived by the DIP Lender within seven (7) days after the earlier of (i)
the date upon which an Authorized Officer of the Debtor had Knowledge of such default and (ii)
the date upon which notice thereof is given to the Debtor by the DIP Lender;

                (c)     Breach of Representations, Etc. Any representation, warranty,
certification or other written statement made or deemed made by the Debtor in any DIP Loan
Document or in any statement or certificate at any time given by the Debtor in writing, pursuant
hereto or thereto or in connection herewith or therewith shall be false in any material respect as
of the date made or deemed made;

               (d)     Other Defaults Under DIP Loan Documents. The Debtor shall default in
the performance of or compliance with any term contained in any of the DIP Loan Documents,
other than any such term referred to in any other section of this Section 8.1, and such default
shall not have been remedied or waived within fifteen (15) days after the earlier of (i) the date
upon which an Authorized Officer of the Debtor had Knowledge of such default and (ii) the date
upon which notice thereof is given to the Debtor by the DIP Lender;

                (e)    Conversion or Dismissal of Case. (i) The entry of an order dismissing the
Chapter 11 Case which does not contain a provision for termination of this Agreement, and
payment in full in cash of all Obligations upon entry of such order dismissing the Chapter 11
Case (other than contingent indemnification obligations for which no claim has been made) or
converting the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, or the Debtor
files a motion or other pleading seeking entry of such an order or supports or fails to timely
oppose such dismissal or conversion; or (ii) the entry of an order whereby a trustee, responsible
officer or an examiner having expanded powers under Bankruptcy Code Section 1104 (other
than (x) a fee examiner or (y) for purposes of an investigation pursuant to Sections 1106(a)(3)
and (4) of the Bankruptcy Code) is appointed or elected in the Chapter 11 Case, or the Debtor



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applies for, consents to, supports, acquiesces in or fails to promptly oppose, any such
appointment, or the Bankruptcy Court shall have entered an order providing for such
appointment, in the case of each of clauses (i) and (ii), without the prior written consent of the
DIP Lender in its sole discretion;

                (f)     Challenges. Debtor takes any action to, or fails to take all reasonable
actions necessary to oppose any action by any other Person (including, but not limited to, (a)
challenging the standing of such party to bring any such action, (b) filing pleadings, providing
evidentiary support, and appearing in court to support and present the same in opposition of such
party’s action, and (c) timely prosecuting all available appeals of any order or decision
authorizing such party’s actions or approving relief granted to such party or timely opposing all
appeals (or attempts to appeal) decisions denying standing or relief to such party), in each case,
except as expressly permitted hereunder and in the Financing Orders, (i) impair any of the
material rights and remedies of the DIP Lender under the DIP Loan Documents, (ii) avoid,
subordinate, disallow, or require disgorgement by the DIP Lender of any amount received in
respect of the DIP Obligations or (iii) challenge the rights or claims of the Prepetition Secured
Parties;

                 (g)     DIP Loan Documents Impaired. At any time after the execution and
delivery thereof, (i) this Agreement or any DIP Loan Document ceases to be in full force and
effect (other than by reason of a release of DIP Collateral in accordance with the terms hereof or
thereof or the satisfaction in full of the DIP Obligations in accordance with the terms hereof) or
shall be declared null and void, or the DIP Lender shall not have or shall cease to have a valid
and perfected first priority Lien, subject only to Permitted Liens, in any material portion of DIP
Collateral purported to be covered by the DIP Collateral Documents or (ii) the Debtor shall
contest the validity or enforceability of any DIP Loan Document in writing or deny in writing
that it has any further liability under any DIP Loan Document to which it is a party;

                (h)     Liens. At any time after the execution and delivery thereof, the Liens
created by the DIP Collateral Documents shall not constitute a valid and perfected first priority
Lien on the DIP Collateral intended to be covered thereby (to the extent perfection by filing,
registration, recordation or possession is required herein or therein) in favor of the DIP Lender,
free and clear of all other Liens (other than Permitted Liens), or, except for expiration in
accordance with its terms, any of the DIP Collateral Documents shall for whatever reason be
terminated or cease to be in full force and effect, or the enforceability thereof shall be contested
by the Debtor;

                (i)    Condemnation or Forfeiture of DIP Collateral. Any judicial process,
condemnation or forfeiture proceedings is brought against any material item or material portion
of the DIP Collateral or any rights therein shall be subject to such judicial process, condemnation
or forfeiture proceedings, in each case which is not stayed in the Bankruptcy Case by the
Bankruptcy Code;

                (j)     Trustee. A trustee, receiver, interim receiver, examiner, or responsible
officer (other than the Debtor’s current chief restructuring officer) with enlarged powers relating
to the operation of the business of the Debtor (powers beyond those set forth in sections
1106(a)(3) and (a)(4) of the Bankruptcy Code), shall be appointed in the Chapter 11 Case;


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               (k)     Prepetition Payments. The Debtor makes any Prepetition Payment which
is not permitted under the Budget;

               (l)     Government Restraint. Any Governmental Body, by a final, non-
appealable order, ruling or other action, shall prevent the Debtor from conducting any material
part of the Debtor’s business, to the extent such prevention could reasonably be expected to
result in a Material Adverse Effect;

                (m)    Operating Licenses. The loss, revocation, or termination of any license,
permit, lease or agreement necessary or material to the Debtor’s business, or the cessation of any
material part of the Debtor’s business, to the extent such loss, revocation, or termination could
reasonably be expected to result in a Material Adverse Effect;

                (n)      Relief from Automatic Stay. The Bankruptcy Court shall enter an order
granting relief from the automatic stay to any creditor or party in interest (i) to permit foreclosure
(or the granting of a deed in lieu of foreclosure or the like) on any material assets of the Debtor,
or (ii) to permit other actions that the DIP Lender may, in its sole discretion, deem to have a
Material Adverse Effect;

               (o)      Financing Orders. The Debtor shall fail to comply with, or there is
otherwise any material breach or default of, the Financing Orders or any other order of the
Bankruptcy Court or any order shall be entered reversing, amending, supplementing, staying for
a period in excess of five (5) Business Days, vacating or otherwise modifying in any material
respect the Financing Orders without the prior written consent of the DIP Lender;

                (p)      Judgments. Any uninsured judgments as to any Post-Petition obligation
shall be rendered against the Debtor and the enforcement thereof shall not be stayed (by
operation of law, the rules or orders of a court with jurisdiction over the matter or by consent of
the party litigants), or there shall be rendered against the Debtor a nonmonetary judgment with
respect to a Post-Petition event, in each case which causes or would reasonably be expected to
cause a Material Adverse Effect;

                (q)    Material Impairment. The filing of a motion, pleading or proceeding by
the Debtor which could reasonably be expected to result in a material impairment of the rights or
interests of the DIP Lender under the DIP Loan Documents or the Financing Orders or a
determination by a court with respect to a motion, pleading or proceeding brought by another
party which results in such a material impairment; or

        Section 8.2 Remedies. Subject to the Financing Orders, upon the occurrence of an
Event of Default then: (i), the DIP Lender may, by written notice to the Debtor (with a copy to
counsel for the Committee and to the United States Trustee), take any or all of the following
actions, at the same or different times, in each case without further order of or application to the
Bankruptcy Court (provided, that with respect to the enforcement of DIP Liens or other remedies
with respect to the DIP Collateral under clause (iii) below, the DIP Lender shall provide the Debtor
(with a copy to counsel for the Committee and to the United States Trustee) with five (5) Business
Days’ written notice prior to taking the action contemplated thereby; in any hearing after the giving
of the aforementioned notice, the only issue that may be raised by any party in opposition thereto



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being whether, in fact, an Event of Default has occurred and is continuing): (a) declare the DIP
Loan Commitment terminated, whereupon the DIP Loan Commitments of the DIP Lender shall
forthwith terminate immediately; (b) declare and otherwise accelerate the principal of and any
accrued interest in respect of all DIP Loans and any promissory notes evidencing such DIP Loans
and all other DIP Obligations owing with respect thereto hereunder and thereunder to be,
whereupon the same shall become, forthwith immediately due and payable without presentment,
demand, protest or other notice of any kind, all of which are hereby waived by the Debtor; and (c)
enforce all of the DIP Liens and security interests created pursuant to the DIP Collateral
Documents securing DIP Obligations owing to the DIP Lender in accordance with applicable
Regulations and (ii) in addition to the foregoing, upon the occurrence of an Event of Default, the
DIP Lender may, (x) exercise any right of counterclaim, setoff, banker’s lien or otherwise which
it may have with respect to money or property of the Debtor, (y) bring any lawsuit, action or other
proceeding permitted by law for the specific performance of, or injunction against any violation
of, any DIP Loan Document and may exercise any power granted under or to recover judgment
under any DIP Loan Document, and (iii) exercise any other right or remedy permitted by applicable
Regulations or otherwise available to the DIP Lender at law, in equity or otherwise.

        Section 8.3 Remedies Cumulative. No remedy herein conferred upon the DIP Lender
is intended to be exclusive of any other remedy and each and every remedy shall be cumulative
and shall be in addition to every other remedy given hereunder or now or hereafter existing at
law or in equity or by statute or any other provision of law.

        Section 8.4 Application of Proceeds. The DIP Lender shall apply any proceeds from
pursuit of any remedy first to costs and expenses provided for herein, then to interest on the DIP
Loans which is due and outstanding and then to principal on the DIP Loans which is due and
outstanding.

                                         ARTICLE IX
                                       MISCELLANEOUS

       Section 9.1    Amendments and Waivers; Release of DIP Collateral.

                (a)    General Amendments and Waivers. No amendment, modification,
termination (other than pursuant to the express terms of the DIP Loan Documents) or waiver of
any provision of the DIP Loan Documents, or consent to any departure by the Debtor therefrom,
shall be effective without the written consent of the DIP Lender and the Debtor.

                (b)     Effect of Notices, Waivers or Consents. Any waiver or consent shall be
effective only in the specific instance and for the specific purpose for which it was given. No
notice to or demand on Debtor in any case shall entitle Debtor to any other or further notice
(except as otherwise specifically required hereunder or under any of the DIP Loan Documents)
or demand in similar or other circumstances. Any amendment, modification, termination, waiver
or consent effected in accordance with this Section 9.1 shall be binding upon the DIP Lender and
the Debtor, if signed by the Debtor and DIP Lender.

        Section 9.2 Notices. All notices, requests, demands and other communications to any
party or given under any DIP Loan Document (collectively, the “Notices”) will be in writing and



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delivered personally, by overnight courier or by registered mail to the parties at the following
address or sent by electronic transmission (with confirmation of transmission), to the address
specified below (or at such other address as will be specified by a party by like notice given at
least five calendar days prior thereto):

               (a)     If to the Debtor, at:

                       BUCKINGHAM SENIOR LIVING COMMUNITY, INC.
                       Attn: Chairman
                       8580 Woodway Drive
                       Houston, TX 77063
                       Email: mwyse@wyseadvisorsllc.com

       with a copy sent contemporaneously by email to (which shall not constitute notice):

                       McGUIREWOODS LLP
                       Attn: Demetra Liggins
                       JPMorgan Chase Tower
                       600 Travis Street, Suite 7500
                       Houston, TX 77002-2906
                       Email: dliggins@mcguirewoods.com

               (b)     If to the DIP Lender, at:

                       UMB BANK, N.A.
                       Corporate Trust Services
                       Attn: Virginia Housum
                       120 Sixth Street South, Suite 1400
                       Minneapolis, MN 55402
                       Email: virginia.housum@umb.com

       with a copy sent contemporaneously by email to (which shall not constitute notice):

                       MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                       POPEO, P.C.
                       Attn: Daniel S. Bleck
                       One Financial Center
                       Boston, MA 02111
                       Email: dsbleck@mintz.com

All Notices will be deemed delivered when actually received. Each of the parties will hereafter
notify the other in accordance with this Section of any change of address or email address to
which notice is required to be mailed.

       Section 9.3 Expenses. Whether or not the transactions contemplated hereby shall be
consummated or any DIP Loans shall be made, the Debtor agrees to pay promptly, subject to the
Financing Orders (but no later than the Maturity Date), upon written demand from the DIP


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Lender (together with summary backup documentation supporting such reimbursement request)
and without the requirement for Bankruptcy Court approval in the event the transactions
contemplated hereby are consummated:

                     (i)    all the reasonable, out-of-pocket costs and expenses of preparation
             of the DIP Loan Documents and any consents, amendments, waivers or other
             modifications thereto; the reasonable fees, expenses and disbursements of Mintz,
             Levin, Cohn, Ferris, Glovsky and Popeo, P.C., as counsel to the DIP Lender, in
             connection with the negotiation, preparation, execution and administration of the
             DIP Loan Documents and any consents, amendments, supplements, waivers or
             other modifications thereto;

                     (ii)     all the reasonable, out of pocket costs and expenses of creating and
             perfecting Liens in favor of the DIP Lender pursuant hereto, including, without
             limitation, filing and recording fees, expenses, stamp or documentary taxes,
             search fees, title insurance premiums and reasonable fees, expenses and
             disbursements of Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., as counsel
             to the DIP Lender, and any other counsel of the DIP Lender in any other
             jurisdiction;

                    (iii) upon the occurrence and during the continuance of an Event of
             Default or as otherwise incurred in connection with visits and inspections
             permitted by Section 5.1(b) (the expenses for which are required to be paid by the
             Debtor pursuant to such Section), all the actual costs and reasonable fees,
             expenses and disbursements of any auditors, accountants, consultants or
             appraisers incurred in connection with the preservation and protection of the DIP
             Lender’s rights under this Agreement and the other DIP Loan Documents;

                     (iv)   all the actual costs and reasonable expenses, including, without
             limitation, upon the occurrence and during the continuance of an Event of Default
             or as otherwise incurred in connection with visits and inspections permitted by
             Section 5.1(b), the expenses for which are required to be paid by the Debtor
             pursuant to such Section, the reasonable fees, expenses and disbursements of any
             appraisers, consultants, advisors and agents employed or retained by the DIP
             Lender and its counsel in connection with the inspection, verification, custody or
             preservation of any of the DIP Collateral, to the extent required or permitted
             hereunder;

                     (v)     after the occurrence and during the continuance of a Default or an
             Event of Default, all out-of-pocket costs and expenses, including, without
             limitation, reasonable attorneys’ fees and out-of-pocket costs of settlement,
             incurred by the DIP Lender in enforcing any DIP Obligations of or in collecting
             any payments due from Debtor hereunder or under the other DIP Loan
             Documents by reason of such Default or Event of Default (including in
             connection with the sale of, collection from, or other realization upon any of the
             DIP Collateral) or in connection with any negotiations, reviews, refinancing or
             restructuring of the credit arrangements provided hereunder, including without


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               limitation in the nature of a “workout” or pursuant to any insolvency or
               bankruptcy cases or proceedings; and

                       (vi)  the foregoing shall not be construed to limit any other provisions
               of the DIP Loan Documents regarding costs and expenses to be paid by the
               Debtor.

       Section 9.4     Enforceability; Successors and Assigns.

                (a)     Enforceability; Successors and Assigns. This Agreement will be binding
upon and inure to the benefit of and is enforceable by the respective successors and permitted
assigns of the parties hereto. This Agreement may not be assigned by the Debtor hereto without
the prior written consent of the DIP Lender. Any assignment or attempted assignment in
contravention of this Section 9.4(a) will be void ab initio and will not relieve the assigning party
of any obligation under this Agreement.

                 (b)    Assignments. The DIP Lender may assign (an “Assignment”) all or a
portion of its rights and obligations under the DIP Loan Documents (including all or a portion of
the DIP Lender’s DIP Loans and DIP Loan Commitment, as the case may be, in a minimum
amount of $250,000) to any Assignee. Such Assignment may be made without the consent of
the Debtor. From and after the date of the Assignment, the Assignee shall be a party hereto and,
to the extent of the interest assigned pursuant to the Assignment, have the rights and obligations
of the DIP Lender under this Agreement, and the assigning DIP Lender shall, to the extent of the
interest assigned, be released from its obligations under this Agreement. No Assignment by the
DIP Lender shall release the DIP Lender from its obligations hereunder arising prior to the date
of such assignment. The Debtor hereby consents to the disclosure of any information obtained
by DIP Lender in connection with this Agreement to any Person to which DIP Lender sells, or
proposes to sell, its DIP Loans or DIP Loan Commitment, provided any such Person shall agree
to keep any such information confidential.

        Section 9.5 Integration. This Agreement and the other DIP Loan Documents contain
and constitute the entire agreement of the parties with respect to the subject matter hereof and
supersede all prior negotiations, agreements and understandings, whether written or oral, of the
parties hereto.

        Section 9.6 No Waiver; Remedies. No failure or delay by any party in exercising any
right, power or privilege under this Agreement or any of the other DIP Loan Documents will
operate as a waiver of such right, power or privilege. A single or partial exercise of any right,
power or privilege will not preclude any other or further exercise of the right, power or privilege
or the exercise of any other right, power or privilege. The rights and remedies provided in the
DIP Loan Documents will be cumulative and not exclusive of any rights or remedies provided by
law.

         Section 9.7 Setoff. The Debtor hereby, subject to the Financing Orders and the Carve-
Out, grants to the DIP Lender a continuing lien, security interest and right of setoff as security
for all liabilities and obligations to the DIP Lender, whether now existing or hereafter arising,
upon and against all deposits, credits, collateral and property, now or hereafter in the possession,



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custody, safekeeping or control of the DIP Lender or any Affiliate and their successors and
assigns or in transit to any of them. Regardless of the adequacy of any collateral, if any of the
DIP Obligations are due and payable and have not been paid or any Event of Default shall have
occurred, any deposits or other sums credited by or due from the DIP Lender to the Debtor and
any securities or other property of the Debtor in the possession of the DIP Lender may be applied
to or set off by the DIP Lender against the payment of DIP Obligations and any and all other
liabilities, direct, or indirect, absolute or contingent, due or to become due, now existing or
hereafter arising, of the Debtor to the DIP Lender. ANY AND ALL RIGHTS TO REQUIRE
THE DIP LENDER TO EXERCISE ITS RIGHTS OR REMEDIES WITH RESPECT TO
ANY OTHER DIP COLLATERAL WHICH SECURES THE DIP OBLIGATIONS,
PRIOR TO EXERCISING ITS RIGHT OF SETOFF WITH RESPECT TO SUCH
DEPOSITS, CREDITS OR OTHER PROPERTY OF THE DEBTOR IS HEREBY
KNOWINGLY, VOLUNTARILY AND IRREVOCABLY WAIVED.

        Section 9.8 Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties on separate counterparts, each of which, when
executed and delivered, shall be deemed to be an original, and all of which, when taken together,
shall constitute but one and the same Agreement. Delivery of an executed counterpart of this
Agreement by facsimile or other electronic transmission shall be equally as effective as delivery
of an original executed counterpart of this Agreement.




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     Section 9.9   Governing Law; Submission To Jurisdiction; Venue.

           (a)   SUBJECT TO THE JURISDICTION OF THE BANKRUPTCY COURT,
THIS AGREEMENT AND THE OTHER DIP LOAN DOCUMENTS AND THE RIGHTS
AND OBLIGATIONS OF THE PARTIES HEREUNDER AND THEREUNDER SHALL,
EXCEPT AS OTHERWISE PROVIDED IN CERTAIN OF THE OTHER DIP LOAN
DOCUMENTS, BE CONSTRUED IN ACCORDANCE WITH AND BE GOVERNED BY
THE INTERNAL LAW OF THE STATE OF NEW YORK (WITHOUT REGARD TO
CONFLICTS OF LAWS RULES AND PRINCIPLES THEREUNDER) AND, TO THE
EXTENT APPLICABLE, THE BANKRUPTCY CODE. ANY LEGAL ACTION OR
PROCEEDING WITH RESPECT TO THIS AGREEMENT OR ANY OTHER DIP LOAN
DOCUMENT SHALL BE BROUGHT IN THE BANKRUPTCY COURT, OR IN THE EVENT
THAT THE BANKRUPTCY COURT DOES NOT HAVE OR DOES NOT EXERCISE
JURISDICTION, THEN IN ANY STATE OR FEDERAL COURT OF COMPETENT
JURISDICTION IN THE STATE OF TEXAS, AND, BY EXECUTION AND DELIVERY OF
THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT, THE DEBTOR HEREBY
IRREVOCABLY ACCEPTS FOR ITSELF AND IN RESPECT OF ITS PROPERTY,
GENERALLY AND UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID
COURTS. THE DEBTOR HEREBY FURTHER IRREVOCABLY WAIVES ANY CLAIM
THAT ANY SUCH COURTS LACKS PERSONAL JURISDICTION OVER DEBTOR, AND
AGREES NOT TO PLEAD OR CLAIM, IN ANY LEGAL ACTION PROCEEDING WITH
RESPECT TO THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT BROUGHT
IN THE AFOREMENTIONED COURTS, THAT SUCH COURTS LACK PERSONAL
JURISDICTION OVER DEBTOR. DEBTOR FURTHER IRREVOCABLY CONSENTS TO
THE SERVICE OF PROCESS OUT OF THE AFOREMENTIONED COURTS IN ANY SUCH
ACTION OR PROCEEDING BY THE MAILING OF COPIES THEREOF BY REGISTERED
OR CERTIFIED MAIL, POSTAGE PREPAID, TO THE DEBTOR AT ITS ADDRESS AS SET
FORTH IN SECTION 9.2 HEREOF, SUCH SERVICE, NOTWITHSTANDING THE
PERIODS OF TIME PROVIDED FOR IN SECTION 9.2, TO BECOME EFFECTIVE 30
DAYS AFTER SUCH MAILING. DEBTOR HEREBY IRREVOCABLY WAIVES ANY
OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
COMMENCED HEREUNDER OR UNDER ANY OTHER DIP LOAN DOCUMENT THAT
SERVICE OF PROCESS WAS IN ANY WAY INVALID OR INEFFECTIVE. NOTHING
HEREIN SHALL AFFECT THE RIGHT OF THE DIP LENDER TO SERVE PROCESS IN
ANY OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL
PROCEEDINGS OR OTHERWISE PROCEED AGAINST DEBTOR IN ANY OTHER
JURISDICTION.

          (b)   DEBTOR HEREBY IRREVOCABLY WAIVES ANY OBJECTION
WHICH IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY OF
THE AFORESAID ACTIONS OR PROCEEDINGS ARISING OUT OF OR IN
CONNECTION WITH THIS AGREEMENT OR ANY OTHER DIP LOAN DOCUMENT
BROUGHT IN THE COURTS REFERRED TO IN CLAUSE (a) ABOVE AND HEREBY
FURTHER IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY
SUCH COURT THAT ANY SUCH ACTION OR PROCEEDING BROUGHT IN ANY SUCH
COURTS HAVE BEEN BROUGHT IN AN INCONVENIENT FORUM.


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     Section 9.10 Waiver of Jury Trial. THE PARTIES HEREBY IRREVOCABLY
AND UNCONDITIONALLY WAIVE, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY RIGHT THAT THEY MAY HAVE TO TRIAL BY JURY OF
ANY CLAIM OR CAUSE OF ACTION, OR IN ANY LEGAL PROCEEDING,
DIRECTLY OR INDIRECTLY BASED UPON OR ARISING OUT OF THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT
(WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
PARTY (A) CERTIFIES THAT NO REPRESENTATIVE OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTIES WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND
THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

         Section 9.11 Severability. If any term or other provision of this Agreement is invalid,
illegal or incapable of being enforced by any rule of law, or public policy, all other conditions
and provisions of this Agreement will nevertheless remain in full force and effect so long as the
economic or legal substance of the transactions contemplated hereby is not affected in any
manner adverse to any party. Upon such determination that any term or other provision is
invalid, illegal or incapable of being enforced, the parties hereto will negotiate in good faith to
modify this Agreement so as to effect the original intent of the parties as closely as possible in an
acceptable manner to the end that the transactions contemplated hereby are fulfilled to the extent
possible.

        Section 9.12 Survival. All representations, warranties, covenants, agreements, and
conditions contained in or made pursuant to this Agreement or the other DIP Loan Documents
shall survive (a) the making of the Loans and the payment of the DIP Obligations and (b) the
performance, observance and compliance with the covenants, terms and conditions, express or
implied, of all DIP Loan Documents, until the due and punctual (i) indefeasible payment of the
DIP Obligations and (ii) performance, observance and compliance with the covenants, terms and
conditions, express or implied, of this Agreement and all of the other DIP Loan Documents;
provided, however, that the provisions of Article VII and Section 9.3 (other than Section
9.3(a)(iii), except to the extent fees, costs and expenses have been incurred prior to termination
hereof but not paid in accordance with such Sections, in which case such Sections shall survive
only to require payment of such fees, costs and expenses) shall survive (x) indefeasible payment
of the DIP Obligations and (y) performance, observance and compliance with the covenants,
terms and conditions, express or implied, of this Agreement and all of the other DIP Loan
Documents.

        Section 9.13 Maximum Lawful Interest. Notwithstanding anything to the contrary
contained herein, in no event shall the amount of interest and other charges for the use of money
payable under this Agreement or any other DIP Loan Document exceed the maximum amounts
permissible under any law that a court of competent jurisdiction shall, in a final determination,
deem applicable. The Debtor and the DIP Lender, in executing and delivering this Agreement,
intend legally to agree upon the rate or rates of interest and other charges for the use of money
and manner of payment stated within it; provided, however, that, anything contained herein to


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the contrary notwithstanding, if the amount of such interest and other charges for the use of
money or manner of payment exceeds the maximum amount allowable under applicable law,
then, ipso facto as of the Closing Date, the Debtor is and shall be liable only for the payment of
such maximum as allowed by law, and payment received from the Debtor in excess of such legal
maximum, whenever received, shall be applied to reduce the principal balance of the Loans to
the extent of such excess.

        Section 9.14 Interpretation. As used in this Agreement, references to the singular will
include the plural and vice versa and references to the masculine gender will include the
feminine and neuter genders and vice versa, as appropriate. Unless otherwise expressly provided
in this Agreement (a) the words “hereof”, “herein” and “hereunder” and words of similar import
when used in this Agreement will refer to this Agreement as a whole and not to any particular
provision of this Agreement and (b) article, section, subsection, and schedule references are
references with respect to this Agreement unless otherwise specified. Unless the context
otherwise requires, the term “including” will mean “including, without limitation.” The headings
in this Agreement and in the Schedules are included for convenience of reference only and will
not affect in any way the meaning or interpretation of this Agreement.

       Section 9.15 Ambiguities. This Agreement and the other DIP Loan Documents were
negotiated between legal counsel for the parties and any ambiguity in this Agreement or the
other DIP Loan Documents shall not be construed against the party who drafted this Agreement
or such other DIP Loan Documents.

        Section 9.16 The PATRIOT Act. The DIP Lender hereby notifies Debtor, that pursuant
to the requirements of the PATRIOT Act, it is required to obtain, verify and record information
that identifies Debtor and other information that will allow the DIP Lender to identify Debtor in
accordance with the PATRIOT Act.

       Section 9.17 Conflicting Provisions in Security Documents. In the event that any
provisions of this Agreement conflict with any DIP Collateral Document, the provisions of this
Agreement shall govern.

        Section 9.18 Conflicting Provisions in the Financing Orders. In the event that any
provisions of this Agreement conflict with any provisions in the Financing Orders, the provisions
of the Financing Orders shall control.

        Section 9.19 Modifications. Except as specifically contemplated in the Financing
Orders, the DIP Liens, lien priority, administrative priorities and other rights and remedies
granted to the DIP Lender pursuant to this Agreement and the Financing Orders (specifically,
including, but not limited to, the existence, perfection and priority of the DIP Liens provided
herein and therein and the administrative priority herein and therein) shall not be modified,
altered or impaired in any manner by any other financing or extension of credit or incurrence of
Indebtedness by the Debtor (pursuant to section 364 of the Bankruptcy Code or otherwise), or by
any dismissal or conversion of the Chapter 11 Case, or by any other act or omission whatsoever
(other than in connection with any asset disposition permitted hereunder). Without limitation,
notwithstanding any such order, financing, extension, incurrence, dismissal, conversion, act or
omission: (i) except for the Carve-Out having priority over the DIP Obligations, no costs or


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expenses of administration which have been or may be incurred in the Chapter 11 Case or any
conversion of the same or in any other proceedings related thereto, and no priority claims, are or
will be prior to or on a parity with any claim of the DIP Lender against Debtor in respect of any
DIP Obligation; (ii) the Liens granted under the DIP Loan Documents shall continue to be valid
and perfected and with the specified priority without the necessity that financing statements be
filed or that any other action be taken, or document or instrument registered or delivered, under
applicable non-bankruptcy law; and (iii) notwithstanding any failure on the part of the Debtor or
the DIP Lender to perfect, maintain, protect or enforce the Liens in the DIP Collateral granted
under the DIP Loan Documents, the Financing Orders shall automatically, and without further
action by any Person, perfect such Liens against the DIP Collateral of the Debtor.

      Section 9.20 Release. THE DEBTOR HEREBY ACKNOWLEDGES AND AGREES
THAT AS OF THE DATE HEREOF IT HAS NO DEFENSE, COUNTERCLAIM, OFFSET,
CROSS-COMPLAINT, CLAIM OR DEMAND OF ANY KIND OR NATURE
WHATSOEVER THAT CAN BE ASSERTED TO REDUCE OR ELIMINATE ALL OR ANY
PART OF ITS LIABILITY TO REPAY THE DIP OBLIGATIONS (OR THE PREPETITION
OBLIGATIONS OWED TO THE PREPETITION SECURED PARTIES) OR TO SEEK
AFFIRMATIVE RELIEF OR DAMAGES OF ANY KIND OR NATURE FROM THE DIP
LENDER (IN ITS CAPACITY AS DIP LENDER HEREUNDER AND IN ITS CAPACITY AS
A PREPETITION SECURED PARTY) OR OTHER PREPETITION SECURED PARTIES.
THE DEBTOR HEREBY VOLUNTARILY AND KNOWINGLY RELEASES AND
FOREVER DISCHARGES THE DIP LENDER (IN ITS CAPACITY AS DIP LENDER
HEREUNDER AND IN ITS CAPACITY AS A PREPETITION SECURED PARTY), THE
OTHER PREPETITION SECURED PARTIES, THEIR RESPECTIVE AFFILIATES, AND
EACH OF THEIR RESPECTIVE AGENTS, EMPLOYEES, SUCCESSORS AND ASSIGNS
(COLLECTIVELY, THE “RELEASED PARTIES”) FROM ALL POSSIBLE CLAIMS,
DEMANDS, ACTIONS, CAUSES OF ACTION, DAMAGES, COSTS, EXPENSES,
OBLIGATIONS, DEBTS AND LIABILITIES WHATSOEVER, WHETHER KNOWN OR
UNKNOWN, ANTICIPATED OR UNANTICIPATED, SUSPECTED OR UNSUSPECTED,
FIXED, CONTINGENT OR CONDITIONAL, OR AT LAW OR IN EQUITY, IN ANY CASE
ORIGINATING IN WHOLE OR IN PART ON OR BEFORE THE DATE THIS AGREEMENT
IS EXECUTED THAT THE DEBTOR MAY NOW OR HEREAFTER HAVE AGAINST THE
RELEASED PARTIES, IF ANY, IRRESPECTIVE OF WHETHER ANY SUCH CLAIMS
ARISE OUT OF CONTRACT, TORT, VIOLATION OF LAW OR REGULATIONS, OR
OTHERWISE, AND THAT ARISE FROM ANY DIP LOANS OR PREPETITION
INDEBTEDNESS, THE EXERCISE OF ANY RIGHTS AND REMEDIES UNDER THE DIP
LOAN DOCUMENTS OR THE PREPETITION CREDIT AGREEMENTS AND THEIR
RELATED DOCUMENTS, AND/OR NEGOTIATION FOR AND EXECUTION OF THIS
AGREEMENT, INCLUDING, WITHOUT LIMITATION, ANY CONTRACTING FOR,
CHARGING, TAKING, RESERVING, COLLECTING OR RECEIVING INTEREST IN
EXCESS OF THE HIGHEST LAWFUL RATE APPLICABLE. NOTWITHSTANDING
ANYTHING TO THE CONTRARY SET FORTH HEREIN, THE FOREGOING RELEASE
SHALL BE SUBJECT TO THE RIGHTS OF THE COMMITTEE OR ANY OTHER PARTY
IN INTEREST UNDER THE FINANCING ORDERS.




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       Section 9.21 Electronic Transactions. The transaction described herein may be
conducted, and related documents may be stored, by electronic means. Copies, telecopies,
facsimiles, electronic files and other reproductions of original executed documents will be
deemed to be authentic and valid counterparts of such original documents for all purposes,
including the filing of any claim, action or suit in the appropriate court of law.


          [Remainder of page intentionally left blank; signatures on following pages.]




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                                         SCHEDULE 2.1

                                 DIP LOAN COMMITMENTS

                             DIP Loans                    Commitment Amount

                 Initial DIP Loans                                  $1,500,000

                 DIP Loans (less Initial DIP Loans)                 $1,900,000

                 CapEx DIP Loan                                      $692,259

                 DIP Loan Commitment (cumulative)                   $3,400,000




                                           Schedule 2.1
525295.000011 26440800.12
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                                  EXHIBIT A

                                     Budget




                                Exhibit A - Budget
525295.000011 26440800.12
The Buckingham: Summary DIP Liquidity Projection                           Case
                                                                             Case
                                                                                21-32155
                                                                                  21-32155
                                                                                    130   Document
                                                                                          131 Document
                                                                                                 132 207-1
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                                                                                                                                                           100
                                                                                                                                                          140                                                                                                      141           142           143            144 DIP Total
Weekly Presentation                                                                           6/26/2021          7/3/2021     7/10/2021     7/17/2021     7/24/2021     7/31/2021      8/7/2021     8/14/2021     8/21/2021     8/28/2021      9/4/2021     9/11/2021     9/18/2021     9/25/2021      10/2/2021 weeks 7/3-10/2
Credits:                                                                                      Q2 '21            Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21        Q3 '21       Oct-Nov '21
                                                                                              Actual        Projected        Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected     Projected      Projected
                                                                                                                1                2             3             4             5             6             7             8             9            10            11            12            13             14
Resident Checks                                                                                 279,939              -          121,658       106,658       193,922       193,922       196,802       196,802       196,802       196,802       196,802       196,802       196,802       196,802        196,802      2,667,315
Resident ACH                                                                                        -                -              -             -             -         915,916           -             -             -         745,090           -             -             -         745,090            -        2,406,096
Medicare                                                                                          1,380          213,143            -             -             -         243,757           -             -             -             -         304,696           -             -             -          243,757      1,006,734
Private Insurance                                                                                45,237           18,260         18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260        18,260         18,260        300,881
Other                                                                                               500            2,500          2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500         2,500          2,500         35,500
Operating Receipts                                                            (a)               327,055          233,904        142,419       127,419       214,682     1,374,355       217,562       217,562       217,562       962,652       522,258       217,562       217,562       962,652        461,319      6,416,526

Check Reversal Credit                                                         (b)                39,743               -              -             -             -             -             -             -             -             -             -             -             -             -              -          39,743
                                                                                                                                                                                                                                                                                                                            -
Transfer from UMB Operating Reserve Fund (DIP)                                                         -              -              -        705,478       187,565            -            237       628,730        28,730       353,361            -        505,263        26,230            -         526,669      2,962,262
Total Transfers In to x6160                                                   (d)                      -              -              -        705,478       187,565            -            237       628,730        28,730       353,361            -        505,263        26,230            -         526,669      2,962,262

Total Receipts                                                            (a+b+c+d)             366,798          233,904        142,419       832,897       402,247     1,374,355       217,800       846,292       246,292     1,316,013       522,258       722,825       243,792       962,652        987,988      9,418,531

Debits:
Payroll and related expenses (1)                                                               (580,000)              -             -        (632,730)          -        (600,000)          -        (600,000)          -        (600,000)          -        (600,000)          -        (600,000)           -        (4,212,730)
Facility Services/Supplies (2)                                                                  (20,616)          (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (39,854)      (34,854)      (34,854)      (34,854)      (34,854)      (34,854)       (34,854)       (548,574)
Food/Food Service (3)                                                                              (628)          (41,715)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (41,172)      (36,172)      (36,172)      (36,172)       (36,172)       (557,579)
Manager Services/Marketing (4)                                                                 (141,968)          (32,062)     (204,967)      (34,967)      (34,967)      (34,967)     (204,967)      (34,967)      (34,967)      (34,967)     (204,967)      (29,967)      (29,967)      (29,967)       (29,967)     (1,118,600)
IT & Utilities (5)                                                                              (57,198)          (69,794)      (65,275)      (64,301)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (45,275)      (42,775)      (42,775)      (42,775)       (42,775)       (744,589)
Insurance/Broker (6)                                                                                -             (13,684)          -             -             -             -             -             -             -             -             -             -             -             -              -           (13,684)
Pharma/Healthcare Services/Hospitality/Administration/Security (7)                               (8,044)          (69,760)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (43,392)      (33,392)      (33,392)      (33,392)      (33,392)       (33,392)       (591,900)
BOD/Professional Services/Other (8)                                                             (73,381)          (73,148)      (18,632)      (18,632)      (52,588)      (56,632)      (16,632)      (16,632)      (16,632)      (56,632)      (16,632)      (16,632)      (16,632)      (16,632)       (56,632)       (522,700)
CAPEX (Storm Repair) (9)                                                                            -            (233,120)      (35,000)      (35,000)      (35,000)      (35,000)      (35,000)          -             -             -             -             -             -             -              -          (408,120)
CAPEX (General) (10)                                                                            (51,742)         (202,872)      (25,000)      (25,000)      (25,000)      (25,000)      (50,000)      (25,000)      (25,000)      (25,000)      (50,000)      (25,000)      (50,000)      (22,259)       (25,000)       (651,874)
 Operating Disbursements                                                                       (933,578)         (776,009)     (473,292)     (935,048)     (317,247)     (921,292)     (476,292)     (846,292)     (246,292)     (881,292)     (426,292)     (818,792)     (243,792)     (816,051)      (258,792)     (9,370,350)

Check Error/ACH Return/Return Item                                                               (1,758)              -              -             -             -             -             -             -             -             -             -             -             -             -              -           (1,758)
                                                                                                                                                                                                                                                                                                                             -
Debtor Professional Fees                                                                       (286,155)              -         (88,000)           -            -        (169,571)           -             -             -       (348,909)           -             -             -             -        (610,798)     (1,503,434)
Indenture Professional Fees                                                                         -                 -             -              -            -             -              -             -             -            -              -             -             -             -             -               -
Committee Fees                                                                                  (74,188)              -             -              -            -         (25,000)           -             -             -        (85,813)           -             -             -             -         (85,000)       (270,000)
UST Fees                                                                                            -                 -             -              -        (85,000)          -              -             -             -            -              -             -             -             -        (180,000)       (265,000)

Transfer to BOA CAPEX Account                                                                          -              -              -             -             -             -             -             -             -             -             -             -             -             -              -              -
Total Transfers Out from x6160                                                                         -              -              -             -             -             -             -             -             -             -             -             -             -             -              -              -

Total Disbursements                                                                          (1,295,680)         (776,009)     (561,292)     (935,048)     (402,247)   (1,115,863)     (476,292)     (846,292)     (246,292)   (1,316,013)     (426,292)     (818,792)     (243,792)     (816,051)    (1,134,590)    (11,410,542)

Operating Cash Flow                                                                            (606,523)         (542,106)     (330,873)     (807,630)     (102,565)      453,063      (258,730)     (628,730)      (28,730)       81,361        95,967      (601,230)      (26,230)      146,602        202,528      (2,953,824)
Other Activity                                                                                 (322,358)              -         (88,000)      705,478       102,565      (194,571)          237       628,730        28,730       (81,361)          -         505,263        26,230           -         (349,129)        961,813

Beginning Cash                                                                                2,492,012         1,563,130     1,021,024       602,151       500,000       500,000       758,492       500,000       500,000       500,000       500,000       595,967       500,000       500,000        646,602       2,492,012
Minimum Cash Balance Requirement                                                                                                                                                                                                                                                                                             -
Net Credits                                                                                     366,798           233,904       142,419       832,897       402,247     1,374,355       217,800       846,292       246,292     1,316,013       522,258       722,825       243,792       962,652        987,988       9,418,531
Net Debits                                                                                   (1,295,680)         (776,009)     (561,292)     (935,048)     (402,247)   (1,115,863)     (476,292)     (846,292)     (246,292)   (1,316,013)     (426,292)     (818,792)     (243,792)     (816,051)    (1,134,590)    (11,410,542)
Ending Operating Account Cash (Bank)                                                          1,563,130         1,021,024       602,151       500,000       500,000       758,492       500,000       500,000       500,000       500,000       595,967       500,000       500,000       646,602        500,000         500,000
Estimated Check Float
Ending Operating Account Cash (Book)
Indenture Trust Accounts (Bank)                                                                        -              -              -             -             -             -             -             -             -             -             -             -             -             -              -
Indenture DIP Loan
Beginning Balance                                                                                                     -              -            -        (705,478)     (893,044)     (893,044)     (893,281)   (1,522,010)   (1,550,740)   (1,904,101)   (1,904,101)   (2,409,363)   (2,435,593)    (2,435,593)            -
Draw                                                                                                                                         (705,478)     (187,565)                       (237)     (628,730)      (28,730)     (353,361)                   (505,263)      (26,230)                    (526,669)     (2,962,262)
Repayment                                                                                                                                                                                                                                                                                                                    -
PIK Interest                                                                                                                                                                                                                                                                                                                 -
Ending DIP Balance                                                                                                    -              -       (705,478)     (893,044)     (893,044)     (893,281)   (1,522,010)   (1,550,740)   (1,904,101)   (1,904,101)   (2,409,363)   (2,435,593)   (2,435,593)    (2,962,262)     (2,962,262)

Resident Occupancy
Healthcare Occupancy

Incurred Restructuring Fees Projection
Thompson & Knight (Debtor Restructuring Counsel)                                                166,428           37,500         45,000        45,000        45,000        45,000        55,000        55,000        55,000        55,000        55,000        12,500        12,500        12,500         12,500
McCall Parkhurst & Horton (Debtor Bond Counsel)                                                     -                -              -             -             -             -             -             -             -         255,000           -             -             -             -              -
B. Riley Advisors (Debtor Financial Advisor)                                                     31,854           23,000         23,000        23,000        23,000        23,000        30,000        30,000        30,000        30,000        30,000        18,625        18,625        18,625         18,625
TBD                                                                                                 -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
Stretto (Debtor Claims Agent)                                                                    22,065           87,071         20,227        20,227        15,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227        10,227         10,227
Healthcare Ombudsman                                                                                -             22,000            -             -             -          11,000           -             -             -          11,000           -             -             -             -           11,000
UST Trustee                                                                                         -                -              -             -          85,000           -             -             -             -             -             -             -             -             -          180,000
Resident/Creditor Committee Professionals                                                        24,188           25,000         25,000        25,000        20,813        15,000        15,000        15,000        15,000        15,000        15,000        15,000        15,000        15,000         15,000
Mintz Levin (Indenture Trustee Counsel)                                                             -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
RBC (Indenture Trustee Financial Advisor)                                                           -                -              -             -             -             -             -             -             -             -             -             -             -             -              -
Utility Deposit                                                                                     -                -           88,000           -             -             -             -             -             -             -             -             -             -             -          (88,000)

Note:
-Estimate of Storm Damage Capex may be higher but difference to be reimbursed by insurance ($250k deductible)
-Does not reflect DIP interest/fees
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                                EXHIBIT B

                      Form of Borrowing Certificate




                Exhibit B - Form of Borrowing Certificate - 1
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                                           Borrowing Certificate

         Reference is hereby made to that certain Priming Superpriority Debtor-In-Possession
Credit Agreement (the “DIP Credit Agreement”) dated as of June __, 2021, by and between
Buckingham Senior Living Community, Inc. (the “Debtor”) and UMB Bank, N.A., in its
capacity as Bond Trustee (the “DIP Lender”). Capitalized terms used but not defined herein shall
have the meanings given to them in the DIP Credit Agreement. The undersigned, in their
capacity as an Authorized Officer of the Debtor and not individually, hereby certifies as follows
as of               , 2021 (the “Borrowing Date”):

         1.    DIP Loans. Pursuant to the terms of the DIP Credit Agreement, the Debtor is
authorized to borrow DIP Loans in an amount equal to the DIP Loan Commitment during the
DIP Commitment Period, solely in compliance with the DIP Credit Agreement. The Debtor
hereby requests an advance of DIP Loans 1 in the aggregate amount of $            (the
“Borrowing”) to be transferred to the Debtor within two (2) Business Days of the Borrowing
Date.

            2.  Representations and Warranties. On and as of the Borrowing Date (both before
and after giving effect to the Borrowing requested hereby and application of such proceeds), the
representations and warranties of the Debtor contained in the DIP Loan Documents are true and
correct in all material respects (except to the extent such representations and warranties
specifically relate to an earlier date, such representations and warranties are true and correct on
and as of such earlier date).

            3. No Default or Event of Default. As of the Borrowing Date, no event has occurred
or is continuing or would result from the consummation of the Borrowing requested hereby, or
the application of such proceeds, that would constitute a Default or an Event of Default.

        4.    Available Commitments. After making the DIP Loans requested by this
Borrowing, the aggregate outstanding principal amount of the DIP Loans will not exceed the DIP
Loan Commitment.

         5.    Use of Proceeds. The proceeds of the DIP Loans advanced under this Borrowing
will be used by the Debtor in accordance with the Budget and the DIP Credit Agreement.

                                           [signature page follows]




1
    Indicate if CapEx DIP Loan


                                 Exhibit B - Form of Borrowing Certificate - 2
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       IN WITNESS WHEREOF, the undersigned has executed this Borrowing Certificate as of
the date first above written.


                                         BUCKINGHAM SENIOR LIVING
                                         COMMUNITY, INC., as Debtor

                                         By:
                                               Name:
                                               Title:




                       Exhibit B - Form of Borrowing Certificate - 3
110911187v.6
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                                     Exhibit B




147025141
The Buckingham: Summary DIP Liquidity Projection
Weekly Presentation
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                                                                                                                                                                                                                                                                                                                           144       145         146         147         148         149         150         151         152  DIP Total
                                                                                                                                                                                                                                                                                                                    10/2/2021 10/9/2021 10/16/2021 10/23/2021 10/30/2021 11/6/2021 11/13/2021 11/20/2021 11/27/2021 weeks 7/24-11/27
Credits:                                                                                             Q3 '21          Q3 '21           Q3 '21          Q3 '21           Q3 '21           Q3 '21         Q3 '21        Q3 '21             Q3 '21             Q3 '21       Q3 '21        Q3 '21        Q3 '21        Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21 Oct-Nov '21
                                                                                                      Actual          Actual           Actual          Actual           Actual          Actual         Projected     Projected          Projected      Projected        Projected     Projected     Projected      Projected     Projected     Projected    Projected    Projected    Projected     Projected    Projected    Projected
                                                                                                                                                                                                           1             2                  3              4                5             6             7              8             9            10           11           12           13            14           15           16
Resident Checks                                                                                         94,055              -           495,885          298,698         139,403              -           136,220       204,227            204,227          206,249        206,249       206,249       206,249        206,249      206,249       206,249      206,249      206,249      206,249       206,249      206,249      206,249     3,225,912
Resident ACH                                                                                               -                -           761,065              -            30,898              -               -             -              772,549              -              -             -         780,198            -            -             -        975,248          -            -             -        780,198          -       3,308,193
Medicare                                                                                               282,907           13,532             -             13,551         218,034            3,775             -             -                  -            389,472            -             -             -          316,543          -             -            -        316,543          -             -            -        395,678     1,418,236
Private Insurance                                                                                       15,722           10,355          60,421           29,461           4,349           22,612             -          22,260             22,260           22,260         22,260        22,260        22,260         22,260       22,260        22,260       22,260       22,260       22,260        22,260       22,260       22,260       333,900
Other                                                                                                      -                -               -              3,790           3,529              -               -             710                710              710            710           710           710            710          710           710          710          710          710           710          710          710        10,650
Operating Receipts                                                                  (a)                392,683           23,887       1,317,371          345,500         396,214           26,387         136,220       227,197            999,746          618,691        229,219       229,219     1,009,417        545,762      229,219       229,219    1,204,467      545,762      229,219       229,219    1,009,417      624,898     8,296,890

Check Reversal Credit                                                               (b)                        -               -            183                 -                -         36,115              -          8,968                734               -              -             -             -              -            -             -            -            -            -             -            -            -          9,702

Transfer from UMB Operating Reserve Fund (DIP)                                                                                                                               -                   -     1,040,559       286,953            134,355           532,724       630,616         55,616           -         997,527       932,736        29,336           -            -       208,896        29,336           -            -      4,878,653
Total Transfers In to x6160                                                         (d)                        -               -                -               -            750                 -     1,040,559       286,953            134,355           532,724       630,616         55,616           -         997,527       932,736        29,336           -            -       208,896        29,336           -            -      4,878,653

Total Receipts                                                                 (a+b+c+d)               392,683           23,887       1,317,554          345,500         396,964           62,502       1,176,779       523,118          1,134,835         1,151,415       859,835       284,835     1,009,417      1,543,289    1,161,955       258,555    1,204,467      545,762      438,115       258,555    1,009,417      624,898    13,185,245

Debits:
Payroll and related expenses (1)                                                                            -              (345)       (561,632)             -          (496,397)          (5,320)       (660,000)      (98,283)          (600,000)              -        (600,000)          -        (600,000)           -        (600,000)         -       (600,000)         -        (600,000)         -       (600,000)      60,000     (4,898,283)
Facility Services/Supplies (2)                                                                           (2,363)            -              (898)         (51,027)         (5,300)         (15,556)       (172,145)      (34,861)           (34,861)          (34,861)      (34,861)      (34,861)      (34,861)       (34,861)      (34,861)     (34,861)     (34,861)     (34,861)      (34,861)     (34,861)     (34,861)     (34,861)      (695,060)
Food/Food Service (3)                                                                                       -               -               -            (75,557)        (74,980)         (35,841)       (109,084)      (43,410)           (43,410)          (43,410)      (43,410)      (43,410)      (43,410)       (43,410)      (43,410)     (43,410)     (43,410)     (43,410)      (43,410)     (43,410)     (43,410)     (43,410)      (760,234)
Manager Services/Marketing (4)                                                                              -               -          (157,265)            (410)            -            (29,807)       (401,646)      (44,967)           (44,967)         (214,967)      (34,967)      (34,967)      (34,967)       (34,967)     (204,967)     (34,967)     (34,967)     (34,967)     (204,967)     (34,967)     (34,967)     (34,967)    (1,466,150)
IT & Utilities (5)                                                                                       (6,053)            -           (33,814)         (10,447)        (14,464)         (15,660)       (301,487)      (49,094)           (49,094)          (49,094)      (49,094)      (49,094)      (49,094)       (49,094)      (49,094)     (49,094)     (49,094)     (49,094)      (49,094)     (49,094)     (49,094)     (49,094)    (1,037,893)
Insurance/Broker (6)                                                                                        -               -               -                -               -                -           (13,684)          -                  -                 -             -             -             -              -             -            -            -            -             -            -            -            -          (13,684)
Pharma/Healthcare Services/Hospitality/Administration/Security (7)                                          -               -               -            (26,649)         (4,603)         (49,232)       (279,645)      (53,397)           (53,397)          (53,397)      (53,397)      (53,397)      (53,397)       (53,397)      (53,397)     (53,397)     (53,397)     (53,397)      (53,397)     (53,397)     (53,397)     (53,397)    (1,080,602)
BOD/Professional Services/Other (8)                                                                         -           (16,705)         (2,603)          (5,939)        (45,311)          (5,109)       (135,666)     (174,106)           (59,106)          (19,106)      (19,106)      (19,106)      (19,106)       (89,106)      (17,826)     (17,826)     (17,826)     (57,826)      (17,826)     (17,826)     (17,826)     (57,826)      (757,017)
CAPEX (Storm Repair) (9)                                                                                    -               -               -                -           (16,041)         (52,528)       (339,551)          -                  -                 -             -             -             -              -             -            -            -            -             -            -            -            -         (339,551)
CAPEX (General) (10)                                                                                        -               -               -             (1,200)        (52,122)          (4,255)       (320,295)      (25,000)           (25,000)          (50,000)      (25,000)      (50,000)      (22,259)       (25,000)      (25,000)     (25,000)     (25,000)     (25,000)      (25,000)     (25,000)     (25,000)     (25,000)      (742,554)
 Operating Disbursements                                                                                 (8,416)        (17,051)       (756,212)        (171,228)       (709,218)        (213,308)     (2,733,201)     (523,118)          (909,835)         (464,835)     (859,835)     (284,835)     (857,094)      (329,835)   (1,028,555)    (258,555)    (858,555)    (298,555)   (1,028,555)    (258,555)    (858,555)    (238,555)   (11,791,027)

Check Error/ACH
ACH Return       Return/Return Item                                                                            -               -            (183)         (7,075)            (734)        (38,009)             -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -            -             -
Return Item
Entrance     Chargeback
          Fee/Deposit Refund                                                                                   -               -             --
                                                                                                                                          (6,060)            --               --              --               -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -            -             --
Debtor Professional Fees                                                                                (96,806)               -                -               -                -              -             -              -            (225,000)         (590,580)           -             -       (100,000)      (965,777)    (109,400)           -      (100,000)    (322,679)          -             -      (100,000)      56,375     (2,457,061)
Indenture Professional Fees                                                                                 -                  -                -               -                -              -             -              -                 -                 -              -             -            -              -            -              -           -            -             -             -           -            -               -
Committee Fees                                                                                              -                  -                -               -                -              -             -              -                 -             (96,000)           -             -            -         (180,000)     (24,000)           -           -        (80,000)          -             -           -        (80,000)      (460,000)
UST Fees                                                                                                    -                  -                -               -                -             (250)      (19,750)           -                 -                 -              -             -            -         (120,000)         -              -           -            -             -             -           -        (80,000)      (219,750)

Transfer to BOA CAPEX Account                                                                                  -               -                -               -             -                 -              -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -            -             -
Total Transfers Out from x6160                                                                                 -               -                -               -            (750)             (750)           -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -            -             -

Total Disbursements                                                                                   (105,222)         (17,051)       (762,456)        (178,303)       (710,702)        (252,316)     (2,752,951)     (523,118)        (1,134,835)    (1,151,415)        (859,835)     (284,835)     (957,094)    (1,595,612)   (1,161,955)    (258,555)    (958,555)    (701,234)   (1,028,555)    (258,555)    (958,555)    (342,180)   (14,927,838)

Operating Cash Flow                                                                                    384,268            6,836         561,159          174,272        (313,004)        (186,921)     (2,596,981)     (295,921)            89,911           153,856      (630,616)      (55,616)      152,323        215,927     (799,336)      (29,336)     345,912      247,207     (799,336)      (29,336)     150,862      386,343     (3,494,136)
Other Activity                                                                                         (96,806)             -            (6,060)          (7,075)           (734)          (2,893)      1,020,809       295,921            (89,911)         (153,856)      630,616        55,616      (100,000)      (268,250)     799,336        29,336     (100,000)    (402,679)     208,896        29,336     (100,000)    (103,625)     1,751,544

Beginning Cash                                                                                       1,563,130        1,850,592       1,857,428        2,412,527       2,579,724        2,265,986       2,076,172       500,000            500,000          500,000        500,000       500,000       500,000        552,323      500,000       500,000      500,000      745,912      590,440            -            -        50,862     2,076,172
Minimum Cash Balance Requirement
Net Credits                                                                                            392,683           23,887       1,317,554         345,500          396,964          62,502        1,176,779       523,118          1,134,835      1,151,415          859,835       284,835     1,009,417      1,543,289     1,161,955      258,555    1,204,467      545,762       438,115      258,555    1,009,417      624,898     13,185,245
Net Debits                                                                                            (105,222)         (17,051)       (762,456)       (178,303)        (710,702)       (252,316)      (2,752,951)     (523,118)        (1,134,835)    (1,151,415)        (859,835)     (284,835)     (957,094)    (1,595,612)   (1,161,955)    (258,555)    (958,555)    (701,234)   (1,028,555)    (258,555)    (958,555)    (342,180)   (14,927,838)
Ending Operating Account Cash (Bank)                                                                 1,850,592       1,857,428        2,412,527       2,579,724        2,265,986       2,076,172          500,000       500,000            500,000        500,000          500,000       500,000       552,323        500,000       500,000      500,000      745,912      590,440           -            -         50,862      333,579        333,579
Estimated Check Float                                                                                          -               -        (177,170)       (222,796)        (258,070)       (267,531)
Ending Operating Account Cash (Book)                                                                 1,850,592        1,857,428       2,235,357        2,356,928       2,007,916        1,808,641
Indenture Trust Accounts (Bank)                                                                      5,447,454        5,447,454       5,447,214        5,449,572       5,378,146        5,378,146              -             -                  -                -              -             -             -              -
Indenture DIP Loan
Beginning Balance                                                                                              -               -                -               -                -               -            -       1,040,559          1,327,512         1,461,867     1,994,591     2,625,207     2,680,823      2,680,823                                                                                                                     -
Draw                                                                                                                                                                                                    1,040,559       286,953            134,355           532,724       630,616        55,616                      997,527      932,736        29,336                                208,896        29,336                               4,878,653
Repayment                                                                                                                                                                                                                                                                                                                                                                                                                                         -
PIK Interest                                                                                                                                                                                                                                                                                                                                                                                                                                      -
Ending DIP Balance                                                                                             -               -                -               -                -               -     1,040,559     1,327,512           1,461,867         1,994,591    2,625,207     2,680,823     2,680,823      3,678,350       932,736        29,336           -            -       208,896        29,336           -            -      4,878,653

Resident Occupancy                                                                                         185              185             185              185             185               185
Healthcare Occupancy                                                                                       111              103             104              103             103                95

Incurred Restructuring Fees Projection
Holland & Knight (Debtor Special Counsel)                                                              107,000           15,250          15,250           15,250          15,250            9,231           9,231         9,231              9,231            9,231          9,231         9,231         9,231          9,231        9,231         9,231        9,231        9,231        9,231         9,231        9,231        9,231
McCall Parkhurst & Horton (Debtor Bond Counsel)                                                            -                -               -                -               -                -               -             -                  -                -              -             -             -          255,000          -             -            -            -            -             -            -            -
B. Riley Advisors (Debtor Financial Advisor)                                                            35,000           35,000          35,000           35,000          35,000           30,000          30,000        30,000             30,000           25,000         25,000        25,000        25,000         25,000       25,000        25,000       25,000       25,000       25,000        25,000       25,000       25,000
McGuire Woods (Debtor Restructuring Counsel)                                                               -             50,250          50,250           50,250          50,250           33,462          33,462        33,462             33,462           33,462         33,462        33,462        33,462         33,462       33,462        33,462       33,462       33,462       33,462        33,462       33,462       33,462
Stretto (Debtor Claims Agent)                                                                           87,071           20,227          20,227           15,227          10,227           10,227          10,227        10,227             10,227           10,227         10,227        10,227        10,227         10,227       10,227        10,227       10,227       10,227       10,227        10,227       10,227       10,227
Healthcare Ombudsman                                                                                    22,000              -               -                -            11,000              -               -             -               11,000              -              -             -             -           11,000          -             -            -         11,000          -             -            -         11,000
UST Trustee                                                                                                -                -               -                -               -             20,000             -             -                  -                -              -             -             -          120,000          -             -            -            -            -             -            -         80,000
Resident/Creditor Committee Professionals                                                               25,000           25,000          25,000           25,000          20,000           20,000          20,000        20,000             20,000           20,000         20,000        20,000        20,000         20,000       20,000        20,000       20,000       20,000       20,000        20,000       20,000       20,000
Mintz Levin/RBC (Indenture Trustee Professionals paid directly from Indenture Collateral)                  -                -               -                -               -                -               -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -            -
Investment Banker                                                                                          -                -               -                -               -                -               -             -              100,000              -              -             -         100,000            -            -             -        100,000          -            -             -        100,000          -
Utility Deposit                                                                                         96,806              -               -                -               -                -               -             -                  -                -              -             -             -              -            -             -            -            -            -             -            -        (96,806)

Note:
-Estimate of Storm Damage Capex may be higher but difference to be reimbursed by insurance ($250k deductible)
-Does not reflect DIP interest/fees
-To the extent that a sales process results in greater cash needs than Indenture Collateral Funds, it is anticipated that non-essential capitall expenditures would be deferred as necessary




                                                                                                                                                                                                                                 Draft Subject to Change
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                                     Exhibit C




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      Case
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                      Document207-1
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                                SUMMARY OF LIEN SEARCHES



A. DEBTOR:                 BUCKINGHAM SENIOR LIVING COMMUNITY, INC. (the
                           “Debtor”)

         1. Jurisdiction of Search:    Texas Secretary of State – UCC Liens

              Date of Search:          June 3, 2021

              Summary:          UCC-1 File No. 07-0028187477, filed 08/17/2007 naming The
                                Bank of New York Trust Company, National Association, as
                                Master Trustee, as secured party (collateral: the Trust Estate as
                                described and defined in the Master Trust Indenture dated as of
                                July 1, 2007 between the Debtor and the secured party)
                                (i)     UCC-3 Continuation File No. 12-00257717, filed
                                        08/14/2012
                                (ii)    UCC-3 Continuation File No. 17-00181249, filed
                                        05/26/2017
                                (iii)   UCC-3 Amendment File No. 18-00234230, filed
                                        06/29/2018 (restatement of collateral: the Trust Estate as
                                        defined in that certain Master Trust, Deed of Trust and
                                        Security Agreement dated as of July 1, 2007 between the
                                        Debtor and the secured party)
                                (iv)    UCC-3 Assignment File No. 18-00253454, filed
                                        07/17/2018 (assigning to UMB Bank, N.A. as Master
                                        Trustee)

                                UCC-1 File No. 16-0030736177, filed 09/16/2016 naming
                                Hewlett-Packard Financial Services Company, as secured party
                                (collateral: equipment and software leased to or financed for
                                Debtor) (will lapse on 09/16/2021 if not continued)

                                UCC-1 File No. 19-0028160744, filed 07/25/2019 naming Texas
                                Star Bank, as secured party (collateral: any and all lease contracts
                                now or hereafter existing between IPRO Media, Inc. and the
                                Debtor, with contract # C-2021249 including but not limited to
                                equipment/inventory)

         2. Jurisdiction of Search: Harris County, District Court, Texas Open & Closed
            Litigation by Defendant & Plaintiff – Open Litigation

              Date of Search:          June 2, 2021



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      Case21-32155
            21-32155Document
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              Summary:     Case No. 2018-21464, filed 03/29/2018, type: Other Injury or
                           Damage, Defendant: Anding, Roberta ET AL v. the Debtor

                           Case No. 2019-02894, filed 01/14/2019, type: Other Civil,
                           Defendant: Hurst-Washington, A. v. the Debtor

                           Case No. 2019-02894A, filed 01/14/2019, type: Other Severance,
                           Defendant: Washington, Angela Hurt v. the Debtor

                           Case No. 2021-01640, filed 01/12/2021, type: Debt/Contract –
                           Consumer/DTPA, Defendant: Dunn, Eva Lynn v. the Debtor

              Summary:     Case No. 2021-01640, filed 01/12/2021, type: Debt/Contract –
                           Consumer/DTPA, Plaintiff: Dunn, Eva Lynn v. the Debtor




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